      1           IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
      2       NORTHERN DIVISION, AT KNOXVILLE, TENNESSEE

      3   George Chesney, Jot Raymond,                           :
          Anita Auchard, Lee Scofield,                           :
      4   James Campbell, et., al.,                              :   VOLUME I
                      Plaintiffs,                                :
      5   Vs.                                                    :   CV
                                                                 :   3-09-09
      6   Tennessee Valley Authority                             :   3-09-48
                                                                 :   3-09-54
      7                  Defendant,                              :   3-09-64
                                                                 :   3-09-517
      8
                  Transcript of trial proceedings before the
      9   Honorable Thomas A. Varlan on September 19, 2011.

     10
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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 1 of 192 PageID #:
                                   16874
 1                                 I N D E X
      Examinations                                                         Page
 2      CHRISTOPHER BUTTRAM                                                  54
        (Exhibit No. D-538 was marked for identification.)                   57
 3      (Exhibit No. P-4559 was marked for identification.)                  69
        (Exhibits P-189, 6044, 6045, 6043 for identification.)               75
 4      (Exhibits P-189, 6044, 6045, 6043, 538 in evidence.)                 78
        (Exhibit No. P-187 was marked for identification.)                   91
 5      (Exhibit No. P-187 was received in evidence                          91
        (Exhibit No. P-188 was marked for identification.)                   92
 6      (Exhibit No. P-188 was received in evidence                          93
        (Exhibits P-180, 181, 182 for identification.)                      107
 7      (Exhibit No. P-191 was received in evidence                         107
        (Exhibit No. P-179 was marked for identification.)                  107
 8      (Exhibit No. P-179 was received in evidence                         108
        (Exhibit No. P-183, 193 for identification.)                        111
 9      (Exhibit No. P-183 was received in evidence                         113
        (Exhibit No. P-180 was received in evidence                         123
10      (Exhibit No. P-181 was received in evidence                         126
        (Exhibit No. P-1484 was marked for identification.)                 136
11      (Exhibit Nos. P-186, 1552 for identification.)                      141
        (Exhibit Nos. P-186, 1552 were received in evidence.)               141
12      (Exhibits P-3609, 606, 1585 for identification.)                    154
        (Exhibit No. P-606 was received in evidence                         155
13      (Exhibit No. P-1585 was received in evidence                        157
        (Exhibit No. P-3609 was received in evidence                        158
14      (Exhibit Nos. P-1555, 1584 for identification.)                     163
        (Exhibit Nos. P-3610, 3611 for identification.)                     167
15      (Exhibit Nos. P-1584, 1555 were received in evidence.)              168
        (Exhibit Nos. P-3610, 3611 were received in evidence.)              169
16      (Exhibit No. P-196 was marked for identification.)                  169
        (Exhibit No. P-2894 was marked for identification.)                 172
17      (Exhibit No. P-185 was marked for identification.)                  174
        (Exhibit Nos. P-196, 2894 were received in evidence.)               175
18      (Exhibit No. P-185 was received in evidence                         175
        CROSS EXAMINATION                                                   175
19      (Exhibit No. D-193 was received in evidence                         179
        (Exhibit No. D-34 was marked for identification.)                   181
20      (Exhibit No. D-34 was received in evidence                          183
        REDIRECT EXAMINATION                                                188
21

22

23

24

25
                                           2


     Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 2 of 192 PageID #:
                                        16875
          September 19, 2011

      1                      THE COURT:     Thank you.     Good morning

      2   everyone.     I know we are kind of crowded this morning.

      3   I hope everyone who wants to be inside the courtroom has

      4   been able to find accommodations.

      5                      We have handled various preliminary

      6   matters on Thursday of last week.            We are ready for

      7   opening statements this week.

      8                      Since I know we have some plaintiffs and

      9   some media and other interested observers, I know there

     10   has been some confusion because we have this the

     11   September cases, we have the November cases, we have

     12   Phase 1, we have Phase 2.          It might for everyone's

     13   benefit and counsel in these cases, if we have a

     14   different prospective.         This is Phase 1 or the liability

     15   phase of the September group of cases represented ably

     16   by all of the individuals attorneys in the courtroom

     17   today.

     18                      We have a second set of cases that were

     19   filed after, basically after all of these cases that we

     20   have scheduled for a separate trial in November.                The

     21   November trial is not Phase 2 or damages phase of these

     22   cases.    The November trials are separate, or cases

     23   separate from those for which we are in the courtroom

     24   today.    As the attorneys in those cases know, after we

     25   finish this case I plan to sit down with them, obviously


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 3 of 192 PageID #:
                                   16876
          September 19, 2011

      1   as well as with the TVA attorneys, and talk about

      2   potentially whether certain evidence from this case will

      3   be used in that case and so on and so forth.               In

      4   November we have scheduled a separate group of cases

      5   that were filed sometime after these initial cases.

      6                      Both the September, what I am calling the

      7   September trial, i.e., these cases and the November

      8   cases are Phase 1 or a liability phase.              The Court since

      9   these are bench trials, the Court pursuant to our

     10   federal rules is then required to take the matters under

     11   advisement and issue findings of fact and conclusions of

     12   law.    Like a jury, we don't come back and announce

     13   verdict for plaintiff or defendant.            After this trial is

     14   over and the November trials are over, the parties will

     15   have the opportunity to order the transcript, submit

     16   post-trial briefs and revisions to their submitted

     17   proposed findings of fact and conclusions of law.                That

     18   will all be done.

     19                      The bottom line is it will be sometime

     20   next year before decisions will actually be rendered by

     21   the Court on the Phase 1 portions of both the September

     22   cases and the November cases.

     23                      Then again, depending on the Court's

     24   ruling on Phase 1, if these cases were to proceed to

     25   Phase 2, you know, those would be scheduled accordingly.


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 4 of 192 PageID #:
                                   16877
          September 19, 2011

      1   That Phase 2 is the damages phase both for these cases

      2   as necessary, as well as for the November cases as

      3   necessary.

      4                      Any, did I get that right, counsel?

      5                      MR. SMALL:     Yes, Your Honor.

      6                      THE COURT:     All right.     Okay.    With that

      7   being said, we are ready to proceed, unless there is any

      8   preliminary, unless there are any preliminary matters,

      9   we are ready to proceed with opening statements in the

     10   cases pending before the court.

     11                      I believe, Mr. Friedman, you will render

     12   opening statement on behalf of all of the plaintiffs?

     13                      MR. FRIEDMAN:       Yes, Your Honor, may it

     14   please the Court.

     15                      Your Honor, on the early morning hours of

     16   December 22nd, 2008, life would change for hundreds of

     17   families in Kingston, Tennessee.            When the dikes at the

     18   Kingston facility came crashing down in an instant, the

     19   lakeside and recreation and retirement community of

     20   Kingston, Tennessee overnight and in an instant became

     21   an environmental cleanup site.           The damage was a

     22   tragedy, the likes of which this state and this nation

     23   has never seen.

     24                      The real tragedy besides the damage that

     25   was caused is that what happened out there on December


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 5 of 192 PageID #:
                                   16878
          September 19, 2011

      1   22nd, 2008, was one hundred percent avoidable, was one

      2   hundred percent preventable and was one hundred percent

      3   a man-made disaster caused by the TVA as a direct result

      4   of their negligent conduct.

      5                      Your Honor, I am one of the attorneys

      6   representing the many families of people who were

      7   damaged out there.        Together we are here today to begin

      8   the Phase 1 of the trial to prove that the TVA's

      9   nondiscretionary conduct, that is, conduct for which

     10   they are not immune from liability, was a substantial

     11   factor in causing the coal ash disaster in Kingston.

     12                      We believe, Your Honor, that the evidence

     13   will show that the TVA was negligently failing to train

     14   and inform its personnel on the applicable coal ash

     15   policies and procedures in force and effect at the time.

     16                      We believe the evidence will show that the

     17   TVA was negligent and inadequate in failing to inform

     18   its personnel of the applicable policies and procedures.

     19                      We believe the evidence will also show

     20   that the TVA was negligent in the actual construction

     21   and building of the dikes that failed and that they were

     22   not built as designed and instructed.

     23                      Lastly, we believe that the evidence will

     24   clearly show that the TVA was negligent in failing to

     25   perform needed and necessary maintenance.


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 6 of 192 PageID #:
                                   16879
          September 19, 2011

      1                      Now, our case is a little bit unusual from

      2   a lot of civil cases in that we intend to prove our case

      3   using nearly one hundred percent of the evidence created

      4   and supplied by the defendant, TVA.            We are going to do

      5   that by admitting TVA's own documents, using testimony

      6   from their witnesses, bringing their reports and the

      7   testimony from the Tennessee Valley Authority Inspector

      8   General and his office.         We intend to introduce the TVA

      9   Board-authorized investigation by McKenna, Long and we

     10   also plan to prove our case through the Tennessee Valley

     11   Authority's own admissions, their public statements,

     12   their conduct and even their pleadings, and, then, Your

     13   Honor, we intend to wrap all this up by offering expert

     14   testimony by Dr. Dan Marks and Mr. Gary Brown.

     15                      To understand how all this evidence is

     16   going to fit together we would like to take just a

     17   minute, if it pleases the Court, to talk about the basic

     18   background that's in interplay here.

     19                      The Kingston plant was built in the 1950s.

     20   At the time it was designed and built to be the largest

     21   coal burning electrical producing plant in America.                    It

     22   was a huge plant.       It consumes vast amounts of coal;

     23   14,000 tons per day of coal burned out there.               That's a

     24   lot of coal.

     25                      More importantly for our case, that's a


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 7 of 192 PageID #:
                                   16880
          September 19, 2011

      1   lot of coal ash.

      2                      They had to put it somewhere.          They mixed

      3   it with water and they pumped it originally into an old

      4   pond.    That went on for years.         The pond got filled up.

      5   Afterwards they encircled it with dikes, which they

      6   called a containment facility.           Then after more years

      7   the dikes filled up.

      8                      By the mid eighties the impoundment that

      9   held the ash, it was almost full.            They didn't know

     10   where to go.      Someone at TVA had the idea to build dikes

     11   on top of dikes, to go vertical and to build a structure

     12   to hold eventually billions of gallons of coal sludge.

     13   They did not use concrete, they did not use steel, but

     14   they used coal ash, wet soggy coal ash, to contain other

     15   coal ash.

     16                      Eventually nearly ten stories high an 84

     17   acre containment facility not unlike building a pyramid,

     18   but this pyramid was built without any support other

     19   than what was out there from the coal ash.

     20                      There were problems with it, problems that

     21   were brought time and time again to the TVA's attention.

     22   Finally these problems grew to such a point that on

     23   December 22nd of 2008 it came crashing down.               1.2

     24   billion gallons of coal sludge escaped with force, not

     25   just seeping out, but with force sufficient enough to


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 8 of 192 PageID #:
                                   16881
          September 19, 2011

      1   create a 50 foot high wave of sludge.             It took out

      2   roads, power lines, railroad tracks, houses, boat docks,

      3   all in an instant with such force and with such

      4   repercussions that it was the largest environmental

      5   disaster in history in Tennessee and America at the time

      6   it happened.

      7                      The disaster was shocking to everyone who

      8   heard about it.       Shocking to the public.

      9                      The people living around the facility

     10   didn't know what was happening.           They thought it was an

     11   earthquake or a natural disaster.

     12                      The TVA had warnings and reasons to

     13   believe that what happened on December 22nd, would

     14   eventually occur.       The first of these signs and where it

     15   is most apparent is TVA's negligent failure to train and

     16   inform its people on the policies that were in place to

     17   prevent the December disaster.

     18                      In discussing what we believe the evidence

     19   will show concerning the TVA's negligent failure to

     20   inform and train its personnel, we would like to start

     21   at perhaps the most obvious point in the chain of

     22   failure and that is an Annual Ash Pond Dike Stability

     23   Inspection that took place in October of 2008.                This

     24   inspection took place just two months before the

     25   disaster.     It took place pursuant to rules created by


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 9 of 192 PageID #:
                                   16882
           September 19, 2011

      1    the TVA to take a comprehensive stability inspection

      2    every year to be taken and be undertaken by qualified

      3    and trained engineers.

      4                      The author of the report, who told the

      5    office of the TVA Inspector General that he was the lead

      6    engineer on the report, was a man by the name of Chris

      7    Buttram.    He offered the report, he signed it on behalf

      8    of TVA and he accepted the responsibility of putting

      9    together this comprehensive timely informative stability

     10    and inspection report.

     11                      Now, you have heard the requirements.                Let

     12    us tell you what we expect the evidence to show about

     13    this report.     The stability inspection of October 20th,

     14    2008, was authored by an engineer who had never seen a

     15    coal ash facility before.         Never been to one.        He had

     16    never when on a dike.        He never designed one.         He had

     17    never seen any plans for a dike.           He didn't know any

     18    rules, any regulations, any policies.            All he was told

     19    was to be there, to show up on the day in question,

     20    October 20th.

     21                      When he got there he didn't know what to

     22    do.   He didn't know why he was there and he didn't know

     23    whether or not what he was doing was even important even

     24    after the inspection was over.

     25                      He met two other employees, a Mr. Albright


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 10 of 192 PageID #:
                                    16883
           September 19, 2011

      1    and Mr. Dotson.      The team progressed and walked around

      2    the dikes.     They had no designated leader.           They simply

      3    handed Mr. Buttram an old report from the year before

      4    and said here, take this, make some notes.

      5                      The two men who accompanied Mr. Buttram

      6    did not consider themselves to be his teacher or

      7    instructors.     One of the men, the man who wrote the

      8    prior year's stability inspection, said he wasn't even

      9    there to inspect at all and he considered the Annual Ash

     10    Pond Dike Stability Inspection report to be a misnomer

     11    because that's not what it was at all to him.

     12                      They testified that these three men got

     13    there about mid-morning.         They walked around for about

     14    an hour and then they broke for lunch.             Took an hour and

     15    a half lunch break and then came back approximately two

     16    more hours and all left before the end of daylight.

     17                      We believe that the evidence will show

     18    that a competent trained engineer or group of engineers

     19    would take days to perform the stability inspection to

     20    comply with what had to be done out there.              As a result,

     21    this exercise that the men went on on October 20th

     22    instead of being one of the last best chances for TVA to

     23    avoid disaster was an event punctuated by untrained,

     24    unqualified, untimely and incompetent work.

     25                      The mistakes that took place in the


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 11 of 192 PageID #:
                                    16884
           September 19, 2011

      1    October inspection are critical here because pictures

      2    were made out there at the time.           Pictures that after

      3    they were taken were sent to a computer, a desktop

      4    computer, and never looked at until after the disaster.

      5    Those pictures identified certain things that Mr. Dotson

      6    referred to as "sloughs."

      7                      Now, there is a whole glossary of terms,

      8    Your Honor, that we will use.          They are geotechnical

      9    terms.     One of them that I have learned, and we believe

     10    the evidence will show, is a term called "sloughs."

     11    Those sloughs are areas where the side of the dikes give

     12    out and slide down.

     13                      Mr. Dotson on his report he identified

     14    example after example of sloughs.           He put those, he

     15    corresponded the sloughs he saw with a GPS report and

     16    pictures were also made.         Not all the sloughs pictures

     17    were made, but some of them, and certainly crucial ones.

     18    These sloughs took place at the precise point of failure

     19    that is agreed to even by the TVA's own experts.

     20                      Sloughs are points where there is internal

     21    erosion.     You see from the picture in front of us there

     22    is no erosion above this slough.           That is the upward,

     23    the top of the picture is the uphill side of the dike.

     24                      Then you get halfway down the dike and

     25    suddenly there's a hole where water is forcing itself


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 12 of 192 PageID #:
                                    16885
           September 19, 2011

      1    through the dike and taking parts of the dike and

      2    blowing it out.      There were pictures of these crucial

      3    things that sat on Mr. Buttram's desk.             They sat there

      4    for two months after the disaster.            Then they sat there

      5    another month.

      6                      You see, we expect the evidence to show

      7    that the stability inspection sat around for two months

      8    after the inspection took place and then the disaster

      9    occurred.     Then after the disaster occurred Mr. Buttram

     10    was questioned on why wasn't the report done.               He told

     11    the officers, the officers of the Inspector General's

     12    Office, that he had started it, but in his deposition he

     13    admitted they hadn't started it at the time of this

     14    disaster.     It wasn't even put together.

     15                      In the report Mr. Buttram and his

     16    colleagues wrote that the repairs to the dike, which

     17    were the significant sloughs, should be repaired

     18    immediately.     The testimony in the case is that these

     19    sloughs should have been repaired immediately and they

     20    wanted to get the attention of the maintenance people at

     21    the facility, but they didn't.           The sloughs weren't

     22    repaired.

     23                      In fact, when Mr. Buttram put this report

     24    together and took pictures of the sloughs, the words

     25    "repair immediately" was deleted from the report by the


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 13 of 192 PageID #:
                                    16886
           September 19, 2011

      1    TVA Media Relations Department.           The document was

      2    sanitized and edited so the truth would not be known.

      3                      Other things were seen, but ignored, in

      4    October of 2008; drains broken, but not repaired, red

      5    water seepage.      Red water is another term for water that

      6    seeps through the dikes.         Polluted water is seeping

      7    through the dikes and is tainted with the residue of

      8    spent fossil fuels.       Documented, but not addressed.

      9                      And a wet spot in the area of dike failure

     10    was identified and again, not addressed.             A wet soft

     11    spot indicating the dikes were soggy.

     12                      To a trained professional all this

     13    information was critical.         There was still time to act

     14    in October of 2008 to prevent disaster, if these repairs

     15    would have been made, if things would have taken place

     16    in short order, but they weren't.           The dikes to a

     17    trained professional -- we are going to put on evidence

     18    to show that the dikes in the area of the failure were

     19    in an advancing failure mode and the TVA's failure to

     20    train inspectors to recognize the sign of failures, to

     21    follow the rules and regulations, was a substantial

     22    factor in the cause of the disaster of December 22nd,

     23    2008.

     24                      Secondly, Your Honor, one of the other

     25    areas we intend to address is negligent or inadequate


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 14 of 192 PageID #:
                                    16887
           September 19, 2011

      1    performance by TVA personnel of TVA's policies and

      2    procedures concerning coal ash.

      3                      One of the things that the TVA did do that

      4    they were put on notice of in the 50 year history of the

      5    Kingston facility is that you have got to control the

      6    water on these dikes.        These dikes are nothing but coal

      7    ash, nothing but material piled on top of material.                 You

      8    can't stack coal ash to be built like something you

      9    build out of concrete or blocks or steel.              You have to

     10    stack this right.       Water is the enemy.        Water that is so

     11    crucial to preserve and to establish life is the death

     12    knell for these dikes that are built out at Kingston.

     13    It causes external erosion, internal erosion, pressure

     14    inside the dikes behind the walls, underneath them and

     15    this pressure is working, never taking a day off, 365

     16    days a year, 24 hours a day, seven days a week.               The

     17    pressure is there and it is growing.            It is caused by

     18    water and it has to be controlled.

     19                      As a matter of fact, in the early morning

     20    hours following the disaster on December 22nd, while the

     21    media was looking for seismic events and while the

     22    Inspector General's Office was looking for a terrorist

     23    event or some kind of someone attacking these dikes, the

     24    TVA internally at four in the morning they knew what the

     25    cause was.     They knew where to look.         They looked at


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 15 of 192 PageID #:
                                    16888
           September 19, 2011

      1    their well sites, their piezometers and their evidence

      2    of water build up.       That evidence told them what they

      3    already knew.      You let dikes get too big, too much water

      4    behind them, too soggy, and with such force of that

      5    water that was behind them, they literally liquified the

      6    dike that blew out.       They turned it to liquid from all

      7    the pressure.

      8                      How did TVA know at four in the morning

      9    where to look and what the probable cause of the failure

     10    was?     They know this because it had happened before.

     11    Not on the same scale, but they had had what the TVA

     12    refers to -- and this is the TVA's word.             They had

     13    "blowouts;" dike blowouts in 2003 and 2006.              These are

     14    blowouts out of the side of the dike that one of the TVA

     15    witnesses said, described them as a volcanic event.

     16                      These blowouts also don't occur all the

     17    time.     They only occur in the wet fall months.            Matter

     18    of fact, both of the prior blowouts occurred in October.

     19    They both occurred when water was building up behind the

     20    dikes.

     21                      We are not just talking rainwater.            The

     22    water that builds up behind the dikes -- let there be no

     23    mistake that water is sluiced.           It is pumped there to

     24    get the spent ash out of the coal burning facility and

     25    into the containment.        They are pumping water in.          The


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 16 of 192 PageID #:
                                    16889
           September 19, 2011

      1    problem with the wet fall months is that there is no

      2    evaporation going on and there is a lot of rainwater

      3    adding to that.

      4                      As a result, these two blowouts and the

      5    implications that those two prior blowouts brought with

      6    them, TVA went to its contractors and they said, we got,

      7    we can't have another one of these.            The results could

      8    be catastrophic.       Their contractors put together, as a

      9    result of the 2003 blowout and added to it following the

     10    2006 blowout, an early warning system.

     11                      They drilled into the dikes and they put

     12    pipes called piezometers.         These piezometers are put

     13    inside the dikes to measure the water buildup because

     14    you see, when the level of water exceeds the slope of

     15    the dike you are approaching, by TVA's own rules and

     16    regulations, are approaching failure, dike failure.

     17                      This early warning system was successful.

     18    As a matter of fact, it was run for eight months by an

     19    independent contractor for the TVA in 2006, and in 2007.

     20    And what did the independent contractor tell them in the

     21    fall of 2007 after they ran the early warning system?

     22    The evidence will show that the contractor said, TVA,

     23    you got to stop in the fall.           You got to stop sluicing

     24    ash behind these dikes because you have a critical

     25    buildup, a dangerous buildup.           It is recorded on their


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 17 of 192 PageID #:
                                    16890
           September 19, 2011

      1    data screen.

      2                      In 2007 an order was made based on the

      3    information on the printouts on their screens and what

      4    the independent contractor determined, the word went out

      5    we have to stop pumping ash behind these dikes.               TVA

      6    did.   They averted disaster.

      7                      Unfortunately, the independent contractor

      8    handed off responsibilities for monitoring the water

      9    levels to the TVA.

     10                      When the TVA took over the monitoring, we

     11    believe the evidence will show that the monitoring

     12    equipment fell into disrepair.           Piezometers and well

     13    monitors were mowed down by tractors.            As many as half

     14    of them were not in working order.            Data was ignored.

     15    It was overlooked.       TVA had a strict policy to monitor

     16    water buildup, but they didn't.           As a matter of fact, we

     17    believe the evidence will show that in this early

     18    warning system at the crucial time where the buildup was

     19    occurring behind the north dike at the most vulnerable

     20    location, no one was even looking at the buildup at the

     21    three crucial points on the north dike, the point where

     22    the dikes ultimately failed.

     23                      Thirdly, you can see the three monitoring

     24    wells up on the screen right now.           These are monitoring

     25    wells where seepage was often reported, red water


                                             18

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 18 of 192 PageID #:
                                    16891
           September 19, 2011

      1    seepage.     That happens to be the point where the dike

      2    failed, the north dike failed, the dredge cell dike

      3    failed.

      4                      The man in charge monitoring those dikes

      5    and inputting the data of the dikes is the same person

      6    who is responsible for writing the stability analysis,

      7    Mr. Buttram, who will testify he didn't even know

      8    monitoring was going on on the north sides of the dikes.

      9    He didn't even know.

     10                      Thirdly, we believe the evidence will show

     11    that TVA was negligent in the construction and

     12    implementation of approved design and construction

     13    plans.

     14                      Your Honor, if I can back up just a

     15    minute.    I have talked a lot about dikes and

     16    geotechnical terms.       We believe the evidence in this

     17    case will show, if I can use a metaphor, if the Court

     18    will allow me that, building a dike is like building

     19    character.     You have got to start with a strong

     20    foundation.     You have got to build a core.           You have to

     21    prepare or steel your character or dike to be prepared

     22    to deal with hardship.        None of those things were done

     23    in Kingston.

     24                      When the TVA decided to go upward, when

     25    the original pond and the original containment facility


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 19 of 192 PageID #:
                                    16892
           September 19, 2011

      1    was filled up, when the decision was made to build dikes

      2    on top of dikes, TVA's engineers warned that the

      3    exterior dikes, the dikes surrounding the containment

      4    facility, are not designed for additional interior loads

      5    which may occur, as a result of the future dredging

      6    operation.

      7                      The engineers with responsibility for

      8    looking at this situation said these designs -- we are

      9    not comfortable with going vertical.            By April of 1985

     10    the Director of Engineering stated regarding raising

     11    dredge cells, "as you are aware, these dikes were not

     12    built according to drawings."

     13                      The Director of Engineering is sounding

     14    and alarm right there.        These dikes, the foundation, the

     15    strong foundation for everything you are doing going

     16    upward were not built -- the TVA, Director of

     17    Engineering pointed out to those building the dikes that

     18    the dikes were not built with the proper factor of

     19    safety.    The as-built factor of safety for the dikes was

     20    approximately 1.2, plus or minus.           Now, keep in mind

     21    that structural failure is 1.0.

     22                      The Director of Engineering said because

     23    the dikes weren't built to start with, they have got a

     24    factor of safety that is lower than 1.5, which is the

     25    minimum industry standard.         If you are going to build on


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 20 of 192 PageID #:
                                    16893
           September 19, 2011

      1    top of those dikes that weren't built to the minimum

      2    industry standard to start with, then you have to build

      3    them very very strictly in accordance with engineering

      4    drawings.

      5                      The engineering drawings that are

      6    identified as Attachment C, which is the first plan for

      7    raising the dredge cells out of the ground, said you've

      8    got to build these new dikes that you are building on

      9    top of existing dikes with a 60 foot wide top.               You have

     10    to build them out of compacted bottom ash, which is not

     11    the same as fly ash which is a light ash.              You have to

     12    get the ash from the very bottom and then you have to

     13    compact that to build the dikes and then you have to

     14    build them to a ratio of five feet of slope for every

     15    one foot of elevation.

     16                      Well, the construction after those

     17    instructions were done, that design was drawn, the

     18    construction proceeded.         As the dikes were built and the

     19    results were in it was determined that they weren't

     20    built according to plans.         Instead of a 60-foot wide top

     21    they had a 12-foot wide top.           Instead of being built

     22    with compacted ash, they were built with weak

     23    uncompacted fly ash.        They were too steep.        As a result,

     24    these dikes didn't meet the minimum as-built factor of

     25    safety.     The dikes were two narrow, too weak, too steep


                                             21

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 21 of 192 PageID #:
                                    16894
           September 19, 2011

      1    with a reduced factor of safety and vulnerable to

      2    crashing.

      3                      There was also a total lack of oversight,

      4    as the facility went vertical.           The engineers, the same

      5    engineers who said this is a problem, you can't deviate

      6    from the drawings, didn't follow engineering to make

      7    sure drawings were followed.           Small deviations became

      8    large deviations.       Plans were eventually disregarded and

      9    actually made obsolete.

     10                      On the one hand, while the TVA didn't

     11    follow the plans they had and the engineers didn't

     12    monitor to make sure the plans were followed, the people

     13    building the dikes did not create what is termed

     14    "as-built drawings."        As a result, there is no record of

     15    the way these dikes were built, even as we stand here

     16    today.    No official acknowledgment of the errors was

     17    ever made.

     18                      All the public could see is that the dikes

     19    were coming up out of the ground one story after the

     20    other.    The people there around the plant had a false

     21    sense of security that things were going to be done

     22    right.    The people in the community trusting TVA as a

     23    good corporate and government citizen, had no idea the

     24    danger they were in and what was being done.

     25                      Compaction tests which are crucial from an


                                             22

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 22 of 192 PageID #:
                                    16895
           September 19, 2011

      1    engineering standpoint to make sure you are getting the

      2    right kind of basic stability in a dike, were not done.

      3                      The importance of proper construction is

      4    well known to TVA's engineers.           You see, they had a

      5    heads up.     The Engineering Department in 1975 contracted

      6    out with a company by the name of Singleton Labs.

      7    Singleton Labs went out and looked at the impoundment

      8    facility and made some findings and put Engineering and

      9    TVA on notice of that.        They said this.       "As ash fill

     10    depth increases, the ash weakens.           Where the ash meets

     11    the ground, it becomes soft.           You can expect --

     12    Singleton Labs tells TVA -- you can expect significant

     13    weakness with dikes built on the ash pond at some point

     14    even approaching a liquid state."

     15                      Despite these findings Engineering allowed

     16    the dikes to be built for a foundation for more dikes

     17    and then the dikes that are built the evidence will show

     18    one on top of another like a layer cake were

     19    progressively built in disregard to the plans and

     20    specifications that were established.

     21                      We believe the evidence will show that the

     22    TVA was negligent in failing to build its dikes in

     23    accordance with the plans and specifications and TVA was

     24    negligent in failing to monitor and implement necessary

     25    plans and specifications and these were significant


                                             23

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 23 of 192 PageID #:
                                    16896
           September 19, 2011

      1    factors in the coal ash disaster.

      2                      The fourth thing we expect the evidence to

      3    address is going to be failure to perform maintenance or

      4    negligence in performing maintenance.            You see there is

      5    a correlation, a direct correlation between building

      6    dikes upward and the importance of good maintenance

      7    practices.     Because as the dikes raised up out of the

      8    ground and became taller and taller the pressure behind

      9    the dikes increased as well.           The more water that is

     10    contained in these vertical structures, also the more

     11    pressure that is created against the walls.

     12                      Maintenance issues that were routinely

     13    overlooked and even disregarded in the seventies and

     14    eighties and nineties became dangerous components of

     15    failure at this facility.         This facility growing to the

     16    size of a nine or ten story building, the failure of the

     17    dikes released an amount of coal ash that would fill

     18    Neyland Stadium 16 times.         That's just what was

     19    released.     There is another 16 times that amount that

     20    was left out there that didn't flow into the rivers and

     21    lakes.     But all that coal ash was building upon itself

     22    creating pressure, pressure, pressure that never took a

     23    day off.

     24                      To contain that pressure it takes a

     25    commitment to maintenance, but the commitment wasn't


                                             24

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 24 of 192 PageID #:
                                    16897
           September 19, 2011

      1    there.     You see there was a commitment to writing down

      2    maintenance issues on paper, but as the Office of the

      3    Inspector General at TVA found, those paper reports

      4    became what the Inspector General referred to as "legacy

      5    issues."

      6                      It's a curious term.        We asked about that

      7    in discovery.      We learned that a legacy issue, as far as

      8    maintenance is concerned, is something, a list kind of

      9    like the list of chores my wife has for me.              It gets

     10    longer and longer and I never scratch anything off.

     11    These legacy issues are, examples of legacy issues by

     12    the OIG were; found seepage, red water, signs of water

     13    coming through the dikes, erosions, gullies, roughs,

     14    rills, erosion on the outside and inside of the dikes,

     15    tree growth.     Embankments that should never have a tree

     16    on them had trees growing in them with root systems that

     17    when you pull them out it weakens the dike itself and

     18    when you cut the tree off the roots decay and

     19    destabilize the dike.

     20                      Another example of failure to do

     21    maintenance is the piezometers.           These are the things

     22    that, these are the part of the early warning system

     23    that are put inside the dikes to tell when the dikes are

     24    getting too saturated.        They were mowed down by

     25    tractors, knocked down, fallen into disrepair so they


                                             25

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 25 of 192 PageID #:
                                    16898
           September 19, 2011

      1    weren't functional.

      2                      As the two independent investigating

      3    bodies McKenna, Long and OIG looked at this found that

      4    TVA had a problem with reporting maintenance issues that

      5    were never acted upon and never repaired in a timely

      6    manner.

      7                      Perhaps one of the best examples and one

      8    we believe is going to be crucial in this case is

      9    another term that is referred to by the TVA as

     10    "ponding."     Ponding in its simplest form is the creation

     11    of water through either rain, but most notably through

     12    pumping water behind the dikes.           TVA's policies and

     13    procedures and their engineers say you can't have

     14    standing water build up behind the dredge cells.                The

     15    dredge cells at the very top of the nine story coal ash

     16    facility, this pyramid, if you will, of coal ash, you

     17    can't have water ponds building up on top of that

     18    because they can't hold the weight.            It causes mushy

     19    dikes.    It is the source of seepage.          It is the source

     20    of internal erosion and it is the source of the picture

     21    that Mr. Buttram took at the point of the failure in

     22    October of 2008, the sloughs.          You have to do everything

     23    you can to move the water off of these things.               That was

     24    not done.

     25                      As a matter of fact, in a photograph that


                                             26

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 26 of 192 PageID #:
                                    16899
           September 19, 2011

      1    was taken on October 20th, 2008, just two months before

      2    the catastrophe, this is the dike that failed under

      3    extreme water pressure, ponding, that TVA by its own

      4    rules and regulations is required to eliminate as soon

      5    as possible.

      6                      TVA created specifications to avoid

      7    surface water ponding.        They knew the ponding undermined

      8    the dike stability and reduced the safety factor of the

      9    dikes to a dangerous level.

     10                      These soft mushy dikes were recorded.                As

     11    a matter of fact, in a haunting photograph that was just

     12    days before the dike failure, a man out on the dikes

     13    wrote to the TVA in an e-mail that these are the

     14    "softest dikes I have ever been on."            This man was a

     15    surveyor.     This picture that he gave the TVA shows him

     16    sinking in the dikes almost to his waist.              Soft mushy

     17    dikes take him down like quicksand.            And this man is not

     18    even charged with responsibility for monitoring or

     19    looking at the stability or maintenance of the dikes

     20    asked the TVA, what is going on here?            What are these

     21    things made of?      They are soft.       They are mushy.       Can

     22    this possibly be right?         It is not the first warning

     23    that TVA had.

     24                      TVA as a result of the blowouts that we

     25    have talked about in '03 and '06 systemwide, started


                                             27

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 27 of 192 PageID #:
                                    16900
           September 19, 2011

      1    back in 2003, we expect the evidence to show, what was

      2    referred to as an "Ash Blitz."           That is a catchy phrase

      3    but what it really meant is we are going to get a group

      4    of engineers and inspectors together and go facility to

      5    facility to get a handle on these ash containment ponds.

      6    They came out to Kingston and they tried to sound the

      7    alarm and they set up some specific rules and gave some

      8    specific instructions.        This is in 2004.

      9                      A recurring theme of a warning to TVA was

     10    watch for sloughing, watch for these situations where

     11    you have slides, whole parts of earth come out of your

     12    dikes.    That's a dangerous sign.         We believe the

     13    evidence will show, when the testimony is in, and

     14    evidence that sloughs are recognized by those familiar

     15    with earthen dams, that when you see them, a dike

     16    failure could follow in weeks and months in short order.

     17    Sloughs is not just a geotechnical term to be ignored.

     18                      The Ash Blitz also said you got lower

     19    dikes there at Kingston that are saturated.              That means

     20    you are not draining the dikes properly.             Water is

     21    coming out in places it shouldn't be.            You have soft

     22    dikes.    You have red water seepage.          As a matter of

     23    fact, the Ash Blitz concluded of all the facilities in

     24    the TVA system, Kingston had the most problem with red

     25    water seeps, tainted water from spent coal ash coming


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 28 of 192 PageID #:
                                    16901
           September 19, 2011

      1    out of the dikes where it shouldn't come out indicating

      2    instability and a lack of structure.

      3                      The problems cited in the Ash Blitz of

      4    2004 we are going to have evidence to show, testimony

      5    from TVA, that these items were not addressed.

      6    Necessary maintenance was not done.            The same thing

      7    holds true for the annual inspections, these legacy

      8    problems we talked about earlier.

      9                      There was a problem with writing

     10    documentation down that pertained to maintenance

     11    problems that the inspectors who looked at this failure

     12    termed "siloing."       Siloing is a group of people or a

     13    person within TVA reporting a problem and not sharing it

     14    with maintenance or others who are required to address

     15    it, as a result of TVA's policies and procedures.

     16                      An example of that, we expect the evidence

     17    to show that TVA was required to do annual seepage

     18    inspections, or actually quarterly seepage inspections.

     19    These reports were to be turned over to TDEC.               They were

     20    required all through the nineties and certainty after

     21    the turn of century up until the time of the failure.

     22    This crucial seepage information in these reports were

     23    never provided to the engineers who were required to

     24    inspect the dikes who could reconcile the information

     25    and do something about it.         Instead as the Office of the


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 29 of 192 PageID #:
                                    16902
           September 19, 2011

      1    Inspector General found, this crucial information on

      2    maintenance issues was siloed and not distributed and

      3    not given to the people who needed it and who had a

      4    chance to do something about it.

      5                      Now, we have talked -- you see at the very

      6    end of the bullet points from the McKenna, Long report.

      7    They talk about silo responsibility and poor

      8    communication.      The red water reports are a good

      9    example.

     10                      As a matter of fact, the evidence will

     11    show when these engineers were out there in October of

     12    2008 just before, just two months before the dike

     13    failed, that they didn't have this crucial information

     14    about the location of red water seeps.             They were left

     15    on their own to find it, to find out the seeps in this

     16    84 acre containment area on their own in a short period

     17    of time.

     18                      McKenna, Long also reported to the Board

     19    of Directors at TVA that inspections just like we have

     20    talked about were nothing but form over substance,

     21    inconsistent oversight, lack of clarity, complete lack

     22    of standardization, training and metrics and the design

     23    of the dikes in the drawings for construction were not

     24    followed.

     25                      THE COURT:      What was the date of this


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 30 of 192 PageID #:
                                    16903
           September 19, 2011

      1    report?

      2                      MR. FRIEDMAN:        The McKenna, Long report.

      3    The McKenna, Long report came after the failure.                The

      4    Ash Blitz that there was a genesis of many of these

      5    findings came in 2004.

      6                      Your Honor, I want to change gears, if the

      7    Court will allow, and talk a little bit about what we

      8    expect the evidence to show concerning expert testimony.

      9    We believe expert testimony is going to be a crucial

     10    part of this case.       The plaintiffs will offer expert

     11    testimony in the person of Mr. Brown and Dr. Marks.

     12    We'll talk about what we expect their evidence to be in

     13    just a minute.

     14                      If I can briefly digress to say that the

     15    plaintiff's two experts will be countered by a defense

     16    expert by the name of Mr. William Walton or Bill Walton

     17    -- not to be confused with the basketball player and now

     18    the sports announcer.

     19                      Mr. Walton, his introduction to this case

     20    is important.      We believe the evidence on that is going

     21    to be crucial in taking that into account.

     22                      The evidence in the case, we'll call the

     23    President and CEO, Tom Kilgore, to establish this is,

     24    that he made a promise to Congress and the Senate

     25    following this disaster that TVA would get to the bottom


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 31 of 192 PageID #:
                                    16904
           September 19, 2011

      1    of this.    They would find out what the actual cause was,

      2    what rules were violated, who was responsible for the

      3    disaster, and, if necessary, heads would roll.

      4                      Now, we believe the evidence will also

      5    show that not one person within TVA has been ever, has

      6    been held accountable for this disaster.             There's a

      7    reason for that.       Because after Mr. Kilgore made his

      8    promise to the Senate and the Congress the ratepayers of

      9    TVA and the taxpayers of the United States of America he

     10    turned the task over to his lawyers.

     11                      What the lawyers did is to follow a

     12    litigation strategy.        They hired Mr. William Walton and

     13    they hired Mr. Walton under very very strict conditions.

     14    This is what they told him.            Do whatever you need to do.

     15    You have got unlimited budget.            Test whatever you need

     16    to test, but do not under any circumstances blame any

     17    individual at TVA, don't make any criticism of TVA,

     18    don't make any finding of fault against the TVA, and

     19    strictly find a mode of failure that doesn't have

     20    anything to do with assigning fault against the TVA.

     21                      You know what he did.         He did just what

     22    they told them.      He charged them $3.2 million and

     23    continued with additional contracts now approaching

     24    possibly $4 million.        What he did was just what he

     25    promised he would do in his prospectus or just what he


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 32 of 192 PageID #:
                                    16905
           September 19, 2011

      1    promised he would do to TVA when he got started.                In his

      2    proposal he said I will come up with a mechanism of

      3    failure that he calls a slimes layer.            This slimes

      4    lawyer is a magical layer that caused the dikes, these

      5    massive structures, to slide and allow 1.2 billion

      6    gallons of sludge to escape, rupture and liquify.

      7                      What has the Office of General Counsel

      8    said about that?       Well, they said it's a litigation

      9    strategy.     It says that it was done as a resulted of the

     10    tightly circumscribed requirements.            It was a conscious

     11    decision to present the public with only one of the

     12    facts that supported an absence of liability, not one of

     13    the facts, but only facts that supported an absence of

     14    liability for TVA.

     15                      Just like Mr. Walton said in his

     16    deposition, he reached a predetermined result and as a

     17    result the Office of Inspector General of the Tennessee

     18    Valley Authority classified his work as suspect.

     19                      The TVA has instead of going out and

     20    getting another expert, they have continued to stick

     21    with him.     He is the person we believe they will call at

     22    trial to support their defense.

     23                      On the other hand, we have two expert

     24    witnesses we are very proud to present; Mr. Gary Brown.

     25    Mr. Brown is going to testify because, Your Honor, the


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 33 of 192 PageID #:
                                    16906
           September 19, 2011

      1    Kingston Coal Ash Facility is permitted and documented

      2    as a landfill.      Mr. Brown is an expert on solid waste,

      3    hazardous waste, landfill design, construction and

      4    operation and most importantly regulation.              He has had

      5    30 years of environmental engineering experience and he

      6    has dealt with landfill and containment issues all over

      7    the eastern United States.

      8                      His testimony we believe is going to be

      9    that TVA committed numerous violations of its own rules,

     10    of its permits and its regulations which were

     11    substantial factors in the failure of the dredge cells

     12    and the disaster of December 22nd, 2008.

     13                      Secondly, Your Honor, the plaintiffs are

     14    very proud to present the testimony of Dr. Dan Marks, a

     15    geotechnical engineer with 40 years of experience and

     16    training.     He has been a professor of civil engineering

     17    at the University of Tennessee College of Engineering

     18    for ten years.      He has served as a geotechnical

     19    consultant over 30 years.         He was been a consultant to

     20    the foundation of the largest building in Knoxville and

     21    Nashville and parts north and south of here.

     22                      We believe he is going to testify that the

     23    dredge cells were overloaded with excessive water and

     24    high loads leading up to the disaster.             He is going to

     25    testify that the TVA's improper maintenance, inadequate


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 34 of 192 PageID #:
                                    16907
           September 19, 2011

      1    construction, lack of proper operation, inspection and

      2    maintenance caused and was a substantial factor in the

      3    failure of the Kingston facility.

      4                      Your Honor, I promised I would be through

      5    in close to an hour.        I am seeing my colleagues trying

      6    to get my attention out of my peripheral vision.                With

      7    that, I will try my best to wrap up.            We have a few, I

      8    have a few other comments that I believe I would be

      9    remiss if I did not address.

     10                      With the Court's indulgence, we want to

     11    comment just briefly on what we expect the evidence to

     12    be from TVA.     After all, this is a case made with TVA's

     13    witnesses to discuss and get to the cause of the dike

     14    failure out there that we believe was caused by TVA.

     15                      First, throughout this entire case TVA has

     16    denied any liability.        The only thing they have admitted

     17    is that this slimes layer which was the predetermined

     18    creation of Mr. Walton was the cause.            They denied that

     19    they made any bad choices, any bad decisions, that they

     20    disregarded any warnings.         They have denied maintenance

     21    issues, construction issues, training issues, denied

     22    failing to follow policies and procedures.              They have

     23    denied everything.

     24                      Then we have engaged in the most extensive

     25    motion practice that I in my 30 years have ever seen.


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Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 35 of 192 PageID #:
                                    16908
           September 19, 2011

      1    We have gone through three summary judgments.               With Your

      2    Honor's guidance you have told us how this case should

      3    be tried and we are committed to following that.

      4                      What we expect the evidence to show

      5    concerning TVA now, Your Honor, is that on the eve of

      6    trial, the eve of trial in no more than a footnote in

      7    the TVA's proposed findings of fact the first time, the

      8    TVA as said, all right as the mountains of evidence

      9    against us has collected and as the testimony has

     10    increased, as the pressure increases, you know, after

     11    Your Honor has issued an order saying that they are

     12    immune for discretionary conduct they have stepped up to

     13    the bar and for the first time admitted and they do not

     14    contest the causes of the spill are a result of TVA's

     15    bad decision making and bad policies for all these

     16    years.    The first public admission of that wrongdoing.

     17                      We do not believe that this strategy will

     18    work and this evidence will carry the day.              Here is why.

     19    Instead of being able to try to blame poor decisions and

     20    poor policies that were created in the sixties and

     21    seventies we believe those same policies were not bad

     22    decisions, but they were warnings.            They were

     23    information, part of the tribal knowledge to TVA of you

     24    have got problems with your dikes.            As a matter of fact,

     25    the evidence is going to show that the John Sevier


                                             36

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 36 of 192 PageID #:
                                    16909
           September 19, 2011

      1    Electric Facility in the 1970s the dike failed, it came

      2    crashing down.      TVA had knowledge of that.          They had

      3    knowledge that you have to build these right, have to

      4    maintain them right and you have got to monitor them.

      5                      We believe the efforts to blame poor

      6    decision making on people who are no longer here will

      7    fail.

      8                      Now, in closing, the plaintiffs will work

      9    diligently to move the case along, as Your Honor

     10    expects, and to cooperate and do everything humanly

     11    possible we can.       We, as the Court has recognized, we

     12    have a tremendous obligation to our clients, the

     13    families out there in Kingston.           We intend to carry our

     14    burden and meet our responsibilities, Your Honor.

     15                      We know that based on what Your Honor has

     16    said and the findings of this Court all the plaintiffs

     17    have to do is prove that one element, just one element

     18    of nondiscretionary conduct being a substantial factor

     19    in the coal ash disaster is sufficient to carry our

     20    burden.    We believe we will put on substantial evidence

     21    of not just one element but all four elements that each

     22    one of these standing alone created a substantial

     23    contributing factor to the disaster.

     24                      That is why at the close of the evidence

     25    we are going to ask for a plaintiff's verdict because of


                                             37

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 37 of 192 PageID #:
                                    16910
           September 19, 2011

      1    the TVA's negligent failure to inform and train its

      2    personnel.     Because of the TVA's negligent and

      3    inadequate performance of its policies and procedures,

      4    because of the negligence in construction in following

      5    the design parameters for the dikes and because of the

      6    negligent maintenance that followed.

      7                      That is also why at the close of the

      8    evidence, Your Honor, we will ask the Court for

      9    permission to stand here before Your Honor at the end of

     10    the evidence and to request a verdict on behalf of the

     11    plaintiffs.

     12                      Thank you.

     13                      THE COURT:      Thank you, Mr. Friedman.

     14                      Mr. Small, opening statement on behalf of

     15    defendant, TVA.

     16                      MR. SMALL:      I am Edwin Small of the

     17    Knoxville bar.      I am here representing, of course, the

     18    Tennessee Valley Authority.            I have someone in the

     19    courtroom I would like to take a moment to introduce the

     20    Court to, someone the Court has not previously met, is

     21    TVA Senior Vice President Bob Deacy.            He, among other

     22    things, is from our Fossil Organization and responsible

     23    for the Kingston cleanup work.            He is with us today as

     24    the agency representative.

     25                      THE COURT:      Good morning.


                                             38

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 38 of 192 PageID #:
                                    16911
           September 19, 2011

      1                      MR. SMALL:      It goes without saying that

      2    the presentation that Mr. Friedman just made we did not

      3    have access to it until we just saw it with the Court.

      4    There are a number of things in it that we will object

      5    to, and, of course, it is not into evidence yet, those

      6    various matter he referred to.           That same thing applies

      7    to the exhibits I will use in my opening statement.

      8    They will be only three, Your Honor.

      9                      This case, as I think about it, is more

     10    like an airplane crash than anything else I can think

     11    of.   Why do I say that?        This case is sort of like an

     12    airplane crash where an airplane is flying along and

     13    there are some internal cracks in the wings that you

     14    can't see right at the root of the wings.              Those

     15    internal cracks cause that airplane to fall out of the

     16    sky because the wings fall off.

     17                      Now, before that plane took off that day

     18    the pilots did their normal walk-around inspection and

     19    there were a number of things that you could see about

     20    that airplane that were later criticized in the press

     21    and by various people; the paint was faded, the exterior

     22    was dirty, the cabin was not vacuumed, the tires were

     23    worn, but the problem with all that, Your Honor, is that

     24    those things didn't cause that crash.            That crash was

     25    caused by the internal cracks in the wings.


                                             39

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 39 of 192 PageID #:
                                    16912
           September 19, 2011

      1                      As to that matter, the airline had sent it

      2    back to the manufacture and sent it back to Boeing the

      3    month before and said we want you to x-ray the wings and

      4    make sure that they are good for another hundred

      5    thousand hours.      Boeing x-rayed the wings and told the

      6    airline, yes, the wings look good.            They are good for

      7    another hundred thousand hours.

      8                      Now, why is that like this case, Your

      9    Honor?    That is like this case because in 2004 TVA

     10    instead of sitting in a silo, as some would suggest,

     11    went to an outside contractor, Parsons, known in this

     12    case as Worley Parsons, went to Parsons and said we have

     13    had a problem on the west dike with a blowout and we are

     14    trying to figure out what to do.           We want you to take a

     15    look at these facilities -- and I am talking about these

     16    facilities in Kingston, not ash facilities at other

     17    plants.    We want you to look at these facilities at

     18    Kingston and tell us whether or not we can continue

     19    building them up.

     20                      So this outside contractor came in and

     21    looked and TVA told them -- of course, we quoted from

     22    them at our proposed findings and conclusions.               I think

     23    the memorandums will come in as evidence in the case.

     24                      The assignment of Parsons was, based on

     25    this analysis it will be determined whether the dredge


                                             40

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 40 of 192 PageID #:
                                    16913
           September 19, 2011

      1    cells can continue to be utilized, as presently

      2    constructed, or whether modifications will be required

      3    to allow the dredge cells to continue to be operated

      4    beyond its existing height.

      5                      Parsons looked at everything, Your Honor.

      6    Parsons looked at the fact that the Kingston ash

      7    facilities were put in this shallow area of Watts Bar

      8    Reservoir.     Parsons looked at the whole history of the

      9    facilities.     They looked at the Singleton studies

     10    mentioned by Mr. Friedman.         They had their own

     11    subsurface borings done in 2004.

     12                      They evaluated the entire facility, the

     13    dredge cell facility in particular, and what did they

     14    say?     At that point in time the dredge cell facility was

     15    at elevation 810.       As you hear us talk about elevations,

     16    Your Honor, we are, of course, referring to topographic

     17    elevations that come off a lot of engineering drawings.

     18    Topographic maps generally refers to elevation above sea

     19    level.

     20                      The dredge cells were at elevation 810.

     21    What did Parsons say?        Parsons said, well, we have

     22    looked at it.      We have looked at the entire history.               We

     23    have gone down and looked at the subsurface.              We think

     24    that you can continue building it up to elevation 868.

     25    You can continue building up the dredge cells another 58


                                             41

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 41 of 192 PageID #:
                                    16914
           September 19, 2011

      1    feet.    We think that they are "likely to be stable

      2    during any phase of construction and after completion of

      3    construction, including during the occurrence of a

      4    design seismic event."

      5                      Your Honor, an outside contractor came in,

      6    took a look at the entire history of the facility, took

      7    a look at the current maintenance of the facility at

      8    elevation 810 and said you're good.            Keep on building up

      9    to elevation 868.       And what happened?       Ten feet later at

     10    elevation 820, the structure failed.

     11                      The structure failed, as Mr. Friedman

     12    said, because the load was too much for the foundation.

     13    In hindsight you can look at it and say, well, yes, that

     14    is obvious, and it is.

     15                      TVA didn't admit that for the first time

     16    in Footnote 3 of its proposed findings and conclusions.

     17    TVA has not contested that since the summer of 2009 when

     18    the AECOM report came out and said that same thing.

     19    That the buildup was too much for the foundation

     20    conditions and it failed.

     21                      One question that was raised near the end

     22    of Mr. Friedman's opening, and I think the evidence will

     23    show this very clearly, is TVA retained AECOM to

     24    determine what happened, not why.           There is a big

     25    difference between "what," especially in a geotechnical


                                             42

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 42 of 192 PageID #:
                                    16915
           September 19, 2011

      1    situation like this, and "why" which involves a lot of

      2    finger pointing and fault and can we find somebody to

      3    blame.

      4                      What happened is important because until

      5    you determine what happened, Your Honor, you can't even

      6    begin hardly with why.

      7                      Back to my airplane example.           As we all

      8    know from common experience, when there is an airplane

      9    crash the first thing people do is they start

     10    speculating about the cause and people speculate about

     11    things that didn't have anything to do with it and it

     12    will get press coverage and it will get widespread

     13    attention, maybe that the plane took off even though the

     14    weather forecast was bad, maybe the plane took off even

     15    though the tires were worn, various things.              Until the

     16    National Transportation Safety Board determines maybe a

     17    year later that the cause of the crash was the internal

     18    wing cracks, all that speculation amounts to nothing.

     19                      Later on after the year's past and the

     20    true cause comes out you are way down the pike and all

     21    those stories about, gosh, the airline engaged in bad

     22    maintenance in a number of ways no one remembers that

     23    none of those things caused this accident, and that is

     24    what this case more than anything is about today.

     25                      Now, in a geotechnical situation, or any


                                             43

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 43 of 192 PageID #:
                                    16916
           September 19, 2011

      1    technical situation, the question of what's important --

      2    when Mr. Walton testifies I believe you will hear him

      3    testify he is often called in to determine what happened

      4    in a geotechnical forensic type investigation and he is

      5    called in to make that determination, Your Honor, not to

      6    testify in litigation.

      7                      Your Honor will hear Mr. Walton has never

      8    ever testified in court before, either state or Federal

      9    Court.    He has testified in a few, very few,

     10    arbitrations, but his court business is geotechnical

     11    engineering.     When he is called in to do a forensic

     12    analysis or analysis of what happened, it's done so that

     13    they can figure out what needs to be done to save a very

     14    expensive project.

     15                      The key point is what happened, because

     16    until they figure out what happened, they cannot fix the

     17    foundations and enable the project to go forward.

     18    That's what he is doing here, Your Honor, coming in to

     19    figure out what happened.         Once you figure out what

     20    happened, then you can assess the whys.

     21                      TVA is proud of what it did in the scope

     22    of the investigation.        It's the right way to do it.          You

     23    will hear the evidence about what versus why and the

     24    reasons for that.

     25                      One thing I want to call the Court's


                                             44

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 44 of 192 PageID #:
                                    16917
           September 19, 2011

      1    attention to are the two large aerial photographs we

      2    have put up.     One shows the facilities before the

      3    failure, the one on the left.           The one on the right

      4    shows the facilities after the failure, shows the ash

      5    spill and basically to the north.

      6                      I want to caution the Court that as we go

      7    through the evidence you will hear people say various

      8    things about locations.         You will hear people say

      9    various things about directions.           It is going to be

     10    confusing because you can see that the facility -- as

     11    you can see from the facility here, the ash pond itself

     12    is canted.     It is not directly north south.           So some

     13    people call that dike there the north dike, some people

     14    call it the east dike.        It's actually oriented, I

     15    suppose, so it is northeast.           In general in this case we

     16    are going to refer to it as the north dike.

     17                      Most of the forensic documents involving

     18    what happened refer to it as at north dike.              However,

     19    some pre-failure documents refer to it as the east dike

     20    because of the way the facilities are canted.

     21                      If we don't make that clear during the

     22    reception of evidence, Your Honor, we would welcome

     23    interruption to make it clear.           I don't want there to be

     24    any confusion about what dike a witness is talking

     25    about.


                                             45

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 45 of 192 PageID #:
                                    16918
           September 19, 2011

      1                      The dike over on the Swan Pond Road side I

      2    just highlighted with an arrow, we'll refer to it as the

      3    west dike or Swan Pond Road dike.           It's the dike

      4    Mr. Friedman made a reference to we had two blowouts,

      5    one in '03 and one in '06.         To my knowledge there is no

      6    allegation from the experts that had anything to do with

      7    the December, 2008, failure over on the north dike.

      8                      The other thing I would call the Court's

      9    attention to is that on the north side -- before I go to

     10    that let me say one other thing.           Your Honor, down here

     11    where I am currently showing my fingernail, there is a

     12    dike that you would think we would call the south dike.

     13    There is actually materials in the record that call that

     14    the north dike.      That is because at one time, as this

     15    facility developed over the years, that was the north

     16    dike.     Again, please, we welcome any clarification from

     17    the Court, as a witness is talking, about which specific

     18    dike because it is going to get confusing at times.

     19                      Let's talk about the north dike just a

     20    minute.    This schematic comes from the AECOM report.                 I

     21    am putting it up right now just as a general orientation

     22    matter to just alert the Court to what we think the

     23    evidence will show.

     24                      This is the north dike.         This is looking

     25    west.     Now, when I say it's the north dike, I suppose I


                                             46

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 46 of 192 PageID #:
                                    16919
           September 19, 2011

      1    really should say it is the north dikes.             What you have

      2    here is you have Swan Pond slew over on the right-hand

      3    side, and, of course, just north of that you have got,

      4    you have a road.

      5                      Coming from the slew the next thing you

      6    run into is Dike C.       Now, we call that Dike C, we call

      7    it the northern most perimeter dike.            The concept is on

      8    the drawing that we showed there earlier there's a dike

      9    that's out there that is the very northern most dike.

     10    It's a lower level dike.         It is called Dike C.        As you

     11    can see, it is really built in three stages.

     12                      Stages are sometimes labeled A, B, C, D.

     13    Sometimes some of the evidence may come in and be

     14    confusing because it's not Dike C, it's Stage C that is

     15    being referred to.       Again, anytime there is confusion,

     16    we welcome a question.

     17                      Dike C, as you can see, has a level area

     18    about 200 feet wide before the dikes start up again.

     19    You can see there is a, they are labeled A, B, C, C1,

     20    C2, C3, D1, D2.      That is about what it looked like at

     21    the time of failure with the D2 dike being an

     22    approximate elevation 820.

     23                      Now, these stages here refer to upstream

     24    construction.      It's another term the Court will hear.

     25    What that refers to is the dike isn't built like -- and


                                             47

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 47 of 192 PageID #:
                                    16920
           September 19, 2011

      1    I suppose when you start off on something like this you

      2    think, gosh, the thing is built and then you put the

      3    whatever you are storing behind it like a traditional

      4    dam.    That's not true here.          What happens here is the

      5    structure itself, the dike itself is built up in stages

      6    and here those stages are labeled letters.              As the ash

      7    that's inside it is loaded higher and higher, it's an

      8    ongoing construction process.

      9                      Now, the white material, of course,

     10    represents the ash fill that was inside there.               You can

     11    see up at the top there is a blue indication near the

     12    Cell 2 level indicating some water at the top of the

     13    cell.

     14                      The important thing about that, Your

     15    Honor, is the evidence will show, one, that 1985

     16    memorandum that discussed Dike C out there and the fact

     17    that there was some issues with Dike C was taken into

     18    account and because of that about a decade later when

     19    they actually designed what we might call the interior

     20    dike or upper dike on the north side, that's the yellow

     21    here, it was offset or inset 200 feet in order to not to

     22    put additional load on Dike C.

     23                      The evidence will show the issues

     24    identified in the mid eighties with Dike C were taken

     25    into account, as opposed to not.


                                             48

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 48 of 192 PageID #:
                                    16921
           September 19, 2011

      1                      Another thing, Your Honor, when this

      2    interior dike was actually designed in the mid nineties

      3    design drawings called for specific slopes and so forth.

      4    The evidence will show that those drawings from the mid

      5    nineties, those design drawings were closely conformed

      6    to.   How will that be shown?           That will be shown because

      7    TVA went out and did as-built surveys.             When you overlay

      8    the as-built surveys on top of the mid ninety design

      9    drawings, you will see that the construction was as

     10    designed, not the other way around.

     11                      TVA does manage, the evidence will show,

     12    the water in the dredge cell.            Up there in the schematic

     13    that I show right now you can see there's a little bit

     14    of blue at the very edge of the Cell 2 area.              That's

     15    also known was a rim ditch.            There was a photograph

     16    Mr. Friedman put up that he indicated had been taken on

     17    October 20, 2008, just 60 days before the failure.                 He

     18    said it showed a lot of water in the dredge cell.

     19                      It looked like there was a large canal, if

     20    you will, flowing around the outer perimeter of the

     21    dredge cell.     There was.      That term for that is rim

     22    ditch and the operation of the dredge cell is such that

     23    the dredging is put in at towards the south end of the

     24    dredge cell, that rim ditch is maintained around the

     25    parameter of the dredge cell to cause water to flow to


                                             49

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 49 of 192 PageID #:
                                    16922
           September 19, 2011

      1    the spillway gate where the water is decanted out of the

      2    dredge cell.     That is done in a very purposeful manner

      3    in accordance with TVA's normal operations, Your Honor.

      4    You will see that picture later and the whole rim ditch

      5    decanting process will be explained.

      6                      The softest dikes photograph that

      7    Mr. Friedman showed you is something else you will see

      8    in the evidence.       There's no question but what that

      9    happened.     It didn't happen anywhere close to the dike

     10    that failed.

     11                      If you look back at the original

     12    pre-failure geometry of the dike facilities, you recall

     13    what I call the north dike is where the failure point

     14    occurred.     They were building new dikes in this general

     15    area here and in that general area there as part of that

     16    new dike construction they encountered some soft areas

     17    in connection with brand new construction.              No one

     18    asserts that had anything to do with the December, 2008,

     19    dike failure.      As a matter of fact, that incident did

     20    occur.

     21                      The Ash Blitz of 2004 was something else

     22    that you will hear about in the evidence.              Instead of

     23    showing that TVA didn't care about the dikes, it shows

     24    just the opposite.       It shows that TVA did care about the

     25    dikes.    TVA witness Steve Ball will testify the Blitz


                                             50

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 50 of 192 PageID #:
                                    16923
           September 19, 2011

      1    occurred.     It occurred at not only Kingston but other

      2    ash facilities all over the TVA system.             They wanted to

      3    make sure that the ash facilities were being properly

      4    maintained.     They identified various things at various

      5    facilities that needed work.           The things that needed

      6    work at Kingston and those other facilities were

      7    followed up on.      Mr. Ball will testify to that and I

      8    think satisfy any concerns the Court may have.

      9                      Red water seepage.        The word seepage may

     10    be a misnomer here.       What do I mean by that?         You are

     11    going to hear a lot of people use the word seepage.

     12    Seepage means different things to different people.

     13                      These dikes have drains.          Some people call

     14    them French drains, some people call them underdrains,

     15    some people call them heel drains.            They are called lots

     16    of things.     The basic principle is that there is black

     17    plastic pipe, not much different than the Court may know

     18    about from gutter downspouts or a French drain around

     19    your home.     This black plastic pipe, as it goes around

     20    the dredge cells inside the dikes themselves is slotted,

     21    it takes in water.       Water that enters the dredge --

     22    excuse me, water that enters the dike, goes into the

     23    plastic pipe and then every so often there is another

     24    pipe that takes off from that ring of slotted pipe and

     25    goes to the outer surface of the dike.             On the outer


                                             51

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 51 of 192 PageID #:
                                    16924
           September 19, 2011

      1    surface of the dike there are going to be various places

      2    where you see water, wet spots.           The reason you see that

      3    water, those wet spots is because the drain system that

      4    is designed and constructed as part of this dike system

      5    brings water to the surface and that is how it does it.

      6                      When it brings this water to the surface

      7    because the water has a high iron content, it turns red.

      8    That is about all I know about all we plan to present

      9    evidence wise on that, Your Honor.            As to the technical

     10    aspects of why it turns red, it has to do with chemical

     11    reaction, exposure to oxygen and so forth.              The point is

     12    that a red water seep is a matter of concern for

     13    environmental purposes because of the color the water

     14    and the chemical reaction that is taking place.               The

     15    word "red water seep" may be referring not to a seep of

     16    water through the dike, but rather to water that is

     17    coming through the drain system and once it is exposed

     18    to oxygen on the surface turns red and so you will see

     19    what is referred to as a red water seep.             It may or may

     20    not be an actual seep through the dike.             It may in fact

     21    be a drain outlet.

     22                      We expect the Inspector General to testify

     23    here, Your Honor, and when he testifies we expect that

     24    he will testify that Mr. Walton, the engineer who did

     25    the AECOM report, was a person determined by them to be


                                             52

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 52 of 192 PageID #:
                                    16925
           September 19, 2011

      1    a professional not susceptible to any undue influence

      2    and that he will also testify to that, nor did he find

      3    any evidence of any effort by TVA management to

      4    influence Mr. Walton's work.

      5                      Contrary to the implication of

      6    Mr. Friedman's opening, Your Honor, we think the

      7    evidence will show that TVA hired Mr. Walton, a literal

      8    world renowned professional in this geotechnical area to

      9    come here to East Tennessee and determine what happened

     10    in order to go from there to make determinations about

     11    why it happened to the extent you need to go further,

     12    and, more importantly, to determine whether or not this

     13    facility, this spot can be used to store ash that's

     14    being recovered from the river and the slews where it

     15    went.

     16                      It is important to know what happened

     17    because if we are going to put that ash back where it

     18    came from, we need to know that it is going to be okay.

     19    Until we know what happened, you can't do the

     20    engineering to make that okay.           That is what a classic

     21    geotechnical engineer does when called in to look at a

     22    disaster and try to figure out what happened.               That is

     23    what happened here.       Mr. Walton's work is being used for

     24    that very purpose, Your Honor.           It is not some

     25    litigation only.


                                             53

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 53 of 192 PageID #:
                                    16926
           September 19, 2011/Buttram/Direct

      1                      Your Honor, that is all I have.

      2                      THE COURT:      All right.     Thank you.     Since

      3    we got started a little bit later, in lieu of a morning

      4    break, if plaintiffs are ready to proceed, why don't

      5    plaintiffs call their first witness.            We'll go about an

      6    hour and take a normal lunch break.

      7                      Before you announce your first witness be

      8    mindful this is a bench trial.            If people in the

      9    audience or counsel or the parties need to quietly slip

     10    out, go ahead and do so during while the trial evidence

     11    is being presented.

     12                      MR. FRIEDMAN:        Plaintiffs would call Chris

     13    Buttram.

     14                            CHRISTOPHER BUTTRAM

     15    was first duly sworn and testified as follows:

     16                      COURTROOM DEPUTY:         Please state and spell

     17    your name for the record.

     18                      THE WITNESS:         Chris Buttram, C-h-r-i-s

     19    B-u-t-t-r-a-m.

     20                      MR. FRIEDMAN:        As a housekeeping matter,

     21    we would like the record to reflect we are calling

     22    Mr. Buttram as an adverse witness under Rule 608.

     23                      THE COURT:      You may proceed.

     24                            DIRECT EXAMINATION

     25    BY MR. FRIEDMAN:


                                             54

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 54 of 192 PageID #:
                                    16927
           September 19, 2011/Buttram/Direct

      1           Q.   Hello, Mr. Buttram.

      2           A.   Hello.

      3           Q.   Can you please state your name for the record.

      4           A.   My name is Chris Buttram.

      5           Q.   Now, tell us what your job title was in 2008,

      6    October of 2008 for TVA.

      7           A.   In October of 2008 my job title at that time

      8    was a Senior Civil Engineer in the Fossil Power

      9    Engineering Group.

     10           Q.   And let's by way of background let's talk just

     11    a little bit about your education and your background.

     12    If you would just walk us through your educational

     13    background, please, Mr. Buttram.

     14           A.   Yes, sir, I graduated from Tennessee Tech in

     15    December of '99 with a BS in civil engineering.               After I

     16    graduated from Tennessee Tech I began working at Mesa

     17    Associates which is a consulting engineering firm.                My

     18    roles there were developing and designing grading plans,

     19    site plans, layout plans, erosion plans for substation

     20    or substation expansions.         I did some structural

     21    engineering work and foundation design.

     22                I worked at Mesa until August of 2005 and then

     23    I went to Thompson Engineering.           I worked at Thompson

     24    Engineering approximately two years.            Thompson

     25    Engineering was another consulting engineering firm.


                                             55

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 55 of 192 PageID #:
                                    16928
           September 19, 2011/Buttram/Direct

      1    They did a lot of construction and engineering and

      2    inspection.     I just was an associate engineer there,

      3    kind of watching what the inspectors did and everything.

      4                In that time between Mesa and Thompson I

      5    acquired my Professional Engineering License in 2004.                  I

      6    also acquired my MBA at the University of Tennessee,

      7    Chattanooga.

      8                After leaving Thompson Engineering I went and

      9    worked for Stantec which is also Neill & Gunter.                I

     10    worked there for about a year and then joined TVA in the

     11    year of 2008, approximately June of 2008.

     12           Q.   Mr. Buttram, you went to work for the TVA in

     13    the summer of 2008, is that right?

     14           A.   Yes, sir, that's correct.

     15           Q.   You remember what month you started?

     16           A.   It was toward the end of June.

     17           Q.   Now, in October of 2008 you did some work in

     18    Kingston, didn't you?

     19           A.   Yes, sir.      That was the time of my inspection.

     20           Q.   And I believe you performed or you

     21    participated in performing a stability inspection there?

     22           A.   It was a visual inspection.

     23           Q.   Did you participate in performing at Annual

     24    Ash Pond Dike Stability Inspection of the Kingston

     25    facility in 2008?


                                             56

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 56 of 192 PageID #:
                                    16929
           September 19, 2011/Buttram/Direct

      1           A.    That was the title given to the inspection.

      2    The inspection was actually a visual inspection of

      3    observing the features out there.           No stability analysis

      4    was done for this type of inspection.

      5           Q.    We can agree that although the document you

      6    did was entitled the Annual Ash Pond Dike Stability

      7    Inspection, you didn't do a true stability inspection

      8    did you?

      9           A.    That's correct, sir.

     10           Q.    Now, did you see before you went out there to

     11    do your stability inspection any TVA rules or

     12    regulations?

     13           A.    I was not given any rules or regulations on

     14    these inspections.       It was a considered to have an

     15    on-the-job type training for the inspection.

     16           Q.    All right.     We'll get into that in just a

     17    minute.     I am just talking about rules and regulations.

     18    I want to show you, if I may, I would like to present

     19    the witness with Plaintiff's Trial Exhibit 538 entitled

     20    TVA Division of Engineering Design, Engineering

     21    Procedure.     Do you have that in front of you?

     22                      (Exhibit No. D-538 was marked for

     23                      identification.)

     24           A.    Yes, sir, I do.

     25           Q.    Have you ever seen the document that is in


                                             57

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 57 of 192 PageID #:
                                    16930
           September 19, 2011/Buttram/Direct

      1    front of you before?

      2            A.   I had not seen this document at the time of

      3    the inspection.      Since then I have come to see it.

      4            Q.   All right.     Let's cover a couple of things.

      5    The inspection took place in October of 2008, right?

      6            A.   Yes, sir.

      7            Q.   And you hadn't seen Exhibit 538 at that time,

      8    right?

      9            A.   I had not seen this document at that time.

     10            Q.   You wrote your inspection up I believe

     11    sometime after that after the coal ash disaster occurred

     12    on December 22nd, 2008.         At some point after that you

     13    wrote your stability report up, right?

     14            A.   Yes, sir.

     15            Q.   And at that time you wrote your stability

     16    report up, had you seen Exhibit 538?

     17            A.   I had not seen this document at the time I

     18    wrote the report.

     19            Q.   Now, you remember you have actually given two

     20    depositions in this case.         As a matter of fact, that's

     21    where I first met you and reacquainted myself during the

     22    course of your depositions.            At those times had you seen

     23    this engineering procedure?

     24            A.   I do not recall having seen these at that

     25    time.


                                             58

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 58 of 192 PageID #:
                                    16931
           September 19, 2011/Buttram/Direct

      1           Q.    I believe your testimony, if I got it right,

      2    was that you heard a reference to them, but you had

      3    never seen them, these procedures?

      4           A.    Yes, sir, that would be my recollection.

      5           Q.    If you would, can you tell the Court when was

      6    the first time you saw these engineering procedures.

      7           A.    The first time that I would have seen these

      8    procedures would have been I guess a couple of weeks

      9    ago.

     10           Q.    And I don't want to get into any

     11    attorney/client privilege matters.            Was that in your

     12    preparation to be here in court today?

     13           A.    Yes, sir, that was in preparation.

     14           Q.    If you would, turn to the third page of the

     15    document, please, sir.        Are you there with me?

     16           A.    Yes, sir, I am there.

     17           Q.    Paragraph 1.0, Purpose and Scope.           This it

     18    says "EP."     What does EP mean?

     19           A.    I believe that stands for engineering

     20    procedure.

     21           Q.    It describes "responsibilities of EN DES."

     22    What does that mean?

     23           A.    To my knowledge that would be Engineering

     24    Design.

     25           Q.    "Division of Power Production.          For the


                                             59

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 59 of 192 PageID #:
                                    16932
           September 19, 2011/Buttram/Direct

      1    inspection and maintenance of ash disposal areas and

      2    coal fired power plants."         Did I read that right?         We

      3    all know that Kingston is a coal fired power plant,

      4    right?

      5           A.   Yes, sir.

      6           Q.   Do these procedures since they have come to

      7    your attention now, do you know whether or not they

      8    would have applied to your inspection that you conducted

      9    in October?

     10                      MR. MARQUAND:        Object to speculation, Your

     11    Honor.

     12                      MR. FRIEDMAN:        I haven't even got the

     13    question out.      Let me see if I can rephrase that.

     14                      THE COURT:      Thank you.

     15    BY MR. FRIEDMAN:

     16           Q.   Do you know, Mr. Buttram, whether or not these

     17    policies and procedures applied to your inspection that

     18    you performed at Kingston in 2008?

     19           A.   After learning about this and reviewing it it

     20    looks as if we had been following fairly close to what

     21    these inspections apply.

     22           Q.   Listen to my question, Mr. Buttram.             Do you

     23    know if they applied?        Did you even know if they applied

     24    at the time you did the inspection?

     25           A.   At the time -- as I have stated, at the time


                                             60

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 60 of 192 PageID #:
                                    16933
           September 19, 2011/Buttram/Direct

      1    of the inspection I didn't know of these, of this

      2    document.     No, I wouldn't have known that it applied.

      3           Q.    Right.    Sitting here today do you know or do

      4    you have or have you heard that these policies would

      5    have applied back then, had you known about it?

      6                      MR. MARQUAND:        Object to hearsay.

      7                      THE COURT:      That is probably a valid

      8    objection to part of your question.            I will sustain the

      9    objection.

     10    BY MR. FRIEDMAN:

     11           Q.    Do you know whether this policy applied based

     12    on your personal knowledge, on what you have learned?

     13           A.    I'm just trying to understand your question.

     14           Q.    Sitting here today, as you sit here today,

     15    have you learned that these are the policies that

     16    applied to the annual inspections?

     17           A.    No, sir, I do not believe that I knew that

     18    these applied to the annual inspections at that time.

     19           Q.    You didn't know at that time.          Do you know

     20    that now, that they applied?

     21           A.    No, sir, these do not at this time apply to

     22    our annual inspections.

     23           Q.    So your annual inspection procedures have

     24    changed since December of 2008, is that what you are

     25    telling me?


                                             61

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 61 of 192 PageID #:
                                    16934
           September 19, 2011/Buttram/Direct

      1            A.   Yes, since 2008 our procedures have changed.

      2    We have developed -- not knowing of these procedures, we

      3    have developed new ones to follow.

      4            Q.   Following the disaster you all developed new

      5    procedures, right?       Is that what you are telling me?

      6            A.   Yes, sir.

      7            Q.   Okay.   As far as the old procedures, this

      8    exhibit you have in your hand, 538, do you know that

      9    this, I know you didn't know about it at the time.                Have

     10    you since learned these were the procedures that were in

     11    effect at the time of your inspection in October of

     12    2008?

     13            A.   No, sir, I didn't know, I can't say that I

     14    know these were in effect at that time.

     15            Q.   Go to paragraph 6.0.        Would you read that into

     16    the record, please.

     17            A.   "Inspections by P production plant operating

     18    personnel.     Since visits by EN DES representatives are

     19    necessarily infrequent, reliance is placed on plant

     20    operating personnel who regularly work around the ash

     21    disposal areas to call attention to abnormal conditions.

     22    Regularly scheduled inspections will be made by plant

     23    operating personnel, as outlined in Section 8.0.                Any

     24    abnormal conditions will be reported to EN DES

     25    immediately."


                                             62

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 62 of 192 PageID #:
                                    16935
           September 19, 2011/Buttram/Direct

      1           Q.   If you back up to 3.0 or 4.0, "scheduling

      2    inspections.     To coordinate the annual joint inspections

      3    EN DES and P PRO will exchange proposed inspection

      4    schedule around the first of August each year, with

      5    revised schedule to follow."           Did I read that correctly?

      6           A.   Yes, sir.

      7           Q.   Did you ever, in looking back turn the page --

      8    you see detailed instructions on pages 2, 3, 4, 5, and

      9    6.   Had anyone ever gone over, I know you had never seen

     10    these procedures, but had anyone ever gone over before

     11    your inspection in substance the procedures that are

     12    outlined in Exhibit 538 with you?

     13           A.   No, sir.     This exact procedure wasn't given in

     14    detail, but on the write-up there before it was

     15    discussed the procedure we would follow.

     16           Q.   Let's talk about the procedure that you

     17    followed there.      The inspection in October of 2008 was

     18    your very first one?

     19           A.   Yes, sir.

     20           Q.   You had never had any similar inspections

     21    before that one?

     22           A.   No, sir, no similar inspections for these type

     23    of facilities, yes.

     24           Q.   You had never had any prior knowledge of any

     25    type concerning ways to go about doing the inspection,


                                             63

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 63 of 192 PageID #:
                                    16936
           September 19, 2011/Buttram/Direct

      1    right?

      2           A.   I had my background knowledge in engineering.

      3    I had several training courses in erosion.              I knew how

      4    to inspect or to look for erosion type things.                  I didn't

      5    have any prior knowledge of this facility or how TVA in

      6    general did their inspection.

      7           Q.   You didn't have any discussion with anyone at

      8    TVA on how the inspection would be done, did you?

      9           A.   Well, I rode up with Jamey Dotson.             We

     10    discussed how the inspection would go.             When we met with

     11    John Albright before we started the inspection, we

     12    talked about what we would do and how we would handle

     13    the inspection.

     14           Q.   Did they ever give you any criteria or

     15    standards about how the inspection would be conducted?

     16           A.   No written standards.

     17           Q.   Did they ever explain any rules or regulations

     18    that applied?

     19           A.   They didn't mention any written rules or any

     20    regulations.

     21           Q.   At the time you went up there, did you know

     22    what an ash pond was?

     23           A.   I had heard of them.         I didn't know, I hadn't

     24    ever seen one.      I couldn't place a picture with what I

     25    heard about them.


                                             64

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 64 of 192 PageID #:
                                    16937
           September 19, 2011/Buttram/Direct

      1           Q.   The day before did you know what you were

      2    going to be doing?

      3           A.   No, sir, the day before I didn't know exactly

      4    what would be completely done on the inspection.

      5           Q.   Is it your testimony that you rode up from

      6    Chattanooga on the morning of the inspection with one of

      7    the people who accompanied you on the inspection?

      8           A.   I rode up from Chattanooga on the morning of

      9    the inspection.

     10           Q.   With who?

     11           A.   Jamey Dotson, and met John Albright at the

     12    plant.

     13           Q.   Didn't you tell us that you met Mr. Dotson at

     14    Kingston?

     15           A.   No, sir.     I do not believe I did.         I met

     16    Mr. Albright.

     17           Q.   All right.      Okay.      Did Mr. Dotson come in his

     18    own car and leave ahead of you?

     19           A.   Mr. Dotson did leave the inspection after we

     20    inspected the dredge cells and ash disposal facilities,

     21    Mr. Dotson went on to do some of his other work.                I rode

     22    back with Mr. Albright.

     23           Q.   You caught another ride back?

     24           A.   Yes, sir.

     25           Q.   That's what I misunderstood.           So you rode up


                                             65

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 65 of 192 PageID #:
                                    16938
           September 19, 2011/Buttram/Direct

      1    from Chattanooga with Mr. Dotson and you rode back with

      2    Mr. Albright?

      3           A.   That's correct.

      4           Q.   Dotson left the inspection process early

      5    because he had some other work to do, is that right?

      6           A.   Not necessarily early.         He inspected the areas

      7    he wanted to inspect with us.          When we went to the other

      8    facilities that he wasn't going to be involved with, at

      9    that time, yes, he left.

     10           Q.   He didn't need to be there?

     11           A.   Yes.

     12           Q.   You are aware from your other work in

     13    engineering what "best practices" are aren't you?

     14           A.   Yes, sir.

     15           Q.   Tell the Court what best practices are.

     16           A.   Best practices would just be to use the

     17    standards and research that may have been done before

     18    the function or design that you are working on to make

     19    sure that you have developed or given your, used the

     20    best knowledge to your, you know, to develop that

     21    design.

     22           Q.   Did you follow best practices in the

     23    inspection that went on out there in October of 2008?

     24           A.   Yes.    To my knowledge, we used the best

     25    practices that were known for a visual inspection for


                                             66

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 66 of 192 PageID #:
                                    16939
           September 19, 2011/Buttram/Direct

      1    that type of facility.

      2           Q.    How do you know that you used the best

      3    practices, if you don't know any practices that applied

      4    out there?

      5           A.    I was with Mr. Albright who had done several

      6    of these inspections, Mr. Dotson who had done some of

      7    these inspections.       I was relying on their knowledge to

      8    help me understand what was going on, plus all my prior

      9    experience that I had maybe not necessarily for these

     10    type of facilities, but the experience I had learned

     11    that I had gained from my engineering work and from

     12    training that would help me to inspect visually these

     13    facilities.

     14           Q.    Let's talk about that just a minute.            You had

     15    not inspected a dike for TVA or anyone else before that

     16    October 20th date of 2008, correct?

     17           A.    Yes, sir.

     18           Q.    You had no training on embankment stability

     19    had you?

     20           A.    I wasn't out there to check for stability.

     21           Q.    I am not trying to argue with you.            Just

     22    listen to my question.        You had no training on

     23    embankment stability had you?

     24           A.    I had no training on embankment stability, but

     25    I don't get the reference for that question because we


                                             67

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 67 of 192 PageID #:
                                    16940
           September 19, 2011/Buttram/Direct

      1    were visually observing which you would be observing for

      2    erosion and I could, you know, based on my engineering

      3    knowledge I know if erosion is severe enough that it

      4    can --

      5           Q.    Fair enough.     You didn't have any training on

      6    embankment stability, but you didn't think you needed

      7    any, is that what you are telling me?

      8           A.    Not for this visual inspection.

      9           Q.    You had no training on dike stability either,

     10    did you?

     11           A.    No, sir.

     12           Q.    You didn't have any training on how to conduct

     13    an embankment inspection, did you?            Other than what you

     14    were orally told as you walked around.             You had no

     15    pretraining?

     16           A.    That is why I was there, to get my training

     17    from the people that were with me.

     18           Q.    Mr. Buttram, did you tell the Office of

     19    Inspector General that you were the lead engineer on

     20    this inspection?

     21           A.    No, sir, I do not recall that.

     22           Q.    If you told them that, that would be

     23    incorrect?     Is that right?

     24           A.    Yes, sir.

     25           Q.    Let me show you then the reference that I


                                             68

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 68 of 192 PageID #:
                                    16941
           September 19, 2011/Buttram/Direct

      1    would like to ask you about.           If you would, this is for

      2    impeachment purposes, pull up Exhibit 4559.              I want you

      3    to go to the second paragraph.           The first sentence --

      4                 I guess I want to identify this first for the

      5    record.     It has your name there, James Chris Buttram,

      6    Civil Engineering, Tennessee Valley Authority.               Do you

      7    remember giving a statement to investigators Joseph Bohr

      8    and Chris Allen on July 8th, 2009 at the Inspectors

      9    General's Office.        Do you remember giving them a

     10    statement, sir?

     11                      (Exhibit No. P-4559 was marked for

     12                      identification.)

     13           A.    I remember having an interview with them, yes.

     14           Q.    And they asked you questions, right?

     15           A.    They did ask questions.

     16           Q.    And you gave answers?

     17           A.    That is correct.

     18           Q.    You tried your best to give them truthful

     19    answers?

     20           A.    Yes, sir.

     21           Q.    And you, as a matter of fact, you were told

     22    before you were interviewed that this was part of an

     23    inspection they were doing on the coal ash disaster that

     24    occurred on December 22nd, 2008, right?

     25           A.    Yes, sir.


                                             69

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 69 of 192 PageID #:
                                    16942
           September 19, 2011/Buttram/Direct

      1           Q.   And they, did they caution you anything about

      2    your responses and how you were being interviewed by

      3    government agents as a lead in to giving this statement?

      4           A.   I can't recall.

      5           Q.   You knew it was a serious matter though,

      6    didn't you?

      7           A.   Yes, sir, I knew it was serious.

      8           Q.   And if you pull the second full paragraph up.

      9    "TVA hired Buttram in June of 2008."            That's correct,

     10    isn't it?

     11                      MR. MARQUAND:        Objection.    This is

     12    hearsay.    It hasn't been established as a statement.

     13    This is somebody else's notes.

     14                      MR. FRIEDMAN:        I am offering it to refresh

     15    the witness.

     16                      MR. MARQUAND:        I object, Your Honor.

     17    Counsel indicated it was for --

     18                      THE COURT:      Respond to the objection.

     19                      MR. FRIEDMAN:        I am referring, first of

     20    all, to set a predicate to refresh the witness'

     21    recollection.      After establishing a proper predicate, I

     22    may or may not offer it.         At least, we are calling this

     23    witness as an adverse witness.           We have the ability to

     24    either refresh this recollection under the rule or to

     25    use it for impeachment which we would use both methods


                                             70

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 70 of 192 PageID #:
                                    16943
           September 19, 2011/Buttram/Direct

      1    right you, now, Your Honor.

      2                      MR. MARQUAND:         I misunderstood.    I thought

      3    counsel said he was offering it for impeachment.                If he

      4    is offering it to refresh his recollection, there needs

      5    to be some kind of foundation established.

      6                      THE COURT:       I believe there has been some.

      7    I will overrule the objection.

      8    BY MR. FRIEDMAN:

      9           Q.   The second sentence of the second paragraph.

     10    I will read this.       Make sure I get it right.          "He was

     11    the lead engineer for the most recent inspection of the

     12    Kingston Fossil Plant KIF ash containment pond."                Did I

     13    read that correctly?

     14           A.   Yes, sir, you read that correctly.

     15           Q.   Did you tell the Inspector General

     16    investigators that you were the lead engineer for the

     17    most recent inspection?

     18           A.   No, sir, I do not remember telling them that I

     19    was lead inspector for this inspection.

     20           Q.   If you, if they have, if they got that

     21    information it wasn't from you?

     22           A.   No, sir.

     23           Q.   Do you dispute that you were the lead

     24    engineer?

     25           A.   Yes, sir.      I do.


                                              71

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 71 of 192 PageID #:
                                    16944
           September 19, 2011/Buttram/Direct

      1           Q.    Who was the lead engineer?

      2           A.    I don't know who would be the lead engineer.

      3    I was there with Mr. Albright to follow along and learn

      4    how those inspections were done.

      5           Q.    You don't know who the lead engineer on the

      6    inspection was, if it wasn't you?

      7           A.    I would say it would be Mr. Albright.

      8           Q.    All right.     You believe Mr. Albright was the

      9    lead engineer?       Is that right?

     10           A.    Yes, sir.

     11           Q.    But yet Mr. Albright did not author the final

     12    inspection report, did he?

     13           A.    No, sir, he didn't author the report.            That

     14    doesn't necessarily mean that is the lead engineer.

     15           Q.    Okay.    Let me ask you another question about

     16    this document while I have it up.           I want to talk about

     17    what you were trained to do and what you actually did

     18    out there.

     19                 Now, at the time you were out there you have

     20    already told us you had no knowledge of any written

     21    standards, right?

     22           A.    Yes, sir.

     23           Q.    And you never read any TVA rules or

     24    regulations for conducting a comprehensive Annual Ash

     25    Pond Dike Stability Inspection?


                                             72

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 72 of 192 PageID #:
                                    16945
           September 19, 2011/Buttram/Direct

      1           A.    Yes, sir, at that time I had not.

      2           Q.    Did anyone tell you while you were out there

      3    that the title of the inspection that you were

      4    performing, the Annual Ash Pond Dike Stability

      5    Inspection was wrong?        You said this title of the

      6    inspection is a misnomer or is incorrect.              When did you

      7    first learn that?

      8           A.    That would have been sometime after the

      9    writing of the report.

     10           Q.    So when you wrote the report you thought you

     11    were writing an Annual Ash Pond Dike Stability Annual

     12    Inspection Report, right?

     13           A.    I knew I was writing a report on the

     14    inspection.     I didn't really reference to the title of

     15    it.

     16           Q.    Your name is right on the front page.

     17           A.    That's just the title it had always been

     18    given.

     19           Q.    So you ignored the title?

     20           A.    Not necessarily I ignored it.          That's the

     21    title that it had been given prior.            I was following --

     22    I had no need to ask why it would need to be changed at

     23    that time.

     24           Q.    Very good.     The only document you had been

     25    given for this annual inspection you provided at the


                                             73

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 73 of 192 PageID #:
                                    16946
           September 19, 2011/Buttram/Direct

      1    time you got there, right?

      2            A.   I can't remember if it was provided at the

      3    time.    I believe I printed it off and had it myself.

      4            Q.   Did you review it beforehand?

      5            A.   I looked at it on the way up, on that day on

      6    the way up to the fossil plant.

      7            Q.   Now, let me go through a couple of

      8    housekeeping things, if I may, with you very quickly.

      9    On the day you were out there I believe that yourself as

     10    well as Mr. Dotson took pictures, correct?

     11            A.   Yes, sir.

     12            Q.   And correct me, if I am wrong.          Didn't

     13    Mr. Albright take some pictures as well?

     14            A.   He might have taken a couple.

     15            Q.   At the time the inspection was going on on

     16    that day on October 20th, Mr. Dotson also had a GPS,

     17    right?

     18            A.   Yes, sir, he had a hand-held GPS.

     19            Q.   A hand-held GPS.       That GPS, if I understand

     20    what you told us in the deposition, is that it was a GPS

     21    where he could enter way points or positions and put a

     22    short description with those, correct?

     23            A.   That's correct.

     24            Q.   And following the inspection you were provided

     25    with Mr. Dotson's way points or GPS information,


                                             74

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 74 of 192 PageID #:
                                    16947
           September 19, 2011/Buttram/Direct

      1    correct?

      2            A.   Yes, sir.

      3            Q.   And all three sets of photographs.

      4            A.   There were two sets of photographs.            There was

      5    one camera used between Mr. Albright and myself.

      6    Mr. Dotson had a camera.

      7            Q.   Thank you for clearing that up.           There are

      8    three people taking pictures, but only two cameras being

      9    used?

     10            A.   That is correct.

     11            Q.   I want to ask you to go to Plaintiff's

     12    Exhibits 189, 6044, 6045 and 6043 and I want you, if you

     13    would, to identify those documents and we'll offer those

     14    as soon as we have identified them.            Exhibit 189 is in

     15    front of the there and should be one of the first one

     16    following 538.      It's a document and e-mail from Jamey

     17    Dotson to you dated Monday, October 27th, 2008.

     18                      (Exhibit Nos. P-189, 6044, 6045

     19                      and 6043 were marked for

     20                      identification.)

     21            A.   189, correct?

     22            Q.   Yes, 189.     Are those the way points and

     23    descriptions that Mr. Dotson sent to you following the

     24    inspection?

     25            A.   Yes, sir, these are the way points that


                                             75

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 75 of 192 PageID #:
                                    16948
           September 19, 2011/Buttram/Direct

      1    Mr. Dotson sent to me following the inspection.

      2           Q.   One week after the inspection, according to

      3    the date of 189.

      4                Then we have the three sets of photographs.                 I

      5    will tell you, for the record, 6044 has 20 pictures.

      6    They have time and date stamps on them.             I believe that

      7    from your prior testimony that these date stamped

      8    pictures are those pictures taken by Mr. Dotson.                Can

      9    you identify those, 6044?         There is 20 pages and some of

     10    the pages have multiple pictures.           I believe those were

     11    introduced in your deposition.

     12           A.   Yes, sir, these would be photographs taken

     13    from Mr. Dotson's camera.

     14           Q.   6045 is a document that has additional

     15    pictures with it.       I believe they may be mixed with some

     16    of yours, but for the sake of making sure we have all of

     17    the pictures that you took out there that day, we offer

     18    6045, a 23 page document with some multiple pictures on

     19    each page based on the way they were produced to us.                   Do

     20    you recognize those, Mr. Dotson (sic)?

     21           A.   I see the ones taken by Mr. Dotson.             I don't

     22    see the ones that would have been taken from the camera

     23    that I had.

     24           Q.   Those might be in 6043.         Those do not have

     25    time stamps on the pictures.


                                             76

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 76 of 192 PageID #:
                                    16949
           September 19, 2011/Buttram/Direct

      1                      THE COURT:      Let me clarify what you are

      2    seeking to introduce; 6043, 6044 and 6045 and the e-mail

      3    document -- what was the number of that one, again?

      4                      MR. FRIEDMAN:        189.

      5                      THE COURT:      Are you asking to introduce

      6    that one as well at this time?

      7                      MR. FRIEDMAN:        Yes, Your Honor.

      8                      THE COURT:      List the numbers gain.        Is

      9    there any objection to those documents by TVA?

     10                      MR. MARQUAND:        No objection to 189.       We

     11    have not had an opportunity to review 6043, 44 and or

     12    45.     We were notified this morning of the Plaintiff's

     13    Exhibit numbers.       If the witness says those are the

     14    pictures taken that day, we don't object.

     15                      THE COURT:      We'll let Mr. Buttram review

     16    them.

     17                      MR. FRIEDMAN:        They are all deposition

     18    exhibits.

     19                      THE COURT:      Once he has reviewed them --

     20    let's see if he can identify them.

     21                      THE WITNESS:         6043 has two sets, the

     22    pictures that would have been taken by Mr. Albright or

     23    myself and then photos from Mr. Dotson's camera as well.

     24                      MR. FRIEDMAN:        We offer, at this time we

     25    also offer the policies and procedures that I questioned


                                             77

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 77 of 192 PageID #:
                                    16950
           September 19, 2011/Buttram/Direct

      1    the witness on, Plaintiff's Exhibit 538.

      2                      THE COURT:      Mr. Buttram, can you identify

      3    the pictures in 6044 and 6045 as well, as pictures taken

      4    by you or others during the inspection?

      5                      THE WITNESS:         Yes, Your Honor.    These were

      6    photos taken by Mr. Dotson in 6044.

      7                      THE COURT:      Thank you.     The Court will

      8    introduce or admit into evidence plaintiff's 6043, 6044

      9    and 6045.     Any objection to plaintiff's 538, which are

     10    the engineering procedures discussed earlier?

     11                      MR. MARQUAND:        No objection.

     12                      THE COURT:      The Court will also admit

     13    plaintiff's 538 and plaintiff's 189.            I may have already

     14    said that.

     15                      (Exhibit Nos. P-189, 6044, 6045,

     16                      6043, 538 were received in

     17                      evidence.)

     18    BY MR. FRIEDMAN:

     19           Q.    Let's see if we can agree on some terms as we

     20    discuss what happened out there at the time of the

     21    inspection.     You had printed off an old report that was

     22    the report from 2008, the Annual Ash Pond Dike Stability

     23    Inspection Report, right?

     24           A.    Yes, sir.

     25           Q.    And you had that on the drive up from


                                             78

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 78 of 192 PageID #:
                                    16951
           September 19, 2011/Buttram/Direct

      1    Chattanooga to Kingston and you believe you read over

      2    it, is that right?

      3           A.   Yes, sir, that's correct.

      4           Q.   And you used that old report to make notes on,

      5    right?

      6           A.   Yes, sir.

      7           Q.   After you all started your walk around the

      8    facility.     Would that be correct?

      9           A.   Yes, sir, that's correct.

     10           Q.   And did you discuss any geotechnical terms

     11    either before or during the inspection?

     12           A.   We didn't discuss the meanings of any

     13    geotechnical terms during the inspection.

     14           Q.   Any geotechnical terms that you used, you had

     15    your own idea of what those meant?

     16           A.   Yes, sir, I had the idea of what I thought

     17    they meant and also if they were used by Mr. Dotson or

     18    Mr. Albright, after we would discuss certain areas that

     19    we were looking at.

     20           Q.   For example, we have talked about here in

     21    opening statements the term "seep."            Seep, tell the

     22    Court what your understanding of seep was at the time

     23    you were out there.

     24           A.   At the time I was out there my understanding

     25    was that seep was just where water has moved through the


                                             79

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 79 of 192 PageID #:
                                    16952
           September 19, 2011/Buttram/Direct

      1    material that is within the impoundment and then travels

      2    in through the dike and may exit out either at the toe

      3    or mid slope of the dike.

      4           Q.    Did you have an understanding of what a "wet

      5    spot" was, as it related to the dikes?

      6           A.    At that time I didn't have a full

      7    understanding of what a wet spot was.            I knew that that

      8    was just the general description to be given for an area

      9    that was wet.      There was no flowing water.

     10           Q.    Do you know whether or not a wet spot was

     11    something to be concerned about?

     12           A.    I knew that we would -- if we noticed a wet

     13    spot, we would mark it down, but then we would also

     14    notify others there at the plant so they could continue

     15    to monitor it to see if it either disappeared, dried up

     16    or was to get larger.        That way they could notify us in

     17    that case.

     18           Q.    At the time of your inspection you didn't know

     19    the difference between a seep and a wet spot, if there

     20    was any difference, did you?           Did you, sir?

     21           A.    At the time of the inspection I would say, no.

     22    During the inspection discussing with Mr. Albright and

     23    Mr. Dotson, I would have discovered what the differences

     24    would have been.

     25           Q.    I want to show you page 104 of your


                                             80

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 80 of 192 PageID #:
                                    16953
           September 19, 2011/Buttram/Direct

      1    deposition.       You should have your deposition right

      2    there.       I want to show you I asked you a question.           --

      3    first of all I asked, I want to ask you this.               Do you

      4    know what a permit violation would be as you, at the

      5    time you inspected those dikes -- do you know if you saw

      6    something that would have been a violation of TVA's

      7    permits or any rules and regulations?

      8            A.     At that time I wouldn't have known what exact

      9    permit violations would be.

     10            Q.     All right.    So you gave us a definition of a

     11    seep.    Then I asked you.       "Do you know what the

     12    difference is between a wet spot and a seep?"               There at

     13    line 22.       Would you read your answer to the Court.

     14                       MR. MARQUAND:       Objection.    This isn't

     15    proper impeachment.         He hasn't asked him the question.

     16    I don't understand.         It isn't inconsistent.       It's not

     17    impeachment.       Why are we reading the deposition?

     18                       MR. FRIEDMAN:       I asked his witness if he

     19    knew the difference between a wet spot and a seep.                He

     20    said an answer that was equivocal.            In his deposition he

     21    clearly said he didn't know the difference.              I was just

     22    trying to --

     23                       THE COURT:     I will allow you to ask on

     24    this point with that explanation.           You might move the

     25    page up a little bit on the screen.            The question is


                                             81

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 81 of 192 PageID #:
                                    16954
           September 19, 2011/Buttram/Direct

      1    simply do you recall giving his answer at your

      2    deposition?

      3                      THE WITNESS:         Yes, sir, I recall giving

      4    this answer.

      5    BY MR. FRIEDMAN:

      6            Q.   So you don't know the difference or you didn't

      7    know at the time of the inspection the difference

      8    between a wet spot and a seep, did you?

      9            A.   I said I didn't know at time of the inspection

     10    -- that I didn't know the difference between, but I had

     11    Mr. Albright there to help explain so I would learn the

     12    difference.

     13            Q.   Are you telling us he explained it to you?

     14            A.   We had discussions, yes, sir.

     15            Q.   You are saying he explained the difference

     16    between a wet spot and a seep, sir?            At your deposition

     17    you said you didn't know.

     18            A.   Yes, sir, I said I didn't know.           It doesn't go

     19    any further than that.

     20            Q.   I am not trying to parse words with you.             If

     21    you didn't know at your deposition, your deposition was

     22    taken in June of 2009.        You didn't know at the time of

     23    your deposition the difference between a wet spot and a

     24    seep.    Based on the natural order of things, you

     25    wouldn't have known in October 2008 either, would you?


                                             82

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 82 of 192 PageID #:
                                    16955
           September 19, 2011/Buttram/Direct

      1           A.    Yes, sir, at the time of the inspection I did

      2    not know the difference between the wet spot and seep.

      3           Q.    And didn't know if that was important or not,

      4    did you?

      5           A.    Before the inspection I wouldn't have known if

      6    it was important, yes, sir, but I had Mr. Albright there

      7    to help me understand.

      8           Q.    Did he tell you it was important?

      9           A.    Yes, sir, as part of the training we would

     10    discuss and collaborate, as we would see things.

     11           Q.    Did he tell you a seep was important?

     12           A.    I can't recall if he exactly said a seep was

     13    important.     Yes, that is something we would mark down to

     14    notify that it was there so we could monitor it and have

     15    plant personnel notify them so they could continually

     16    monitor it.

     17           Q.    Have you ever heard the term before the

     18    inspection of a "slough" before?

     19           A.    No, sir, I can't say that I heard the term

     20    "slough" before the inspection.

     21           Q.    Now, just to make sure we are on the same page

     22    because at times the word is written differently on the

     23    reports.     I believe you handwrote it once using the

     24    spellings s-l-u-f-f, but isn't it is also spelled

     25    s-l-o-u-g-h.


                                             83

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 83 of 192 PageID #:
                                    16956
           September 19, 2011/Buttram/Direct

      1           A.   I have seen it spelled both ways.

      2           Q.   Either spelling you and I are communicating

      3    talking about the same thing, right?            Whether you spell

      4    it your way or another.         Either one of those two ways we

      5    are talking about the same thing, right?

      6           A.   In terms of the word, yes, sir.

      7           Q.   Now, let's go on.          Now we tried to the spell

      8    the word a couple of different ways.            Let's talk about

      9    what it means.      What is a slough?

     10           A.   I have heard the term "slough" used in many

     11    different ways.      I believe it's based on the opinion of

     12    the person using it.

     13           Q.   How would you use it?

     14           A.   I would use the term slough just as in general

     15    cases of erosion, if you had an erosion gully or

     16    something, your sides could be sloughing off into the

     17    erosion gully.      You might have a small area of topsoil

     18    or something that had not had any vegetation on it yet

     19    and it had sloughed off a little bit.

     20           Q.   Does slough, was slough explained to you at

     21    the time of the inspection as an area of material moving

     22    out and downward from the dike?

     23           A.   I can't recall exactly at that time what it

     24    was explained to me as.

     25           Q.   What is your understanding of what a slough is


                                             84

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 84 of 192 PageID #:
                                    16957
           September 19, 2011/Buttram/Direct

      1    then?    What did you understand it to be, when you were

      2    out there?

      3            A.   Just as I explained it.        I would have seen

      4    that the erosion areas that we had seen that some of the

      5    sides were sloughing off.         This would have come from

      6    discussion with Mr. Albright and Mr. Dotson.              I would

      7    have just picked up on the terms they were using at that

      8    time.

      9            Q.   Were you told that slough was something that

     10    was important to note in an inspection?

     11            A.   I can't recall if it was exactly explained

     12    that it was important to note, but we would have noted,

     13    yes, that if we had seen an area that was sloughed off

     14    that it would need some maintenance repair to it.

     15            Q.   During the time of your inspection were the

     16    terms "seep, wet spot, slough" ever associated or

     17    explained to you as being potentially related to dike

     18    failure?

     19            A.   No, sir.    They were never explained in that

     20    way.

     21            Q.   Going back to Exhibit 189 that was provided to

     22    you after the inspection by Mr. Albright, if you will

     23    turn to the third page of Mr. Dotson's GPS points that

     24    he gave to you.      I believe your testimony, and prior you

     25    explained that the way points 20 through 30 pertain to


                                             85

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 85 of 192 PageID #:
                                    16958
           September 19, 2011/Buttram/Direct

      1    the GPS points that Mr. Dotson marked on October 20th,

      2    2008, the time of your all's inspection out there.                Do

      3    you remember that?

      4            A.   Looking at the third page it is hard to tell

      5    in reference to which numbers since the row numbers

      6    don't match with the exact way point number that can be

      7    seen on sheet 2.       I think they are off by one.

      8            Q.   So, some --

      9            A.   Yes, way point numbers 20 through 30 would be

     10    the numbers, but looking at Sheet 3 you can't use

     11    numbers 20 through 30 there.

     12            Q.   I am not going to try to get into reconciling

     13    way points or GPS points right now.            Looking only on

     14    Page 3 of Exhibit 189, those ten points right there were

     15    points that you know from your personal knowledge that

     16    Mr. Dotson inputted during your October, 2008

     17    inspection, right?

     18            A.   Yes, sir, that's correct.

     19            Q.   And if you would, I want you to go through the

     20    list beginning with 20 and going through 30 and tell the

     21    Court how many times Mr. Dotson mentions the word

     22    "slough."     There is one at 20, there is one at 23, I

     23    believe there is one at 26, and one at 27.              Do you see

     24    that?

     25            A.   Yes, sir, I see that.


                                             86

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 86 of 192 PageID #:
                                    16959
           September 19, 2011/Buttram/Direct

      1           Q.   Did you ever discuss Mr. Dotson's finding of

      2    sloughs, as he reported on his GPS, with him?

      3           A.   I can't recall at that time if that word was

      4    used, as he was entering it into his GPS.

      5           Q.   Did you discuss it with him at that time or

      6    any time?

      7           A.   I can't remember it being discussed at that

      8    time or any time immediately after the discussion, no,

      9    sir.   It has been discussed since between now and then.

     10           Q.   You discussed it with Mr. Dotson?

     11           A.   Just in general discussions, yes, afterwards.

     12           Q.   When is the first time you discussed it with

     13    him?   It was after your report was written, right?

     14           A.   That would probably have been the first time,

     15    yes, sir.     I can't say when.

     16           Q.   It would have been after your report was

     17    written?

     18           A.   Yes, sir.

     19           Q.   Let's see -- I apologize if I am not moving

     20    through this at a faster pace.           This is important.       I

     21    might be a little nervous.         You probably are nervous

     22    too.   Let's see if we can agree on some dates, okay.                  We

     23    know you were out there October 20th, 2008, right?

     24           A.   Yes, sir.

     25           Q.   We know the dike failure was on December 22nd,


                                             87

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 87 of 192 PageID #:
                                    16960
           September 19, 2011/Buttram/Direct

      1    2008, correct?

      2           A.   Yes, sir.

      3           Q.   And we know from the point in time you made

      4    your inspection up to the point of the dike failure you

      5    did not write your report, did you?

      6           A.   Yes, sir, that's correct, the report was

      7    written after the dike failure.

      8           Q.   Now, at the time of the dike failure the

      9    photographs, those exhibits 6044, 6045 and 6043 -- I am

     10    sorry I read those out of order.           It would be 43, 44,

     11    45 -- you had those in your possession or on your

     12    computer?

     13           A.   Yes, sir, they were either on my computer or

     14    on the TVA server.

     15           Q.   Fair enough.      Also you had the way points and

     16    the descriptions from Mr. Dotson that have been

     17    identified and we have talked about Exhibit 189,

     18    correct?

     19           A.   Yes, sir, that's correct.

     20           Q.   Now, nobody kept you from writing your report

     21    up sooner, did they?

     22           A.   No specific person said -- no, that was me

     23    prioritizing the workload that I had at that time.

     24           Q.   Sure.    You prioritized, you never were given a

     25    due date at some point in the future.            You prioritized


                                             88

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 88 of 192 PageID #:
                                    16961
           September 19, 2011/Buttram/Direct

      1    and by December 232nd you just had not gotten around to

      2    it.   Fair enough?

      3           A.   I had begun to write my report before the

      4    failure had happened, or I was prepping.

      5           Q.   Excuse me?

      6           A.   As I stated before, the preparation began the

      7    weekend before the failure.            Then I was to be out of

      8    town on a railroad inspection the next week.              I had

      9    began gathering documents to start the writing of the

     10    report.

     11           Q.   When did you start working on your report?                 I

     12    am confused.

     13           A.   It would have been the Friday before the

     14    failure.

     15           Q.   And you didn't finish?

     16           A.   I said I had been gathering reference

     17    information.     I was pulling together all of the

     18    information that I had at my disposal.

     19           Q.   What information were you pulling together

     20    besides the photographs?

     21           A.   I had the photographs.          I had the way points

     22    that I inputted into and AutoCAD drawing.

     23           Q.   And what else?

     24           A.   That was -- and my notes.

     25           Q.   When we talk about your notes just a minute --


                                             89

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 89 of 192 PageID #:
                                    16962
           September 19, 2011/Buttram/Direct

      1    I don't want to belabor this.          I believe the record will

      2    show that following the coal ash disaster on the 22nd

      3    you couldn't find your notes, could you?             Is that right?

      4           A.   At the time I began to write the report after

      5    the failure, I could not locate my notes.

      6           Q.   And you had your handwritten notes there at

      7    your office in Chattanooga right before the dike

      8    failure?

      9           A.   Before the failure I had the notes in my

     10    cubical.

     11           Q.   Afterwards when you went back to start writing

     12    your report, you couldn't find them?

     13           A.   Yes, sir.      After the failure had happened and

     14    everything it had been asked, people had been asked to

     15    look at, you know, they looked at my notes and

     16    everything.     They had been misplaced.

     17           Q.   At the time you actually wrote your report you

     18    did it without the benefit of your notes, right?

     19           A.   I did it without the benefit of my notes.                  I

     20    had Mr. Albright's notes.

     21           Q.   I am not saying you didn't have any notes.                     I

     22    am saying you didn't have yours, right?

     23           A.   Yes, sir, that's correct.

     24           Q.   And did you make that known to the people

     25    there that you worked with that you didn't have your


                                             90

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 90 of 192 PageID #:
                                    16963
           September 19, 2011/Buttram/Direct

      1    notes, when you were doing the report?

      2            A.   Yes, sir.

      3            Q.   And you relied on other notes from

      4    Mr. Albright and Mr. Dotson, is that right?

      5            A.   Yes, sir, as well as the pictures.

      6            Q.   As well as the pictures.         Okay.    Then, we were

      7    actually, your notes were found I believe sometime in

      8    2009.    I will show you Plaintiff's Exhibit 187, if you

      9    would pull that out.        This is a cover letter I believe

     10    where your notes were forwarded to us.

     11                      (Exhibit No. P-187 was marked for

     12                      identification.)

     13            Q.   Do you have Exhibit 187 there in front of you?

     14            A.   Yes, sir, I do.

     15                      MR. FRIEDMAN:        Offer Plaintiff's Exhibit

     16    187.

     17                      MR. MARQUAND:        No objection, Your Honor.

     18                      THE COURT:      So admitted.

     19                      (Exhibit No. P-187 was received in

     20                      evidence.)

     21    BY MR. FRIEDMAN:

     22            Q.   According to this your notes were found in an

     23    empty cubical, is that right?

     24            A.   It was a cubical that had reference documents.

     25    There was no person sitting in it at that time.


                                             91

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 91 of 192 PageID #:
                                    16964
           September 19, 2011/Buttram/Direct

      1           Q.   Those notes were found sometime around the

      2    December of 2009 time period.           Would that be consistent

      3    with your recollection?

      4           A.   Yes, sir.

      5           Q.   And your actual notes would be Exhibit 188.

      6    Can you identify Exhibit 188 as the actual notes you

      7    made on October 20th, 2008?

      8                      (Exhibit No. P-188 was marked for

      9                      identification.)

     10                      MR. FRIEDMAN:        For the record, Exhibit 188

     11    has a cover sheet dated January 31, 2008.              From

     12    Mr. Barry Kimsey, the manager of Engineering Design

     13    Services and attaches a copy of a preceding year, 2008

     14    stability report.       Do you recognize that?

     15           A.   Yes, sir.

     16           Q.   And do you see your notes, your handwritten

     17    notes on this document that would be there in the last

     18    two or three pages of the document?

     19           A.   Yes, sir, I see my notes on the sketch, and

     20    the sketch it would be the second to the last page of

     21    the document, the third to the last page of this

     22    document.

     23           Q.   And then if you flip to the very last page you

     24    see --

     25           A.   Yes, sir, some other notes on the back of a


                                             92

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 92 of 192 PageID #:
                                    16965
           September 19, 2011/Buttram/Direct

      1    page.

      2            Q.    Since we didn't copy on the back of the page

      3    that is attached -- this is your writing, the notes that

      4    you made at the inspection?

      5            A.    Yes, sir.

      6                      MR. FRIEDMAN:        Offer Plaintiff's 188, Your

      7    Honor.

      8                      MR. MARQUAND:        No objection, Your Honor.

      9                      THE COURT:      Thank you.     So admitted.

     10                      (Exhibit No. P-188 was received in

     11                      evidence.)

     12    BY MR. FRIEDMAN:

     13            Q.    Now, you said on your way to Kingston that you

     14    had a chance to review this report, this stability

     15    report.      I want to ask you a couple of things on the

     16    report to see if these things, if you read them while

     17    you were going up there.         If you look at the -- if you

     18    look at Page 5 of the report.           Are you there with me?

     19            A.    Yes, sir.

     20            Q.    Do you see on Page 5 midway down there is a

     21    paragraph that says, "Since last year's inspection ash

     22    was dredged into Cells 1, 2 and 3 to such levels that

     23    the divider dikes for Cell 3 were buried and now there

     24    are only two large dredge cells, 1 and 2."              Did I read

     25    that right?


                                             93

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 93 of 192 PageID #:
                                    16966
           September 19, 2011/Buttram/Direct

      1           A.   Yes.

      2           Q.   Then it goes on to say, "Dredging was stopped

      3    in mid November of 2007 based on recommendations from

      4    EDS and Geosyntec consultants.            This preventative

      5    measure was taken to reduce water levels in the dredge

      6    cell throughout the winter months in an attempt to avoid

      7    another blowout."       Did I read that correctly?

      8           A.   Yes, sir.

      9           Q.   Was it brought to your attention that the year

     10    before you were up there that dredging was stopped to

     11    avoid another blowout?

     12           A.   I don't recall it being discussed.

     13           Q.   Did you read this written record and did you

     14    know what it meant?

     15           A.   Yes, sir.      As I said, I read over this.          I

     16    can't say that I picked out everything.

     17           Q.   Well, you know what dredging is, don't you?

     18           A.   Yes, sir.

     19           Q.   Did you know it at the time of your inspection

     20    in October of '08?

     21           A.   Yes, sir.

     22           Q.   Tell the Court what dredging is.

     23           A.   Dredging is just a way of undercutting in

     24    water by the use of a pump.            You use water and as you

     25    were cutting underneath in the water the soil or


                                             94

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 94 of 192 PageID #:
                                    16967
           September 19, 2011/Buttram/Direct

      1    whatever to try to get the pond, or it can be used at

      2    varying given places.        Here at the ash pond they would

      3    be trying to lower the bottom level of the ash pond so

      4    it could receive more ash.         It would be done by a boat.

      5    They would pump the ash with water over into the dredge

      6    cell.

      7            Q.   That's a way to put more ash into the dredge

      8    cells or containment cells, correct?

      9            A.   Yes, sir.

     10            Q.   And dredging, when you went out there in

     11    October of 2008, was it ongoing or was it stopped?

     12            A.   Dredging was ongoing at that time.

     13            Q.   Now, at that point in time in the year had it

     14    been raining?      Had it been wet?

     15            A.   I do not recall any rain at this time.             I

     16    can't say that it hadn't been before or after.

     17            Q.   Was there any question in your mind as to why

     18    dredging was going on in the fall of 2008, when it had

     19    been halted in the fall of 2007?

     20            A.   At that time, sir, no, none of this was

     21    discussed.

     22            Q.   It wasn't discussed.        Okay.    You knew what a

     23    "blowout" was, though, didn't you?

     24            A.   I was aware of the blowouts, yes, sir.

     25            Q.   How did you become aware of the blowouts?


                                             95

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 95 of 192 PageID #:
                                    16968
           September 19, 2011/Buttram/Direct

      1            A.   I became aware of the blowouts when I took

      2    over receiving the -- there is some drive-point

      3    piezometers and well points along the west side of

      4    Dredge Cell A.      Around August I took over the monitoring

      5    using the program developed by Geosyntec.              I would

      6    receive the raw data from TVA Environmental Engineering

      7    monthly.     As some background information for why those

      8    drive-point piezometers were there, I had been given

      9    some background information on blowouts.

     10            Q.   Were you told that those well points and that

     11    data that you were inputting beginning in July or August

     12    of 2008 was to help prevent blowouts from occurring?

     13            A.   I knew they were used to monitor the

     14    groundwater level, which before they had made the

     15    repairs and everything the groundwater leveled had risen

     16    up and had caused some piping and the blowouts in that

     17    area.    They were used just to help to monitor the

     18    groundwater level to see if it was still rising in that

     19    area.

     20            Q.   Did you pay attention to groundwater levels,

     21    when you were there in October of 2008?

     22            A.   Yes, sir, we looked at the -- as we were

     23    walking along the west side of the dredge cell, we

     24    looked in the area of the piezometers and everything to

     25    see if they were, if there were any broken at the time


                                             96

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 96 of 192 PageID #:
                                    16969
           September 19, 2011/Buttram/Direct

      1    or -- but as to you can't, you have to have the proper

      2    equipment to actually check the piezometers and

      3    everything.     No, we were not out there to check the

      4    groundwater level itself.

      5           Q.   You did not have the equipment in this

      6    inspection to check groundwater levels, did you?

      7           A.   That was not the purpose of that inspection.

      8    We had somebody that was monthly grabbing the

      9    groundwater data.

     10           Q.   If you wanted to, if you wanted to say we need

     11    to check in this stability inspection we are doing right

     12    now we need to check groundwater levels, you didn't have

     13    what you needed to do it, did you?

     14                      MR. MARQUAND:        Objection.    Asked and

     15    answered.

     16                      THE COURT:      He may have answered.        Did you

     17    have the equipment to do so, if you wanted to?

     18                      THE WITNESS:         No Your Honor, we didn't

     19    have the equipment there because we were not there to do

     20    a stability inspection.         It was just a visual

     21    inspection.

     22                      THE COURT:      Thank you.     Let's go ahead and

     23    stop right here.       We'll take our lunch break.          Why don't

     24    we reconvene at 1:30.

     25                      (Off the record.)


                                             97

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 97 of 192 PageID #:
                                    16970
           September 19, 2011/Buttram/Direct

      1                      (Back on the record.)

      2                      THE COURT:      Thank you.     Good afternoon

      3    everyone.     You may continue Mr. Friedman.

      4                      MR. FRIEDMAN:        May it please the Court.

      5                      Good afternoon, Mr. Buttram.

      6    BY MR. FRIEDMAN:

      7           Q.   We were talking about a number of things.                  To

      8    try to put some context into where we are going to begin

      9    and pick up this afternoon let's go back to that day on

     10    October 20th, 2008, during your inspection.

     11                Now, we have offered and have been admitted

     12    into evidence three stacks of photographs.              I want to

     13    use the exhibit, let's go with Exhibit 6045.              The reason

     14    I am doing that is I will tell you ahead of time is to

     15    set a time sequence for the day.

     16                You all drove up from Chattanooga to Kingston.

     17    We have already talked about that.            When you got there

     18    you all started walking around the dikes, correct?

     19           A.   Yes, sir, that's correct.

     20           Q.   And I know you didn't start using your camera

     21    the minute you opened up the door of your vehicle, but

     22    at some point in close proximity to when you all got

     23    there and started your inspection would you agree that

     24    you started taking pictures?

     25           A.   Yes, sir, that would be correct.


                                             98

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 98 of 192 PageID #:
                                    16971
           September 19, 2011/Buttram/Direct

      1           Q.   All right.      I believe the camera you used did

      2    not have a time stamp on it, but the camera that

      3    Mr. Dotson used did have a time stamp on it, didn't it?

      4           A.   Yes, Mr. Dotson's camera did have a time

      5    stamp.

      6           Q.   I believe you testified previously that you

      7    believe the time stamp on Mr. Dotson's camera was

      8    accurate?

      9           A.   Yes, sir, to my knowledge it was accurate.

     10           Q.   And based on, we went over this in deposition.

     11    I am not making this a trick question.             You correct me

     12    if this is wrong.       Looking at the date stamp, date and

     13    time stamps of the photograph, our first time stamped

     14    photograph at least from Mr. Buttram -- excuse me you

     15    are Mr. Buttram -- from Mr. Dotson's photographs was

     16    around the area of 10:41.         I will tell you these

     17    photographs do not have, they are not in time order.

     18                I believe we have a bate stamp for the time

     19    that is 277787 of Exhibit 6043.           This is a time stamp

     20    from October 20th, 2008.         You can see it on your screen,

     21    sir.

     22           A.   Yes, sir.

     23           Q.   It will save you some time.           I am not going to

     24    begin to ask you here today with your limited time to go

     25    back in and check all of the bate stamp numbers or all


                                             99

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 99 of 192 PageID #:
                                    16972
           September 19, 2011/Buttram/Direct

       1   of the time stamp numbers, but if I represent to you

       2   that was the earliest one that we have been able to put

       3   our hands on from a time stamp, would that be consistent

       4   in your recollection about the time that you started

       5   taking photographs that day?

       6          A.    Yes, sir, to my recollection that would be

       7   around the first time with the first picture.

       8          Q.    Again, I am not doing this to surprise you.                I

       9   believe we went over it in your deposition.               I think the

      10   last photograph of the morning session was, had a time

      11   stamp on it of 11:46.        I think that is represented by

      12   bate stamped number 277821.            If I represented to you

      13   that was the latest date time stamp we have before you

      14   broke for lunch, would you agree, like you agreed with

      15   me in your deposition, that is about the time in the

      16   ordinary of course things about that time you would take

      17   a lunch hour or lunch break?

      18          A.    Yes, sir, I could agree that was near the time

      19   we would have broke for lunch.

      20          Q.    And then did the three of you go to lunch

      21   together; Mr. Albright, Mr. Dotson and yourself?

      22          A.    Yes, sir.

      23          Q.    And did you eat there on site or go off site

      24   or do you remember?

      25          A.    We went off site.


                                            100

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 100 of 192 PageID #:
                                    16973
           September 19, 2011/Buttram/Direct

       1          Q.    And you got back and the first picture we have

       2   from after lunch is around 277821 is the bate stamp

       3   number of the same exhibit.            I think it will show a

       4   military time stamp of 13:28.            I know because you told

       5   me you are familiar with military time.

       6          A.    Yes, sir.

       7          Q.    And if you translate 13:28 to civilian time,

       8   what would that be, about 1:30?

       9          A.    Yes, sir, that would be around 1:30.

      10          Q.    Would that be consistent with around the time

      11   you all started back in after your lunch hour on October

      12   20th, 2008?

      13          A.    From my recollection that would have been

      14   close to the time we returned, yes, sir.

      15          Q.    And the last time that we have is 16:33.              I

      16   believe that is around what, 4:30, 16:33.              Would it be

      17   around 4:30?

      18          A.    Yes, sir, that's correct.

      19          Q.    Would that be about the time that you recall

      20   Mr. Dotson stopping to take pictures?

      21          A.    Yes, sir.

      22          Q.    Now, you continued after Mr. Dotson left to

      23   take a few photographs, if I recall your testimony

      24   correctly.

      25          A.    Yes, sir, Mr. Albright and myself continued to


                                            101

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 101 of 192 PageID #:
                                    16974
           September 19, 2011/Buttram/Direct

       1   inspect some of the other facilities.

       2          Q.    When you all left out there on the 20th -- do

       3   you recall what day of the week that was, by the way?                   I

       4   am not trying to make this a memory test.              I am just

       5   asking.

       6          A.    No, sir, I can't recall which day it was.

       7          Q.    But you all left -- I believe you told me you

       8   all still had daylight at the time you all left?

       9          A.    To the best of my recollection there was some

      10   daylight left, yes, sir.

      11          Q.    And you didn't look at your watch to see what

      12   time you left that day, did you?

      13          A.    I can't recall if I did or not.

      14          Q.    The best evidence though that we have at least

      15   was when Mr. Dotson was out there is from the time stamp

      16   photographs, do you agree?

      17          A.    Yes, sir.

      18          Q.    Did you feel like you had enough time to do

      19   what you needed to do out there?            I guess that was your

      20   first one.     You wouldn't know one way or the other would

      21   you?

      22          A.    Yes, sir, we inspected everywhere.            I felt

      23   like we had given it enough time.

      24          Q.    You didn't feel like they rushed you out of

      25   there, did you?


                                            102

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 102 of 192 PageID #:
                                    16975
           September 19, 2011/Buttram/Direct

       1           A.   No, sir, we walked everywhere.

       2           Q.   I believe you said you walked the entire dike

       3   twice?

       4           A.   We walked the lower area around and then came

       5   back on the upper benches.

       6           Q.   So would that mean you did two circles around

       7   the facility?

       8           A.   For the most part, yes, sir.

       9           Q.   84 acre containment area?          Does that sound

      10   right?

      11           A.   I am not sure exactly the acreage that it was.

      12           Q.   Did you all walk a fairly brisk pace?

      13           A.   We didn't walk together.         We spread out to

      14   cover.

      15           Q.   That is one of the things I wanted to cover.

      16   Mr. Dotson walked ahead of you all, didn't he?

      17           A.   I don't recall him walking ahead of us.             He

      18   was walking apart from us so there would be some

      19   occasions where he would go take pictures of other

      20   places.

      21           Q.   Did you all spread out so you could cover more

      22   area?     Is that what you were doing?

      23           A.   Yes, sir, we spread out so we could instead of

      24   all of us walking in one group we would all walk on a

      25   different bench level.         When somebody would find


                                            103

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 103 of 192 PageID #:
                                    16976
           September 19, 2011/Buttram/Direct

       1   something, we would collaborate and discuss it.

       2          Q.    And you knew that Mr. Dotson took pictures of

       3   things on this own?

       4          A.    Yes, sir.     I was aware of that.

       5          Q.    Now, let me ask you this.          We'll get into the

       6   actual reports and things.          This is a very basic

       7   question.     I want to ask you, did you know at the time

       8   you were doing that inspection whether or not it was

       9   important for anything?

      10          A.    Yes, sir, I was from my prior experience with

      11   certain things that I had gained from experience just

      12   from engineering, my engineering background and other

      13   jobs I have worked at, I was aware of how to spot

      14   certain erosion.       You know, I understand what water

      15   erosion gullies and rills are and that you need

      16   vegetation in areas, you know, to make sure that the

      17   soil doesn't erode.        I was very aware of that.         Then

      18   Mr. Albright and Mr. Dotson before we started the

      19   inspection had given me some basic background on things

      20   to look for.

      21          Q.    So you knew you were going out there to look

      22   for things.      Did you have any idea on whether or not

      23   anybody was going to be depending on you to do that

      24   report that came out of your inspection?

      25          A.    I am not sure I follow that question, sir.


                                            104

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 104 of 192 PageID #:
                                    16977
           September 19, 2011/Buttram/Direct

       1          Q.    I asked you in your deposition do you have any

       2   idea of whether or not there was any importance to what

       3   you were doing out there?

       4          A.    Yes, sir, I knew we needed to visually inspect

       5   these, to write the report to provide to the plants so

       6   any maintenance things that needed to be spotted would

       7   be done or if there was anything that needed to be

       8   monitored, if we found anything that needed to be

       9   monitored, we would locate that.

      10          Q.    Did you have any idea that you were looking

      11   for the potential for signs that the dikes were failing?

      12          A.    I mean, as a visual inspection, I didn't know

      13   that, but I would, you know, that is just something that

      14   I would say goes with the visual inspection.               You would

      15   look for signs of no matter the significance of the

      16   area, you know, whether it was small or bad, you are

      17   going to be looking for those type things.

      18          Q.    And if you found something out there that was

      19   of importance, was it your understanding that you were

      20   to bring that to the attention of the people at the

      21   plant or in maintenance?

      22          A.    Any maintenance type issues we found, yes,

      23   sir, they were placed in the recommendations of the

      24   report.     Having Mr. Dotson along who was the Program

      25   Manager of the Byproducts Disposal, that was his part of


                                            105

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 105 of 192 PageID #:
                                    16978
           September 19, 2011/Buttram/Direct

       1   his job function was that area.           He was there as well.

       2   It would be noted to him and he would know it as well as

       3   what was listed into the inspection report.

       4          Q.    Here is my question.        Did you have any

       5   understanding that you had a responsibility, as an

       6   engineer, if you saw something that had to be addressed

       7   that you had to bring it to the attention of the plant?

       8          A.    Yes, sir, I knew that as we were going along

       9   with the inspection Mr. Albright -- they would, they had

      10   given me the understanding that we weren't just going to

      11   wait until the report was written.            If anything of big

      12   significance was noted, we could discuss it with the

      13   plant.

      14          Q.    And it would be dealt with immediately, if it

      15   was important?

      16          A.    Yes, sir.

      17          Q.    Now, I want to, at this point in time we are

      18   going to offer exhibit, Plaintiff's Exhibit 191, which

      19   is your final Annual Ash Pond Dike Stability Inspection

      20   dated January 12th, 2009, along with four drafts of the

      21   report and the four drafts include Exhibit Numbers 179,

      22   180, 181 and 182, and as we are admitting those can you

      23   please pull your copies out, Mr. Buttram, so you have

      24   them in that folder?

      25                      THE COURT:     Any objection to those


                                            106

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 106 of 192 PageID #:
                                    16979
           September 19, 2011/Buttram/Direct

       1   documents?

       2                      MR. MARQUAND:       I have no objection to the

       3   final report.      Again, we don't have the plaintiff's

       4   exhibits.     We weren't provided copies this morning, the

       5   numbers until this morning.            We have not had a chance to

       6   look at these before, the previous drafts.

       7                      THE COURT:     We'll admit at this point

       8   Plaintiff's 191 and then subject to identification by

       9   this witness at that time we'll introduce the drafts.

      10                      (Exhibit Nos. P-180, 181, 182 were

      11                      marked for identification.)

      12                      (Exhibit No. P-191 was received in

      13                      evidence.)

      14   BY MR. FRIEDMAN:

      15          Q.    Mr. Buttram, would you get out Exhibit 179,

      16   please.     Tell us when you have that in front of you.

      17                      (Exhibit No. P-179 was marked for

      18                      identification.)

      19          A.    Yes, sir, I have it in front of me now.

      20          Q.    All right.     Would you examine this and confirm

      21   for the Court whether or not this is your first draft

      22   that you did of an Annual Ash Pond Dike Stability

      23   Inspection for 2009 that was conducted in October of

      24   2008 and prepared in final copy in January of 2009.                 The

      25   only question I have pending is do you recognize it,


                                            107

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 107 of 192 PageID #:
                                    16980
           September 19, 2011/Buttram/Direct

       1   Mr. Buttram?

       2          A.    Yes, sir, sir, I recognize this as a --

       3                      MR. FRIEDMAN:       Offer Plaintiff's Exhibit

       4   179.

       5                      THE COURT:     So admitted.

       6                      (Exhibit No. P-179 was received in

       7                      evidence.)

       8   BY MR. FRIEDMAN:

       9          Q.    If you would, would you turn to Page 6 of your

      10   draft report.      Are you there?

      11          A.    Yes, I am there.

      12          Q.    Do you see pictures, Figure numbers 12 and 13?

      13          A.    Yes, sir, I see those figures.

      14          Q.    Those are, you have them labeled "washout on

      15   dike bench."      Did I read that correctly?

      16          A.    Yes, sir, you did.

      17          Q.    Does the text above the photographs, is that a

      18   commentary on the photographs below?

      19          A.    Yes, some of the commentary above is for those

      20   figures below.

      21          Q.    Is the highlighted text referencing the two

      22   photographs below?

      23          A.    Yes, sir, the highlighted text does reference

      24   those.

      25          Q.    And would you read that text into the record,


                                            108

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 108 of 192 PageID #:
                                    16981
           September 19, 2011/Buttram/Direct

       1   please.

       2          A.    "At the north end of the dredge cells one of

       3   the lower dike benches has an area that has eroded and

       4   washed out.      See figures 12 and 3 below.          This area

       5   should be repaired immediately by filling with clay in 6

       6   inch lifts and compacting."

       7          Q.    Those are pictures that were taken, were they

       8   not, by Mr. Dotson and as included in Exhibit 6045, part

       9   of Exhibit 6045 is part of his time stamped photographs.

      10   I guess my only question would be -- and I withdraw that

      11   and make it more concise.

      12                Do you recall that these are pictures that

      13   Mr. Dotson took at the time of the October inspection

      14   and e-mailed to you?

      15          A.    Yes, sir, these would have been pictures that

      16   Mr. Dotson took.

      17          Q.    At the same time he e-mailed you the pictures

      18   in exhibit, Plaintiff's Exhibit 198, didn't he?

      19                      THE COURT:     You mean 189?

      20                      MR. FRIEDMAN:       I am dyslexic, Your Honor.

      21   Thank you, Exhibit 189.

      22          Q.    I apologize, Mr. Buttram.          This is complicated

      23   enough.     This is Exhibit 189, third page.

      24          A.    Yes, sir, these are the way points that

      25   Mr. Dotson e-mail me.


                                            109

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 109 of 192 PageID #:
                                    16982
           September 19, 2011/Buttram/Direct

       1          Q.    If you remember this morning I asked you to

       2   look at those and count with me all of the references of

       3   slough that he made.        I want to ask you if there is a

       4   correlation between these ten GPS points and one or both

       5   of the pictures that are included in your first draft of

       6   your report?

       7          A.    Yes, sir, one of these does correlate to it.

       8   Without the map I produced, it's hard for me to know

       9   which one.

      10          Q.    Well, okay.      Let's go back and get us some

      11   history of this.       When you were preparing to do your

      12   reports, you took Mr. Dotson's GPS points and attempted

      13   to place those on a map using a program called AutoCAD.

      14   Did I say that correctly?

      15          A.    Yes, sir.

      16          Q.    And by doing that that would allow you to

      17   correspond Mr. Dotson's input that are right there as

      18   part of 189 with the photographs that were taken, is

      19   that correct?

      20          A.    It would give me the approximate location of

      21   these way points to help me reference where they were on

      22   the dredge cell.       That way I could place pictures, if

      23   needed, with these way points.

      24          Q.    We do know that the pictures from your own

      25   report were taken on the north dredge cell, correct?


                                            110

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 110 of 192 PageID #:
                                    16983
           September 19, 2011/Buttram/Direct

       1          A.    Yes, sir, that is correct.

       2          Q.    And do you know from your experience and

       3   knowledge that that was the area of the dredge cell that

       4   failed and collapsed on December 22, 2008?

       5          A.    Yes, sir, I have heard that that is the area

       6   that is in question.

       7          Q.    You know that because you were out there

       8   involved in part of the aftermath, right?              You saw that

       9   area with your own eyes.         It is gone?

      10          A.    Yes, sir, correct.

      11          Q.    I am not trying to play cute with you.             You

      12   know that area where this photograph is taken, 12 and

      13   13, that was part of area that was blown out, right?

      14          A.    Yes, sir, that is part of the area that is not

      15   there any more, correct.

      16          Q.    Now, I am not the engineer of this group, as I

      17   have probably proven to you already, but if you would be

      18   so kind as to look at Plaintiff's Exhibits 183 and 193

      19   and if you would, be so kind to do that, if you will set

      20   them side by side and before you begin talking about

      21   them I want you to think to yourself first whether you

      22   can identify them.        I believe you talked about them in

      23   your deposition.       Do you recognize those?

      24                      (Exhibit No. P-183, 193 were

      25                      marked for identification.)


                                            111

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 111 of 192 PageID #:
                                    16984
           September 19, 2011/Buttram/Direct

       1          A.    Yes, sir, I recognize these.

       2          Q.    What, for the record is Exhibit 183?

       3          A.    183 is just a general sketch of the Kingston

       4   Fossil Plant ash disposal area.           It is not to scale

       5   drawing or anything.        It is just a general sketch to

       6   kind of give somebody reference to where they are.

       7          Q.    Did you prepare this or have anything to do

       8   with this exhibit?

       9          A.    No, sir, I just utilized it in my inspection

      10   report.     I referenced the drawing sketch itself.             I did

      11   not produce it.       I added the drawing and the picture

      12   labels.

      13          Q.    Let's talk about how did you go about adding

      14   those numbers that are on Exhibit 183?

      15          A.    From the pictures that were taken by either

      16   myself or Mr. Dotson that were used in the report there

      17   is a note on there that shows the picture number which

      18   references the figure number within the report.                The

      19   arrow is just kind of pointing to the general location

      20   and the view that the picture was taken from.

      21          Q.    Can you show us from this Exhibit 183 where

      22   the pictures on your report identified as Figures 12 and

      23   13 are located?

      24          A.    Those figures would be right there in that

      25   area (indicating).


                                            112

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 112 of 192 PageID #:
                                    16985
           September 19, 2011/Buttram/Direct

       1          Q.    As a matter of fact, the circles that have 12

       2   and 13 on them, they correspond with the photographs

       3   that are in the report, correct?

       4          A.    Yes, sir, that's correct.

       5                      MR. FRIEDMAN:       Plaintiffs offer Exhibit

       6   183.

       7                      MR. MARQUAND:       No objection, Your Honor.

       8                      THE COURT:     So admitted.

       9                      (Exhibit No. P-183 was received in

      10                      evidence.)

      11          Q.    While you still have that up, I'm going to ask

      12   you to compare them.        Did you tell us that you

      13   recognized Exhibit 349?

      14          A.    Yes, sir, I recognize this exhibit.

      15          Q.    You were asked to, you were asked I believe at

      16   your deposition whether or not that corresponded, those

      17   points on Exhibit 349 corresponded with the way points

      18   that are identified by Mr. Dotson.            Do you agree that

      19   they do?

      20          A.    Yes, I believe I agree they are close in

      21   proximity to the way points.

      22          Q.    And what is the reference?

      23          A.    But this is not a map that I produced.

      24          Q.    But it is a map that you are able to identify

      25   because it's a photograph and aerial photograph, right?


                                            113

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 113 of 192 PageID #:
                                    16986
           September 19, 2011/Buttram/Direct

       1          A.    Yes, sir.

       2          Q.    And, you know, that is a good point,

       3   Mr. Buttram.      I am not asking you especially with

       4   respect to Exhibit 349 to testify to any degree of

       5   engineering certainty that these way points are

       6   identical matches to the references of the way points

       7   that are identified in Plaintiff's Exhibit 189, okay.                   I

       8   preface it by this.        As a general proposition, I believe

       9   you have already responded to my question that those

      10   points on Exhibit 189 correspond -- I was holding this

      11   sideways, Your Honor.        I covered up with my own fingers

      12   the proper number.        This color Google map you have is

      13   Exhibit 193.      It has a deposition sticker on it too.

      14                Now that I have killed all my momentum, let's

      15   go back and try to pick this up.            The way points on

      16   Exhibit 193, they generally match, which is the point I

      17   was trying to make, Mr. Dotson's way points, don't they?

      18          A.    Yes, sir.

      19          Q.    And if you look, those way points at position

      20   23, that corresponds with the picture number Figures 12

      21   and 13 from your report, doesn't it?

      22          A.    I think, as I stated in my deposition, with

      23   the way these, the labelling is on this drawing it is

      24   hard to tell what is corresponding to which opinion as

      25   it is shown on this.


                                            114

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 114 of 192 PageID #:
                                    16987
           September 19, 2011/Buttram/Direct

       1          Q.    Fair enough.      Would you agree with me,

       2   Mr. Buttram, that Mr. Dotson's references, specifically

       3   points 23 and 24 -- or I will take them one at a time.

       4   Specifically 23 corresponds with the photographs that

       5   you have in your report, Figures 12 and 13?

       6          A.    Yes, sir, I believe that's correct.

       7          Q.    And Mr. Dotson refers to those figures in 12

       8   and 13 as a slough, doesn't he?

       9          A.    "Slough road washout."

      10          Q.    Now, you did not use those terms in your

      11   report, did you?

      12          A.    I believe I used "washout."

      13          Q.    Okay.    You used "washout," but you didn't use

      14   the term "slough"?

      15          A.    That's correct.

      16          Q.    Who told you to leave the term "slough" off

      17   your final report, if anyone?

      18          A.    At the time of writing the report I discussed

      19   things with Mr. Albright.          I can't say that anybody told

      20   me to leave the word "slough" out.

      21          Q.    You told us that you discussed it with

      22   Mr. Albright, but you never discussed it with

      23   Mr. Dotson, did you?

      24          A.    No, sir.

      25          Q.    You got Mr. Dotson, the man who wrote the


                                            115

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 115 of 192 PageID #:
                                    16988
           September 19, 2011/Buttram/Direct

       1   prior report, calling it a slough, the man whose report

       2   you were writing on to issue your report referring to a

       3   picture as a slough, but for some reason that I am not

       4   clear on, it was decided to leave it off the

       5   description?

       6           A.   Yes, sir, when you are out on inspections you

       7   see things and note things down.            When you go back you

       8   think about these things.          As Mr. Albright and I were

       9   looking back through the pictures and everything, this

      10   shows an erosion washout with maybe the sides are

      11   sloughing a little bit.

      12           Q.   If we can pull those pictures 12 and 13, if we

      13   can pull those up again, I would like to follow up on

      14   that.    It's Exhibit 179.       Now, the view on the left-hand

      15   side is the view looking up slope, right?              According to

      16   your figure there?

      17           A.   Yes, sir, that's correct.

      18           Q.   And you see the ground, the area where my

      19   finger touched and where that arrow was presented, you

      20   see that above the gully feature right there or what I,

      21   what Mr. Dotson referred to as a slough?

      22           A.   I see the washout area, yes, sir.

      23           Q.   And up above it it looks like there is

      24   undisturbed area, doesn't it?           You see up above it going

      25   to the crest of the dike?


                                            116

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 116 of 192 PageID #:
                                    16989
           September 19, 2011/Buttram/Direct

       1          A.    That would be the next slope going up, sir.

       2          Q.    The next slope.       There is no gully on that

       3   next slope going up, is there?

       4          A.    From this picture, no, sir.

       5          Q.    It certainly doesn't look like it, would you

       6   agree?

       7          A.    Yes, sir.

       8          Q.    So, whatever is causing that washout, as you

       9   call it, or slough, as Mr. Dotson referred to it, it is

      10   beginning right there in the middle of the dike, isn't

      11   it?

      12          A.    It looks like it's beginning at the crest and

      13   you will notice in my report there were other areas

      14   where benches had either silted up and they were

      15   overflowing off the side.          This is a case where it has

      16   rained and the bench may be not be sloping back in

      17   toward the toe or the next level so it is washing over.

      18          Q.    So thought this was created by a rain event?

      19          A.    Yes, sir.

      20          Q.    As you look downward on the side the slide

      21   right beside it, it gradually disappears as far as the

      22   indention.     Would you agree with that?

      23          A.    The clarity of these pictures is hard.             I

      24   believe there is some that is, it does follow down in

      25   there.


                                            117

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 117 of 192 PageID #:
                                    16990
           September 19, 2011/Buttram/Direct

       1          Q.    It follows for a while and then it goes back

       2   to what I would say a disturbed state.             Can you agree

       3   with that?     Looking down at the bottom of the picture.

       4   On the right-hand side viewing downward.              The top of the

       5   picture viewing downward would be actually the bottom of

       6   the hill or the bottom of the embankment, correct?

       7          A.    Yes, sir, you are looking down the slope.

       8          Q.    And as you go down the slope the gully gently

       9   eases out, or the slough, right?

      10          A.    Yes, sir, the washout, it does ease out.

      11   There is more rills -- from the clarity of this picture

      12   you would probably see rills.

      13          Q.    When you saw that picture, did you see signs

      14   of water coming through the dike?

      15          A.    At the time of the inspection in the front of

      16   this picture, there are no signs of water coming

      17   through.

      18          Q.    You just saw the indention there?

      19          A.    Yes, sir.

      20          Q.    Now, the conclusion that was reached, even

      21   though you didn't agree with the term being a slough,

      22   the conclusion that was reached here is that this needed

      23   to be repaired immediately, fair enough?              I mean, that

      24   is the written word you have right there.              "This area

      25   should be repaired immediately by filling with clay and


                                            118

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 118 of 192 PageID #:
                                    16991
           September 19, 2011/Buttram/Direct

       1   6 inch lifts and compacting."           Did I read that

       2   correctly?

       3          A.    Yes, sir, that's correct.

       4          Q.    That was the conclusion that you reached in

       5   agreement with Mr. Albright, correct?

       6          A.    In this draft, yes, sir, that's the conclusion

       7   that was reached.

       8          Q.    You are way ahead of me.         In this draft that

       9   is what it says.       Let's look at Exhibit 180.          While you

      10   are getting that out, I am going to ask you a question

      11   that I think will be easy for you to answer.               We have

      12   four drafts in successive order.            They begin with

      13   Exhibit 179, and then they go to 180, 181 and 182, is

      14   that right?      I think we have covered that.          You have the

      15   four in front of you.

      16                May I withdraw that question and ask another

      17   one?

      18                      THE COURT:     Go ahead.

      19   BY MR. FRIEDMAN:

      20          Q.    Mr. Buttram, do you remember making several

      21   drafts of your report before it was made final?

      22          A.    Yes, I do remember making several drafts.

      23          Q.    And the process, the exercise of actually

      24   writing this report was done following the coal ash

      25   disaster of December 22, 2008.           This is after the


                                            119

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 119 of 192 PageID #:
                                    16992
           September 19, 2011/Buttram/Direct

       1   disaster happens you are going about putting this report

       2   together, right?

       3          A.    Yes, sir, that is correct.          The report was

       4   written after the disaster.

       5          Q.    You knew before the disaster you were going to

       6   be responsible or tasked with writing it?

       7          A.    Yes, sir, that is correct.

       8          Q.    As you went through it, it went through a

       9   drafting process where you went through several drafts,

      10   correct?

      11          A.    Yes, I wrote the report.         Then I had a peer

      12   review with Mr. Albright.          He reviewed it and then my

      13   supervisor at the time, Barry Snider, reviewed the

      14   report.

      15          Q.    And as a result of that there are four drafts

      16   before we get to the final.            I hope you have got those

      17   in front of you, 179, 180, 181, 182.             We just talked

      18   about 179.

      19                I would like to ask you to go to 180 and tell

      20   us if that is also a draft of the report, and one that

      21   followed 179.

      22          A.    Yes, sir, 180 would follow 179.

      23          Q.    Now, in the order of things you do the first

      24   draft and then you give the draft to your supervisor and

      25   he checks it, right?


                                            120

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 120 of 192 PageID #:
                                    16993
           September 19, 2011/Buttram/Direct

       1           A.   I would have done a draft and I would have

       2   given it to Mr. Albright.          That would not definitely be

       3   significant to what these drafts represent.

       4           Q.   Excuse me?

       5           A.   The order of review doesn't necessarily

       6   represent what these drafts here represent.

       7           Q.   Okay.

       8           A.   I did these, these drafts were tracked for my

       9   knowledge so I would know what has changed from time to

      10   time.    It doesn't correspond necessarily after a certain

      11   someone's review.

      12           Q.   Fine.    That's fair enough.        Who was the first

      13   person who you gave your draft to look at?              Was that

      14   Mr. Albright?

      15           A.   That would have been Mr. Albright.

      16           Q.   After we look at 179 let's look at 180 and

      17   specifically I want you to go to page 6 where we are

      18   talking about the washout on the dike bench that

      19   Mr. Dotson referred to as a slough.

      20           A.   Yes, sir, I am there.

      21           Q.   Now, if we can, the language that was quoted

      22   from 179 I believe it is the same.            You see that?

      23                      MR. MARQUAND:       We'll stipulate it's the

      24   same.

      25                      MR. FRIEDMAN:       Thank you.


                                            121

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 121 of 192 PageID #:
                                    16994
           September 19, 2011/Buttram/Direct

       1   BY MR. FRIEDMAN:

       2           Q.   That would read that "the area of the 12 and

       3   13 needed to be repaired immediately," correct?

       4           A.   Yes, sir, that's correct.

       5           Q.   That would tell us in the logical order of

       6   things that Mr. Albright agreed with your language for

       7   the need for those immediate repairs correct?

       8           A.   Yes, sir, and that is what I was referencing

       9   to before.     This draft Exhibit 180 would have been after

      10   Mr. Snider's review.

      11           Q.   Mr. Snider or Mr. Albright --

      12           A.   Mr. Snider.

      13           Q.   So it wasn't what Mr. Albright reviewed?

      14           A.   His edits may have come in 179 or I may have

      15   done them.     That is what I am saying.          The track changes

      16   were for my benefit as I did things.             I may have

      17   overwritten some of the drafts after reviews.

      18           Q.   I am not trying to stand on anything other

      19   than to show Mr. Albright helped you write it,

      20   Mr. Snider looked at it and then it went through another

      21   step.    That is what I am trying to get at.            Media

      22   Relations looked at your drafts, didn't they?

      23           A.   Yes, sir, that's correct.

      24                      MR. FRIEDMAN:       I want to offer Plaintiff's

      25   Exhibit 180.


                                            122

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 122 of 192 PageID #:
                                    16995
           September 19, 2011/Buttram/Direct

       1                      THE COURT:     So admitted.

       2                      (Exhibit No. P-180 was received in

       3                      evidence.)

       4   BY MR. FRIEDMAN:

       5          Q.    I ask you to look at Exhibit 181.            If you

       6   would identify this as another one of your drafts, sir.

       7          A.    Yes, sir, this is another one of my drafts.

       8          Q.    And if you look at Page 6, which would be the

       9   same area we have looked at in the last two drafts, I

      10   believe we will find a change in the language there.                    In

      11   the right-hand column you will see a program.               Can you

      12   tell the Court what that is?           I call it a program.        It

      13   is a document-changing feature.           Is that right?

      14          A.    Yes, sir, it's just a function that you can

      15   use within the program of Microsoft Word when you are

      16   tracking changes.

      17          Q.    You can track when a document is changed,

      18   can't you?

      19          A.    Yes, sir, that's correct.

      20          Q.    And what is the word from Exhibit 181, page 6

      21   that is deleted?

      22          A.    That would be "immediately."

      23          Q.    That was taken out by Media Relations, was it

      24   not?

      25          A.    No, sir.     That word was not taken out by Media


                                            123

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 123 of 192 PageID #:
                                    16996
           September 19, 2011/Buttram/Direct

       1   Relations.

       2          Q.    You took it out?

       3          A.    I reviewed any suggestions that came to this

       4   report.

       5          Q.    Media Relations suggested that it come out?

       6          A.    Yes, sir.

       7          Q.    Now, do you know and can you tell the Court

       8   what experience in geotechnical inspections that TVA

       9   Media Relations has?

      10          A.    Sir, I am not aware that they had any.

      11          Q.    Did TVA Media Relations have anything to do

      12   with telling you what should or should not have been

      13   done with regard to your inspections?

      14          A.    As far as how we did the inspection, no, sir,

      15   they did not provide any guidance.

      16          Q.    Yet they were weighing in on what should go

      17   into the final report or recommending what should go in

      18   the final report?

      19          A.    Yes, sir, we knew it was going to go to a

      20   broader audience.        They reviewed the report.         I reviewed

      21   all suggestions and didn't allow it to change the

      22   substance.

      23          Q.    And I know you told us that, I believe, in

      24   your deposition.       Maybe I got it from the Inspector

      25   General's interview.        You don't think taking out


                                            124

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 124 of 192 PageID #:
                                    16997
           September 19, 2011/Buttram/Direct

       1   "immediately" changed the substance of your report?

       2           A.     At the time this report was submitted, no,

       3   sir, I do not.

       4           Q.     At the time you all were out there and you saw

       5   this washout what Mr. Dotson believed to be a slough,

       6   everybody was in agreement it needed to be repaired

       7   immediately?

       8           A.     Yes, sir.   As Mr. Dotson was part of the

       9   Byproducts Disposal, he was aware it was there.

      10           Q.     But it wasn't repaired, was it?

      11           A.     I can't say if it was or not, sir.          I was not

      12   told.

      13           Q.     But you knew, based on your knowledge as an

      14   engineer, that something like this didn't look good,

      15   right?

      16           A.     Just looking at the pictures, no, sir, it does

      17   not look good.

      18           Q.     And it needed to be repaired immediately,

      19   right?

      20           A.     Yes, sir, any type of erosion we would have

      21   repaired.

      22           Q.     But some erosion you put it's not a priority

      23   thing.       A lot of times you didn't use the word

      24   "immediately," but here you did and it wasn't done, was

      25   it?


                                            125

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 125 of 192 PageID #:
                                    16998
           September 19, 2011/Buttram/Direct

       1          A.    Sir, I can't say if it was done or not.             I was

       2   not told.

       3          Q.    You do agree that it was your intention, along

       4   with Mr. Albright, that it should have been done

       5   immediately, right?

       6          A.    Yes, it should have been repaired.

       7          Q.    You told me in the deposition to you

       8   immediately means right then as soon as possible, do you

       9   agree with that?

      10          A.    I would say immediately means as soon as

      11   possible, yes, sir.

      12          Q.    You knew that on October 20th, 2008, didn't

      13   you?

      14          A.    Yes, sir.     I knew this was there and that it

      15   needed to be repaired as soon as possible.

      16          Q.    No, immediately.       Immediately is the word you

      17   used, right?

      18          A.    Immediately is the word I used in the report,

      19   yes, sir.

      20                      MR. FRIEDMAN:       Now, we offer Plaintiff's

      21   Exhibit 181.      I want to go over one more with you.

      22                      THE COURT:     So admitted.

      23                      (Exhibit No. P-181 was received in

      24                      evidence.)

      25   BY MR. FRIEDMAN:


                                            126

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 126 of 192 PageID #:
                                    16999
           September 19, 2011/Buttram/Direct

       1           Q.   This is Exhibit 182.        Can you identify that as

       2   the final draft?       I believe this is the one, this is

       3   different from the others because it has an executive

       4   summary on the front.

       5           A.   Yes, I recognize this as another draft of what

       6   would have been the final.

       7           Q.   And 182 does add the executive summary?

       8           A.   Yes, sir.

       9           Q.   Whose idea was it to add the executive

      10   summary?

      11           A.   TVA Media Relations.

      12           Q.   When you were out there on that day in October

      13   did you have any checklist to work off of?              In other

      14   words, a list of things you needed to look for and check

      15   off a list as you went?

      16           A.   No, sir, I was not given any type of check

      17   list.    I was with John Albright who had been on these

      18   inspections.

      19           Q.   Did Mr. Albright or Mr. Dotson have a

      20   checklist?

      21           A.   Not to my knowledge they did not.

      22           Q.   Since the inspection has it come to your

      23   attention there was a checklist?

      24           A.   No, sir.

      25           Q.   Never heard of that before?


                                            127

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 127 of 192 PageID #:
                                    17000
           September 19, 2011/Buttram/Direct

       1          A.    No, sir, I have not heard of a checklist.

       2          Q.    There were other references for immediate

       3   repairs that needed to, that you found during your

       4   inspection that were included in your original report

       5   that were removed at the recommendation of Media

       6   Relations, weren't there?

       7          A.    Yes.

       8          Q.    I give you an example.         The photograph that

       9   you took in your final report of the floating coal

      10   ash -- I believe looking at your final report there is a

      11   picture on Page 4.

      12          A.    Yes, sir, that would be Figure 3.

      13          Q.    Picture 3.     If you can bring that up.          This is

      14   Exhibit 191, Picture 3.

      15                Now, at the time you did your draft you

      16   included that the floating ash from that pond needed to

      17   be removed immediately, right?

      18          A.    Initially in the report I had written it

      19   needed to be removed immediately.

      20          Q.    That was removed at the suggestion of Media

      21   Relations?

      22          A.    After the suggestion, yes, sir, I removed it

      23   on my own accord.

      24          Q.    And then there was another reference to

      25   another area that you referred to as a washout.                If you


                                            128

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 128 of 192 PageID #:
                                    17001
           September 19, 2011/Buttram/Direct

       1   look at, if you will go back to your original draft

       2   Exhibit 179, Page 5 of that.           There is a reference to a

       3   washout, I believe.        You see where I am talking about?

       4          A.    Page 4?

       5          Q.    I believe it is Page 5.         No, it is -- I am

       6   sorry it is Page 4.        I misspoke.      You see right there it

       7   is I believe it is referencing Figure 8.              You see that?

       8          A.    Yes, sir, that's correct.

       9          Q.    Where was that picture taken?

      10          A.    This picture was taken, if we could go to the

      11   general sketch I could give -- it is taken off the

      12   interim dredge cell on the east side.

      13          Q.    Let's look at Exhibit 183.          We'll bring it up

      14   on your screen, Mr. Buttram.           Does that help you?

      15          A.    Yes, sir.

      16          Q.    Tell us where, if you can, where Figure 8 or

      17   Photograph 8 was taken, if you can point to that circle

      18   for the Court.

      19          A.    In that circle area there, which is on the

      20   east side of the interim dredge cell.

      21          Q.    That would be at an upper elevation, would it

      22   not?

      23          A.    It was going down the slope.          It was from a

      24   down drain that they had there from an underdrain.

      25          Q.    Your commentary in regards to that was "due to


                                            129

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 129 of 192 PageID #:
                                    17002
           September 19, 2011/Buttram/Direct

       1   extensive erosion in one area an erosion washout of two

       2   feet wide by twenty feet long by two feet deep had

       3   formed.      This area should be repaired immediately."             Did

       4   I read that correctly?

       5          A.     Yes, sir, you did.

       6          Q.     And can you testify without having to go back

       7   through the drafts as to whose recommendation that the

       8   term "immediately" was removed?

       9          A.     That came, that suggestion came at the same

      10   time as the other reference to remove the word

      11   "immediately."

      12          Q.     Wouldn't it be a fair statement to say that

      13   anything that you put in your report that had to do with

      14   immediate action to make repairs to that dike the term

      15   "immediately" was removed at the suggestion of Media

      16   Relations?

      17          A.     Yes, sir, I can say that the word

      18   "immediately" was suggested to be removed.

      19          Q.     All right.    Repeatedly as to anything that you

      20   designated in your report for immediate action needed to

      21   be taken out?

      22          A.     Yes, sir, with regard to this came after the

      23   spill.      The emphasis wasn't there any more.

      24          Q.     Right.   The emphasis, but the emphasis was

      25   there in October of 2008, now, wasn't it?


                                            130

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 130 of 192 PageID #:
                                    17003
           September 19, 2011/Buttram/Direct

       1           A.   Yes, sir, the proper people knew about it.

       2           Q.   I believe you made the, you have either

       3   testified or maybe told me that the whole purpose of

       4   using the term "immediately" was to get the attention of

       5   the people in maintenance, fair enough?

       6           A.   That's correct.

       7           Q.   You wanted to reach out to them and get their

       8   attention, right?

       9           A.   Yes.    As you were reading the report, you

      10   would want to use words to emphasize certain things,

      11   that's correct.

      12           Q.   After placing this emphasis on that work that

      13   needed to be done, let's go ahead and tell us what you

      14   did to make sure that this immediate maintenance was

      15   done.    You made it known to somebody, right?

      16           A.   Yes, as I said, Jamey Dotson, who is part of

      17   the Byproducts Disposal Group helped in maintaining

      18   those dredge cells was there and knew about it.                We also

      19   were dealing with James Settles that day and had

      20   discussion.

      21           Q.   You all sought out Mr. Settles, right?

      22           A.   We ran into him on the day of the inspection.

      23           Q.   You ran into him.         Okay.   Was it your

      24   intention to make somebody at the plant know about these

      25   maintenance items that needed to be addressed?


                                            131

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 131 of 192 PageID #:
                                    17004
           September 19, 2011/Buttram/Direct

       1          A.     Yes, sir, Mr. Dotson deals with them.            That

       2   was in his area of his job, I believe.             He was a

       3   Byproducts representative that day.

       4          Q.     Who is Mr. Settles?       Tell the Court who is he

       5   is.

       6          A.     Mr. Settles, to my knowledge, was, I believe,

       7   the field supervisor for the dredge cells.

       8          Q.     Was he directed to make the repair, the

       9   immediate repairs that are reflected on your reports

      10   right then in October of, October 20th, 2008, while you

      11   were present on the scene?

      12          A.     I can't recall.

      13          Q.     I guess that question may not have come out

      14   right.      Did you communicate the information or was it

      15   communicated in your presence to Mr. Settles that these

      16   repairs are here and they need to be taken care of

      17   immediately?

      18          A.     We did communicate with him.         I can't recall

      19   exactly the full discussion and what all was

      20   communicated to him that day.

      21          Q.     In substance was the information that is in

      22   your report or your draft report, was that information

      23   communicated to Mr. Settles?

      24          A.     I can't say exactly all that information was

      25   communicated to him.


                                            132

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 132 of 192 PageID #:
                                    17005
           September 19, 2011/Buttram/Direct

       1          Q.    What about the washout or slough on the north

       2   dike that we started this point in the examination with.

       3   Was that information imparted to Mr. Settles that it was

       4   maintenance that needed to be taken care of immediately?

       5          A.    As I said, I am not sure exactly what

       6   communication was stated to him.

       7          Q.    Other than your report, how was that

       8   information to get to maintenance through Jamey Dotson?

       9          A.    Mr. Dotson spoke, Mr. Dotson as part of the

      10   Byproducts Group, his group would have been doing some

      11   of those repairs.

      12          Q.    Are you assuming he would have taken care of

      13   it or do you know he was directed, as by yourself as the

      14   engineer writing up this report, that this is

      15   maintenance work that needs to be done?

      16          A.    I can't say he was directed to do it, no, sir.

      17          Q.    The fact is this was your first inspection,

      18   you were just trying to learn it the best you could.

      19   You weren't in a position to direct anybody to do

      20   anything, were you, Mr. Buttram?

      21          A.    I can't say I wasn't in a position to direct.

      22   I would have discussed it with the people that it needed

      23   to be discussed with.

      24          Q.    But you didn't, did you?

      25          A.    I can't say what all communication was done


                                            133

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 133 of 192 PageID #:
                                    17006
           September 19, 2011/Buttram/Direct

       1   that day.

       2           Q.   The very next month TVA sent you out again as

       3   a lead engineer for another dike inspection, didn't

       4   they?

       5           A.   Sir, I wasn't the lead engineer at Kingston.

       6           Q.   No, no.     I am not, we have already gone

       7   through that disagreement.          I am not talking about

       8   Kingston now.

       9           A.   You said "again."

      10           Q.   Okay.     I apologize for my wording.         Let me try

      11   it again.     You don't even need Mr. Marquand.            You are

      12   getting pretty good at this.           I don't mean to make light

      13   of it.

      14                You did another inspection didn't you, a dike

      15   inspection after Kingston, correct?

      16           A.   Yes, sir, that's correct.

      17           Q.   All right.     Were you the lead inspector on

      18   that inspection?

      19           A.   Yes, sir, I was the only representative

      20   engineer from my group out there.            I would have been the

      21   lead engineer for that.

      22           Q.   And that took place less than a month after

      23   the Kingston inspection?

      24           A.   I can't recall exactly how long -- it was in

      25   November, 2008.


                                            134

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 134 of 192 PageID #:
                                    17007
           September 19, 2011/Buttram/Direct

       1           Q.    You didn't have any, do additional study work

       2   or training between the Kingston inspection and the

       3   Tuscumbia inspection, right?

       4           A.    Yes, sir, it was out at the Colbert Fossil

       5   Plant.

       6           Q.    Right out of Tuscumbia, Alabama, Colbert

       7   County.      You didn't have any training since you did that

       8   inspection in October at Kingston and the time that you

       9   went to Colbert, correct?

      10           A.    No, sir.    There was no extra training in

      11   between those two inspections.

      12           Q.    I don't mean extra training.         There wasn't any

      13   other training, was there?

      14           A.    No, sir.

      15           Q.    Okay.   But yet you were the lead inspector on

      16   that one?

      17           A.    Yes, sir, I was the lead inspector.

      18           Q.    Had you finished your report on the Colbert

      19   inspection by the time of the disaster of December 22,

      20   2008?

      21           A.    No, sir.    That report hadn't been written

      22   either.

      23           Q.    I want you to look at Plaintiff's Exhibit

      24   1484.     Before you say anything about it, I want you to

      25   take a look at it and tell me if you can identify it.


                                            135

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 135 of 192 PageID #:
                                    17008
           September 19, 2011/Buttram/Direct

       1   Mr. Settles, have you ever seen Exhibit 1484 before?                    I

       2   mean, Mr. Buttram.        I am sorry.

       3                      (Exhibit No. P-1484 was marked for

       4                      identification.)

       5           A.   I can't recall that I have seen this specific

       6   exhibit, no, sir.

       7           Q.   Okay.    I want to ask you this.         Have you

       8   attended any safety seminars on evaluation on existing

       9   dams?

      10                      MR. MARQUAND:       Objection, Your Honor.

      11   This deals with matters post spill.            It deals with post

      12   remedial measures and certainly isn't relevant in this

      13   case.

      14                      MR. FRIEDMAN:       May I respond Your Honor?

      15                      THE COURT:     Yes.

      16                      MR. FRIEDMAN:       It is post spill.      It

      17   happened after this spill.          We're offering it for

      18   another purpose.       That would be feasibility,

      19   availability of training.          For information purposes,

      20   other than to show that this should have been done

      21   before the inspection or before the October inspection,

      22   just the fact that there's training available out there.

      23                      THE COURT:     I will sustain the objection

      24   to the question as asked, but allow you to pursue

      25   questioning along the lines that you suggested.


                                            136

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 136 of 192 PageID #:
                                    17009
           September 19, 2011/Buttram/Direct

       1   BY MR. FRIEDMAN:

       2          Q.    From the time you were hired at TVA, I believe

       3   it was July of 2008, thereabouts, right?

       4          A.    Roughly.     It was at the end of June, yes, sir.

       5          Q.    June did you say?

       6          A.    At the end of June.

       7          Q.    Up until October of with 2008, were you ever

       8   given any training in examination of embankment dams?

       9          A.    No, sir.     I never attended any training on

      10   embankment dams.

      11          Q.    Were you ever given any training in emergency

      12   action planning, early warning systems, overtopping

      13   protections, repair or evaluation of earthen

      14   embankments?

      15          A.    No, sir.

      16          Q.    Did you ever attend any classes either within

      17   TVA or put on by a third party concerning stability

      18   inspections of ash pond dikes?

      19          A.    No, sir, I had none prior to my first

      20   inspection.

      21          Q.    Does TVA have any kind of recurrent training?

      22          A.    Yes, sir, we have annual training that we go

      23   through.     As a PE I seek out continuing education that I

      24   have to keep up with to have my licenses.

      25          Q.    As part of any of the work that you have done


                                            137

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 137 of 192 PageID #:
                                    17010
           September 19, 2011/Buttram/Direct

       1   at TVA, have you had any training whatsoever prior to

       2   October or even December of 2008, for that matter, in

       3   anything related to stability inspections or maintenance

       4   of earthen embankments?

       5           A.   No, sir.     In that respect I didn't have any

       6   training from TVA.

       7           Q.   Going back to the stability report that you

       8   did -- I am talking about the final copy.              This one is

       9   Exhibit 191.      If you go to the very back of it.            I don't

      10   mean very back.       I want to talk about Page 11.          As you

      11   get there, that is a list, is it not, of things to be

      12   done pursuant to the annual inspection?

      13           A.   Yes, sir, that would be the recommendations

      14   page.

      15           Q.   And the recommendation page, is that not a

      16   summary of the actions -- I believe it would cover pages

      17   11 and 12 of recommendations for instructions concerning

      18   maintenance that result from your actual inspection in

      19   this case, the October inspection.

      20           A.   Yes, sir, these would be the recommendations

      21   that came from, that were listed in the report itself

      22   from the October inspection.

      23           Q.   And if you knew one or more of the things that

      24   are on the list had already been completed, they

      25   wouldn't be on the recommendation list, would they?                 Or


                                            138

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 138 of 192 PageID #:
                                    17011
           September 19, 2011/Buttram/Direct

       1   would they?

       2          A.     I would say that they could since that's what

       3   we had seen at the time of the inspection.

       4          Q.     So there could be things on there that were

       5   repaired already, but maybe not?            Or you have no way of

       6   knowing?

       7          A.     None -- this hasn't been discussed with

       8   anybody what had been done at the time of writing this

       9   report.

      10          Q.     The report that you actually had out there on

      11   October 20th of 2008, that is Exhibit 188, and your

      12   notes appear on Exhibit 188 I believe on Page 9 of that.

      13   It is on your screen, if you can follow along.

      14          A.     Yes, sir.

      15          Q.     The way you went about making this report

      16   which is the final report that we have here that I have

      17   been asking you about, Exhibit 191, is you simply took

      18   this old inspection report and started writing on it,

      19   right?      Or writing on portions of it?

      20          A.     I used the old inspection report as a

      21   template.

      22          Q.     When you say used it as a template, you used

      23   the '08 report as the basis of the '09 report, correct?

      24          A.     I used it as a template so I would know so I

      25   could follow the same format and everything.               Yes, there


                                            139

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 139 of 192 PageID #:
                                    17012
           September 19, 2011/Buttram/Direct

       1   was some pieces left in as historical references to the

       2   report.

       3          Q.    You left some of the actual language from

       4   2008, or borrowed or left it in for reference to be

       5   included in '09?

       6          A.    Yes, sir.

       7          Q.    All right.

       8                Now, if you look to Page 11, excuse me, Page 8

       9   on the recommendation pages of Exhibit 188.               How many of

      10   those recommendations that were in existence on Page 8

      11   of Exhibit 188 did you bring over and make again or

      12   repeat on your final report, Exhibit 191.              Have you ever

      13   stopped to compare those?

      14          A.    No, sir, I don't know I have stopped to

      15   compare them exactly.

      16          Q.    Do you have a recollection of simply moving

      17   action items or recommendations from the year 2008 over

      18   and adopting them in the 2009 report?

      19          A.    Yes, sir, some of the routine type

      20   recommendations would have been used again.

      21          Q.    And those would be things repeated year after

      22   year from one report to the another, correct?

      23          A.    Yes, sir, just to keep as a reminder to

      24   continue doing those things.

      25          Q.    I want to change gears, if I may, and ask you


                                            140

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 140 of 192 PageID #:
                                    17013
           September 19, 2011/Buttram/Direct

       1   about some of your other responsibilities that aren't

       2   stability inspection related.           I believe your testimony

       3   was you took over a program in July or August of 2008

       4   where you would take over data input for water levels in

       5   the dikes?

       6          A.    I took over the responsibility of yes,

       7   receiving the monitor data from TVA Environmental

       8   Engineering.      I would receive it monthly.          Once

       9   receiving it I would place it into the program that was

      10   in an Excel spreadsheet created by Geosyntec.                 Once that

      11   data was entered, I would check to see what the levels

      12   were in regard to the ground surface.

      13          Q.    If you would, please, I want to ask you if you

      14   would kindly look at Plaintiff's Exhibits 186 and 1552.

      15   I ask you if you would identify those for the record.

      16                      (Exhibit Nos. P-186, 1552 were

      17                      marked for identification.)

      18          A.    Exhibit 186 and Exhibit 1552 look to be the

      19   roles and responsibilities that were created by me after

      20   receiving this responsibility.           It was kind of our

      21   action plan.

      22                      MR. FRIEDMAN:       Offer Exhibits 186 and

      23   1552, Your Honor.

      24                      THE COURT:     So admitted.

      25                      (Exhibit Nos. P-186, 1552 were


                                            141

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 141 of 192 PageID #:
                                    17014
           September 19, 2011/Buttram/Direct

       1                      received in evidence.)

       2   BY MR. FRIEDMAN:

       3           Q.   Did you say you created both of these?

       4           A.   No, sir.     Well, yes, sir, I did.        Looking at

       5   them now, 186 is the one that I produced.              I do not

       6   remember adding the color representational graph that is

       7   labeled on 1552.

       8           Q.   Let's look at 186 first then, okay.

       9           A.   Yes, sir.

      10           Q.   This is a document that you created sometime

      11   after you got there.        It would be what, August of '08?

      12           A.   Yes, sir, it was around August of '08.

      13           Q.   And would you read the first sentence into the

      14   record.

      15           A.   "In November of 2006 excessive seepage and

      16   piping was discovered at the toe of the dike of Dredge

      17   Cell 3."

      18           Q.   And then it goes on, "to help with the

      19   investigation and repair of the toe, 33 piezometers and

      20   a dewatering well system were installed."              Did I read

      21   that right?

      22           A.   Yes, sir.

      23           Q.   And the next sentence, I want to ask you about

      24   this.     It says, "the piezometers and dewatering wells

      25   were used to determine and monitor the groundwater level


                                            142

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 142 of 192 PageID #:
                                    17015
           September 19, 2011/Buttram/Direct

       1   at the time."      Did I read that right?

       2          A.    Yes, sir, that's correct.

       3          Q.    Were piezometers and wells in place used by

       4   the TVA in 2008 to monitor the buildup of water in

       5   dikes?

       6          A.    Can you restate that question?

       7          Q.    I am asking if that sentence is correct.              Were

       8   the piezometers and dewatering wells used to determine

       9   and monitor the groundwater levels at the time.                Were

      10   those used in 2008, when you took over the program, to

      11   monitor water buildup in the dikes?

      12          A.    This sentence comes from the background

      13   information trying to explain the initial purpose of the

      14   piezometers.      Why they were put in was to help to

      15   understand the groundwater level before they did the

      16   repair in that area.

      17          Q.    Okay.

      18          A.    After the repair was over having that data,

      19   having those piezometers there, they were just decided

      20   to leave it in to have that data so that the groundwater

      21   could be still be monitored and looked at.

      22          Q.    Let's look at Exhibit 1552.          How is Exhibit

      23   1552 different, if at all, from Exhibit 186?               Are these

      24   the same or are they different?           One has a date at the

      25   bottom in the place of current contacts.              1552 has a


                                            143

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 143 of 192 PageID #:
                                    17016
           September 19, 2011/Buttram/Direct

       1   date of August 4th, 2008, and current contacts and has

       2   yourself and Mr. Matt Williams, is that right?

       3          A.    Yes, sir, on the last page it has Mr. Dotson.

       4   1552 has the Kingston PEU was added and her contact

       5   information as well.

       6          Q.    186 had Jamey Dotson.        The second page of 1552

       7   has some additional information, is that right?

       8          A.    Yes, sir.

       9          Q.    That is how they differ?

      10          A.    Yes, sir.

      11          Q.    Did you create both of these documents?

      12          A.    No.   I was the initial creator of it.            I can't

      13   be certain that I would have, but I think I would have

      14   because I was in essence the owner.            I was asked to

      15   create this so we could kind of have an action or roles

      16   and responsibilities between the different TVA groups

      17   that were using this data.

      18          Q.    Let's look at the responsibilities outlined.

      19   Under TVA Environmental Services under both documents it

      20   says in the first bullet point that "TVA Environmental

      21   Services is responsible for monitoring the wells and

      22   piezometers on a monthly basis."            Did I read that right?

      23          A.    Yes, sir.

      24          Q.    Did TVA monitor the wells and piezometers at

      25   Kingston on a monthly basis?


                                            144

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 144 of 192 PageID #:
                                    17017
           September 19, 2011/Buttram/Direct

       1           A.   To my knowledge, sir, yes, they did.

       2           Q.   Did they monitor the wells and piezometers on

       3   the north side of the dredge cell?

       4           A.   My responsibilities were for the west side.                I

       5   would receive -- the data I received was two

       6   spreadsheets.      My role was to monitor the piezometers

       7   and dewatering -- I received data for the piezometers

       8   and dewatering well points for the west side.               That was

       9   the data my responsibility was to monitor.

      10           Q.   Mr. Buttram, do you know if anyone in the TVA

      11   was responsible for monitoring the wells and piezometers

      12   on the north side of the dredge cell, the place at the

      13   dredge cell where the failure occurred in 2008?

      14           A.   To my knowledge, sir --

      15           Q.   At the time you were with TVA.

      16           A.   No, sir, at the time I did not know that

      17   anybody was responsible for monitoring those wells.

      18           Q.   Did you know there were even any wells located

      19   on the north side?

      20           A.   From our inspection and pictures we had

      21   pictures of the wells.         They were there.       They were

      22   monitoring wells.       They weren't piezometers that we

      23   used.    I knew those wells were there.           I didn't know the

      24   function of them.

      25           Q.   These rules and regulations they say they


                                            145

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 145 of 192 PageID #:
                                    17018
           September 19, 2011/Buttram/Direct

       1   don't differentiate between wells and piezometers, do

       2   they?

       3                      MR. MARQUAND:        Objection.

       4   Mischaracterization.        These aren't rules and

       5   regulations.      This is a document the witness typed up.

       6                      MR. FRIEDMAN:        The witness testified these

       7   are documents the witness typed up to outline

       8   responsibilities.

       9           A.   Yes, sir, it says --

      10                      THE COURT:     All right.     Well, I will

      11   overrule the objection.          Mindful, this isn't a jury

      12   trial, but the same in a bench trial questions of

      13   counsel are not evidence.          The evidence comes from the

      14   witness stand.       Go ahead.

      15   BY MR. FRIEDMAN:

      16           Q.   You did draft these outlined responsibilities,

      17   didn't you?

      18           A.   Yes, sir, as I said, these were if you read in

      19   the background information the piping and seepage was

      20   discovered at the Dredge Cell 3.            Dredge Cell 3 didn't

      21   go to the north dike.        It was on the west.        These

      22   piezometers and well points mentioned here were on the

      23   best dike.     That is what the roles and responsibilities

      24   were created for.

      25           Q.   Are you telling the Court that the


                                             146

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 146 of 192 PageID #:
                                    17019
           September 19, 2011/Buttram/Direct

       1   responsibility to monitor wells and piezometers ended at

       2   the west dike?

       3           A.   To my knowledge, this is what I was given to

       4   do.     Beyond that I do not know, sir.

       5           Q.   And these responsibilities that you drafted in

       6   these two exhibits, that only pertained to the west

       7   dike, right, if I understand you correctly?

       8           A.   These roles and responsibilities, yes, sir,

       9   were corresponding with the monitoring on the west dike.

      10           Q.   Mr. Buttram, point out for the Court where

      11   either one of these documents limited responsibilities

      12   to the west side.

      13           A.   I believe with the background which references

      14   the 33 piezometers and dewatering wells on the west

      15   side.     I can't understand why we would give background

      16   information for that and point the responsibility to the

      17   other wells without mentioning them here.

      18           Q.   You would have to have an understanding of the

      19   background in order to understand the limitation you are

      20   testifying about.       Is that what you are telling us?

      21           A.   Yes, sir, and then if you also see it says for

      22   more information you can see Geosyntec's report which

      23   would outline the repairs and installation of these

      24   piezometers that these roles and responsibilities are

      25   outlined.


                                            147

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 147 of 192 PageID #:
                                    17020
           September 19, 2011/Buttram/Direct

       1          Q.    Did you ever read that report, Mr. Buttram,

       2   that you are talking about, the Geosyntec's report?

       3          A.    Yes, I went through it to give me some

       4   background information on the reasons that these

       5   piezometers and the dewatering well system was in place.

       6          Q.    You weren't even provided with your own copy

       7   of that, were you?

       8          A.    No, sir, I didn't have any own copy.             I had

       9   access to hard copies.

      10          Q.    You just happened to see come information in

      11   that, but never reviewed the whole report, did you?

      12          A.    I can't say I reviewed the exact full report,

      13   no, sir.     I did review the report.

      14          Q.    Now, you weren't aware until you got out there

      15   on the inspection in October of 2008 that there were

      16   monitoring wells on the north side?

      17          A.    I can't say that I knew that the data that I

      18   received -- I received two sets of data.              I can't say

      19   that the data that I received had the wells from the

      20   north side, no, sir.

      21          Q.    I appreciate that answer.          I was trying to

      22   make my question a little more limited.             I know you say

      23   you didn't know the data you received, that you were to

      24   input -- maybe I tell you what.           Let me back up and try

      25   to make a clear record on what you were doing.               You


                                            148

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 148 of 192 PageID #:
                                    17021
           September 19, 2011/Buttram/Direct

       1   would get data from Mr. Williams from time to time,

       2   right?

       3          A.    Yes, sir, on a monthly basis.

       4          Q.    Who was Mr. Williams with?

       5          A.    Mr. Williams was with the TVA Environmental

       6   Engineering.

       7          Q.    You would take that information and manually

       8   yourself put it into a spreadsheet, electronic

       9   spreadsheet, right?

      10          A.    Yes, sir, it was a program within an Excel

      11   spreadsheet that Geosyntec designed.

      12          Q.    I have heard that referred to as a warning

      13   system.     Have you ever heard that type description used

      14   for the Geosyntec spreadsheet?

      15          A.    No, sir, I haven't heard that description used

      16   for it at all.

      17          Q.    The information in the spreadsheet was put

      18   there to let the people reviewing it know whether water

      19   was building up behind the dikes or within the dikes,

      20   correct?

      21          A.    I think initially it was created to help them

      22   understand the water flow while they were doing the

      23   repairs, allow them to see if the water was being pulled

      24   down low enough so they could start the repair not

      25   underwater.      Then after they made the repair, it was


                                            149

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 149 of 192 PageID #:
                                    17022
           September 19, 2011/Buttram/Direct

       1   left in place to be used as monitoring.

       2          Q.    And the repair you are talking about followed

       3   the blowout that occurred in 2006, right?

       4          A.    Yes, sir, that would be correct.

       5          Q.    Okay.    You know this monitoring is going on to

       6   provide information to avoid another similar blowout?

       7          A.    I believe the information was used not just in

       8   reference to that, but it was just data that was there

       9   so you have the extra data that's continued to take it

      10   and utilize it.

      11          Q.    And you input that once a month into the

      12   spreadsheet and it would come out on a graph?

      13          A.    Yes, sir.

      14          Q.    And it would have different arrows to show

      15   whether or not water was building up too high within the

      16   dikes?

      17          A.    Yes, once I inputted the data, it would plot

      18   out on a chart.

      19          Q.    It was color coded so if you had a reading in

      20   the red, what would that tell you?

      21          A.    A reading in the red would mean that a

      22   piezometer was showing water over the ground surface,

      23   above the ground surface.

      24          Q.    Now, let's talk about at the time going back

      25   now with that background of you inputting data into the


                                            150

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 150 of 192 PageID #:
                                    17023
           September 19, 2011/Buttram/Direct

       1   Geosyntec well monitoring and piezometer system.                Do you

       2   remember seeing well points on the north side of the

       3   dike, the dike that failed, the dredge cells that

       4   failed, when you were out there on October 20th, 2008?

       5          A.    Yes, sir, I saw the well points out there.

       6          Q.    And one of the well points that you saw had

       7   been closed off for the purpose of an inspection to take

       8   place, right?

       9          A.    Yes, sir.     A week before -- normally before

      10   their monthly data gathering they would try to close the

      11   valves on the dewatering wells.

      12          Q.    You went and looked at a particular well on

      13   the north side didn't you?

      14          A.    As we were inspecting we came upon the wells,

      15   one in particular.

      16          Q.    If you would, I apologize.          Had you completed

      17   your answer, sir?

      18          A.    Yes, sir.

      19          Q.    Tell the Court what you saw, when you looked

      20   at the well that had been closed off for monitoring

      21   purposes?

      22          A.    The dewatering wells when you close the valve

      23   they were allowed to drain freely down the slopes.                 When

      24   you closed their valves the water pressure would build

      25   up and they would overflow out the top.             The dewatering


                                            151

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 151 of 192 PageID #:
                                    17024
           September 19, 2011/Buttram/Direct

       1   wells were used for that purpose of dewatering the area.

       2   They were screened about 20 feet below which could cause

       3   in some instances some artesian effect which is having a

       4   water pocket under somewhat of an impermeable area.

       5   These watering wells cannot be used to monitor the

       6   groundwater surface.

       7          Q.    What is phreatic pressure?

       8          A.    Phreatic pressure?

       9          Q.    Yes.

      10          A.    Your phreatic surface is just the groundwater

      11   surface you have flowing under the ground.

      12          Q.    And a phreatic water level in the dikes would

      13   tell you the level of the water that was in the dike,

      14   within the dike, wouldn't it?           It would tell you how

      15   high that is, correct?

      16          A.    Yes, sir, could monitor that with certain

      17   instruments of which we use the drive-point piezometers

      18   out there, but we didn't use the well points.               It

      19   specifically states on the program that I have that

      20   these wells were not to be used for monitoring the

      21   groundwater.

      22          Q.    All right.     You are getting way ahead of me.

      23   I'm trying to catch up with you now.             The piezometers

      24   that you use, when those are overflowing, those tell you

      25   that the phreatic surface or water within the dikes is.


                                            152

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 152 of 192 PageID #:
                                    17025
           September 19, 2011/Buttram/Direct

       1   When the piezometers are overflowing, it tells you you

       2   are at a critical level, right?

       3          A.    Yes, sir, if I saw a Piezometer overflowing I

       4   would expect to be seeing it coming out the dike.                That

       5   wasn't there.

       6          Q.    I am not saying what you saw or didn't saw.                I

       7   am trying to talk about in general terms what it means

       8   when you have a piezometer which is pipe going down in

       9   the ground built a certain way to let you measure water.

      10   When you see that water coming out of it, it tells you

      11   it's a warning that our phreatic level is approaching

      12   saturation, correct?

      13          A.    Yes, sir.

      14          Q.    All right.     Now, from what I gather you don't

      15   believe the same is true with respect to wells, is that

      16   right?

      17          A.    For these dewatering wells that were out

      18   there, no, sir, I don't believe they were with that

      19   respect.

      20          Q.    But yet you all have listed wells to be

      21   monitored on the two exhibits that you created, 1552 and

      22   186, to be monitored on a monthly basis?

      23          A.    Yes, sir, we had the instruments there.             We

      24   went ahead to grab the extra data, but not to be used in

      25   the sense of monitoring the groundwater level.


                                            153

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 153 of 192 PageID #:
                                    17026
           September 19, 2011/Buttram/Direct

       1          Q.    And the well point photo that you took, do you

       2   recall where that was taken in your report?               We can get

       3   that out, if we need to.         I want to make that clear on

       4   the record.      Do you remember where that was?

       5          A.    I can't recall exactly where along the west

       6   dike it was.

       7          Q.    It was on the west dike though?

       8          A.    Yes, sir.

       9          Q.    Now, to make the record clear, you didn't know

      10   whether or not any data was being inputted from

      11   monitoring wells on the north part of the dike, did you?

      12          A.    From my role and responsibility in the

      13   spreadsheet that Geosyntec created, that did not include

      14   the monitoring wells on the north side.

      15          Q.    I want to ask you if you would look at -- I

      16   have a couple of housekeeping matters here before I

      17   finish this line of questioning.            I would like to, if

      18   you would, please, just take a minute and see if you can

      19   identify Exhibits 3609, 606, and 1585.             Have you had a

      20   chance to look at those?

      21                      (Exhibit Nos. P-3609, 606, 1585

      22                      were marked for identification.)

      23          A.    Yes, sir, 3609, 606 and 1585?

      24          Q.    Right.    Let's start with 606.         Can you

      25   identify that for the record?


                                            154

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 154 of 192 PageID #:
                                    17027
           September 19, 2011/Buttram/Direct

       1          A.    Yes, sir, this would be the output you would

       2   see after entering the raw data that is received from --

       3          Q.    Offer Plaintiff's Exhibit 606, Your Honor.

       4                      MR. MARQUAND:       No objection.

       5                      THE COURT:     So admitted.

       6                      (Exhibit No. P-606 was received in

       7                      evidence.)

       8   BY MR. FRIEDMAN:

       9          Q.    Can you explain for us with the page that you

      10   have there in front of you what this exhibit is and how

      11   you use it as part of your duties at TVA?

      12          A.    I wouldn't actually input data into the sheet

      13   you see in front of you.         This is just the output that

      14   is created from the data.          It reads information from

      15   another worksheet in that spreadsheet.

      16          Q.    After you manually put in data into the

      17   program, this is one of the things that is produced?

      18          A.    Yes, sir.

      19          Q.    Can you identify Exhibit 1585 for the record.

      20          A.    1585 looks to be a sheet with the directions.

      21   It also has the worksheet tab of where the data, the raw

      22   data would have been entered.

      23          Q.    You would, this would be the program set up by

      24   Geosyntec on which you could electronically enter the

      25   data provided to you by Mr. Williams, is that correct?


                                            155

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 155 of 192 PageID #:
                                    17028
           September 19, 2011/Buttram/Direct

       1           A.   Yes, sir, most of these pages I am familiar

       2   with.     Some of them in the back -- just with not seeing

       3   it all in one sheet, it's hard to tell if they are all

       4   from that program.

       5           Q.   If we printed it out, it would reach from one

       6   side of the courtroom to the other.            We had to break it

       7   up.     These are all data points that would be entered

       8   manually, is that right?

       9           A.   Yes, sir.

      10           Q.   When you entered, for example, in the very

      11   back of the exhibit if you would go to like the fourth

      12   page from the back.        You see that spreadsheet.         You will

      13   see entries.      There are entries on this sheet.           Many of

      14   them would say, "dry."         Do you see that?

      15           A.   Yes, sir.

      16           Q.   Would you manually input a designation that

      17   would say dry?

      18           A.   Yes, sir, I would.        You have to put dry, if no

      19   data was received from that piezometer.

      20           Q.   Would that apply to a piezometer that was

      21   broken, for example, that you got no data on?

      22           A.   Yes.

      23           Q.   Okay.    So you would be entering designations

      24   as dry for piezometers that in actuality weren't

      25   functioning?


                                            156

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 156 of 192 PageID #:
                                    17029
           September 19, 2011/Buttram/Direct

       1           A.   Yes, sir, for the program to work you had to

       2   enter "dry," if no data was received for a piezometer.

       3                      MR. FRIEDMAN:       Offer Plaintiff's Exhibit

       4   1585.

       5                      MR. MARQUAND:       No objection.

       6                      THE COURT:     So admitted.

       7                      (Exhibit No. P-1585 was received

       8                      in evidence.)

       9   BY MR. FRIEDMAN:

      10           Q.   Would you identify Plaintiff's Exhibit 3609

      11   for the record, please.

      12           A.   Did you want me to read it?

      13           Q.   Would you identify it?

      14           A.   This is an e-mail from Matt Williams from

      15   November, it's the November, 2008 readings.

      16           Q.   This would be the data in Exhibit 3609 that

      17   you would enter into Exhibit 1585?

      18           A.   Yes, sir, that is correct.

      19                      MR. FRIEDMAN:       Now, this exhibit which we

      20   would offer, Plaintiff's Exhibit 3609, Your Honor.

      21                      THE COURT:     So admitted.

      22                      MR. MARQUAND:       Your Honor, he has only

      23   identified the first page.          We ask -- there is two other

      24   documents attached to that first page.             There has been

      25   no identification of those documents.


                                            157

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 157 of 192 PageID #:
                                    17030
           September 19, 2011/Buttram/Direct

       1                      THE COURT:     You want to identify those?

       2   BY MR. FRIEDMAN:

       3          Q.    Can you identify the information that is

       4   contained in addition to the e-mail?

       5          A.    These two Excel spreadsheets attached were the

       6   raw data.     It was raw data that was sent to me.             I

       7   utilized the KIF dredge cell piezometers I believe is

       8   the ones I would input into the Geosyntec.

       9          Q.    You received this and manually input it in

      10   Exhibit 1585 in the ordinary course of your business and

      11   responsibilities at TVA, correct?

      12          A.    Yes, sir.

      13                      MR. FRIEDMAN:       Offer 3609 at this time.

      14                      MR. MARQUAND:       No objection.

      15                      THE COURT:     So admitted.

      16                      (Exhibit No. P-3609 was received

      17                      in evidence.)

      18   BY MR. FRIEDMAN:

      19          Q.    Let's look at the date on this exhibit.               It's

      20   dated December 18th, 2008, is that right?

      21          A.    Yes, sir, that is correct.

      22          Q.    And that was provided to you by Matt Williams?

      23          A.    Yes, sir.

      24          Q.    Mr. Buttram, where were you on Thursday,

      25   December 18th?       Were you working in the office then?


                                            158

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 158 of 192 PageID #:
                                    17031
           September 19, 2011/Buttram/Direct

       1          A.    I can't exactly recall, but to my knowledge I

       2   should have been in the office.

       3          Q.    Was this information provided to you late?

       4          A.    I can't recall exactly the date I would

       5   receive the monthly information.            I can't say that if it

       6   was late how late it would have been.

       7          Q.    It says here in the first line, "sorry for the

       8   delay."     You see that?

       9          A.    Yes, sir.

      10          Q.    "I have been holding on this until Paul Smith

      11   got another chance to investigate the site.               You will

      12   notice several piezometers from the KIF piezometers and

      13   well points that do not have any information and it says

      14   (blacked out)." Did I read that correctly?

      15          A.    Yes, sir.

      16          Q.    Does that help refresh your recollection as to

      17   what was going on at the time?

      18          A.    Somewhat, yes, sir.

      19          Q.    Tell us what was going on then.

      20          A.    Well, just by reading the e-mail they seem to

      21   be late because they wanted to go back and get a better

      22   understanding which ones were destroyed to keep better

      23   track so we could get them repaired.

      24          Q.    What did do you then when you received this

      25   information?      Did you input it?


                                            159

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 159 of 192 PageID #:
                                    17032
           September 19, 2011/Buttram/Direct

       1          A.    The information for the destroyed --

       2          Q.    Just the information that they did provide to

       3   you?

       4          A.    Yes, sir, I can't say I input it exactly that

       5   day, but within a couple of days I would.

       6          Q.    I am sorry.      I am not meaning to talk over

       7   you.     I apologize.     Were you finished?       You said, I

       8   think I heard you say you did it in a couple of days?

       9          A.    I would try to do it within a couple of days,

      10   yes, sir.

      11          Q.    Do you know if you inputted this information

      12   that is represented in Exhibit 3609 prior to the dike

      13   failure on December 22, 2008?

      14          A.    I can't recall if I input it before the dike

      15   failure or not.

      16          Q.    Did you do any type of analysis of the

      17   information, when you put it in?

      18          A.    No, sir, there is no analysis required beyond

      19   inputting the data and checking the levels on the chart.

      20          Q.    Did you during your time inputting data did

      21   you ever have any red flags or have any points in the

      22   red area showing that the dikes were saturated with

      23   water?

      24          A.    The time that I had entered it there were no

      25   piezometers that entered into the red zone.


                                            160

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 160 of 192 PageID #:
                                    17033
           September 19, 2011/Buttram/Direct

       1          Q.    Mr. Buttram, why would anyone after the dike

       2   failure and the disaster in December 22, 2008, why would

       3   anyone want to go back in and alter the Geosyntec forms

       4   that would tell you whether or not you had a reading in

       5   the red?     Do you know?

       6          A.    No, sir.     I am not sure.      I don't recall that

       7   being done.

       8          Q.    Well, why would you ask Geosyntec for the

       9   password to their program so you could go back in and

      10   mess with it or alter it?

      11          A.    The well points that I have stated which were

      12   not in regards to monitoring the water level, as can be

      13   seen on the output, since they were showing in the red

      14   just to add more clarity to the chart we wanted to

      15   remove the well points.         Those well points could be

      16   removed without a password.

      17          Q.    Let's see if I got this right.           After the dike

      18   failure on December 22, 2008, you were going back into

      19   the spreadsheets trying to take out readings where your

      20   wells were showing red or warnings, is that what you

      21   were doing?

      22          A.    No, sir, they were not showing warnings.              If

      23   they had been showing warnings, I would have alerted the

      24   people at the time.

      25          Q.    They were showing wells in the red weren't


                                            161

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 161 of 192 PageID #:
                                    17034
           September 19, 2011/Buttram/Direct

       1   they?

       2           A.   If we can go to Exhibit 606 I would like to

       3   refer you to the note at the bottom.

       4           Q.   Okay.    You can refer me to that.

       5           A.   "Under the site specific condition the well

       6   points may indicate equipotential levels higher than the

       7   ground surface and should not be compared against the

       8   water level thresholds, i.e., color of water level

       9   legend."

      10                These wells were screened 20 feet to 25 feet

      11   in the ground to whereas the piezometers were screened 5

      12   feet below grade surface.          This program was set up to

      13   monitor the piezometers.         After the failure these well

      14   points could make some of the readings hard to see for

      15   the piezometers.       To get better clarity on the chart, we

      16   took the well points out.

      17           Q.   It wouldn't just make readings hard to see.

      18   They would make the evidence hard to live with, wouldn't

      19   they, Mr. Buttram?

      20           A.   No, sir.

      21           Q.   You had documents that said, Exhibits 1552 and

      22   186, that said you are responsible for monitoring wells

      23   and piezometers in a document you created.              Wells were

      24   monitored and in fact you never thought to take them out

      25   of your spreadsheet until after the disaster.               Then you


                                            162

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 162 of 192 PageID #:
                                    17035
           September 19, 2011/Buttram/Direct

       1   went and asked for Geosyntec to give you the password

       2   that no one at TVA was supposed to have to go back and

       3   change the evidence.        That is what happened, isn't it?

       4          A.    No, sir.     I told you what happened.

       5          Q.    Let me show you Exhibit 1584.           Do you recall

       6   getting this e-mail?        While you are doing that, if you

       7   would, look at Exhibit 1555.           1555 I believe comes first

       8   in chronological order.         It is an e-mail to you from

       9   Jamey Dotson dated Saturday January 3rd, 2009.

      10                Now, at this point in time that was a hectic

      11   time for your department following the dike disaster,

      12   wasn't it, Mr. Buttram?

      13                      (Exhibit Nos. P-1555, P-1584 were

      14                      marked for identification.)

      15          A.    Sorry.     I was reviewing the documents.

      16          Q.    January 9th, or January 3rd, it's right after

      17   the new year.      Of course, it follows the December dike

      18   failure.     That was a very busy time for you in your

      19   department, wasn't it?

      20          A.    Yes, sir, it was.

      21          Q.    You all had been working nonstop, weren't you?

      22          A.    Yes, sir, we were working diligently to

      23   remediate.

      24          Q.    And you got an e-mail from Jamey Dotson to

      25   tell you, "Chris, you still have one well point showing


                                            163

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 163 of 192 PageID #:
                                    17036
           September 19, 2011/Buttram/Direct

       1   in red in August of 2008.          Doesn't this need to be

       2   removed?      I believe this should only show the well

       3   points."

       4                 According to him he is writing to you about

       5   taking out well points that are reading in red.                Is that

       6   the way he's writing you?

       7          A.     Sir, I cannot recall what this e-mail was

       8   referring to at the time.          No, sir, I do not believe he

       9   was asking me to remove anything.

      10          Q.     "You still have one well point showing in the

      11   red in August of 2008."         Do you remember taking out well

      12   points that read, that indicated readings in the red?

      13          A.     As I have explained already, the time that I

      14   took out the well points was just to give clarity.                 I do

      15   not recall -- we didn't remove well points out of the

      16   red just so there was nothing in the red.

      17          Q.     Okay.   Whatever your motivation for doing it,

      18   it was taken out.       Can we agree on that?

      19          A.     No, sir, based on this e-mail I can't say I

      20   took anything out from it.

      21          Q.     Let's look at the next e-mail.          I think it

      22   might help you.       That is an e-mail of a couple of days

      23   later.      I guess at top of the sheet there as an e-mail

      24   from you dated Thursday, January 8th, 2009 to

      25   Mr. Richard Christian and a Ronald Hall.              Do you see


                                            164

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 164 of 192 PageID #:
                                    17037
           September 19, 2011/Buttram/Direct

       1   that?

       2           A.   Yes, sir.

       3           Q.   What are you providing, what form of

       4   information are you providing to them?

       5           A.   It looks like I am providing a spreadsheet, a

       6   password for a spreadsheet.            I am not certain to what

       7   extent this was for.

       8           Q.   Well, if you look down under it it says,

       9   "Hello, Chris."       This is from Geosyntec to you.           "The

      10   password to unlock the groundwater monitoring sheet is

      11   'geosyntec' typed in lower case.            You will also need to

      12   unhide and unlock the three data calculation

      13   spreadsheets."       You don't remember getting this from

      14   Geosyntec?

      15           A.   I do remember corresponding with them.             Yes, I

      16   remember the e-mails.        I don't have a for sure

      17   recollection of what this e-mail was intending.

      18           Q.   And you have no idea what you were asking for

      19   on January 7th, what you were asking for this password

      20   for?

      21           A.   Yes, sir, I knew why I needed the password.

      22           Q.   Now we are getting somewhere.           You needed the

      23   password to get into this program to take out the well

      24   points, fair enough?

      25           A.   Yes, sir.


                                            165

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 165 of 192 PageID #:
                                    17038
           September 19, 2011/Buttram/Direct

       1                      MR. FRIEDMAN:       Your Honor, I may be

       2   through if I can have a minute to confer.              Can we take

       3   an afternoon break now?

       4                      THE COURT:     Why don't we take our

       5   afternoon break then you can finish up if you need,

       6   otherwise we'll come back with examination by the TVA.

       7   We'll take our afternoon recess of 15 minutes.

       8                      (Off the record.)

       9                      (Back on the record.)

      10                      THE COURT:     Mr. Friedman, anything

      11   further?

      12                      MR. FRIEDMAN:       I have a different line of

      13   questioning and some housekeeping matters on exhibits,

      14   may it please the Court.

      15                      I had clipped three exhibits together and

      16   I believe Mr. Buttram looked at all three of them.                 I

      17   want the record to be clear.           I want to offer them.

      18   Exhibit, Plaintiff's Exhibit 3609 was an e-mail dated

      19   December 18th, 2008.        I questioned Mr. Buttram on the

      20   information that was provided to him by Matt Williams.

      21   The information that I had clipped to that e-mail is

      22   actually two separate exhibit numbers.

      23                      If I may ask the witness to review those

      24   and confirm that those are the information that was

      25   provided to him by Mr. Williams along with the e-mail.


                                            166

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 166 of 192 PageID #:
                                    17039
           September 19, 2011/Buttram/Direct

       1   We would offer Exhibits 3610, and 3611.             I don't believe

       2   there is objection to it.

       3                      (Exhibit Nos. P-3610, 3611 were

       4                      marked for identification.)

       5                      MR. MARQUAND:       If the witness can identify

       6   each one, that would be great.           We would not object at

       7   that point.

       8   BY MR. FRIEDMAN:

       9           Q.   I guess what we need you to do is to look at

      10   those two exhibits.        Can you find them?       They were

      11   attached to the memo you were talking about, we were

      12   discussing.      I believe they are attached.

      13                      THE COURT:     It might be with 3609, if you

      14   have 3609 pulled.

      15                      THE WITNESS:      My 3609 only has three

      16   copies of 3609 with just one sheet.

      17   BY MR. FRIEDMAN:

      18           Q.   Then if you would, please, look at 3610 and

      19   3611.    I believe that was the information that

      20   Mr. Williams forwarded.         We need you to confirm that, if

      21   would, please, sir.

      22                Your Honor, while he's looking at that, the

      23   plaintiffs would offer Exhibits 1555 and 1584.               Those

      24   are the e-mails between Mr. Buttram and Mr. Dotson and

      25   the representative of Geosyntec.


                                            167

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 167 of 192 PageID #:
                                    17040
           September 19, 2011/Buttram/Direct

       1                      THE COURT:     1555 and 1584, any objection?

       2                      MR. MARQUAND:       No objection to 1584.       No

       3   objection to 1555.

       4                      (Exhibit Nos. P-1584, 1555 were

       5                      received in evidence.)

       6                      THE COURT:     Both those are admitted.         Now

       7   we are looking at 3610 and 3611.

       8                      THE WITNESS:      I cannot locate 3610 or

       9   3611.

      10   BY MR. FRIEDMAN:

      11           Q.   Mr. Buttram, this Exhibit 3609, it does

      12   reference that there are two attachments with it, does

      13   it not, in the attachment portion of the e-mail?                You

      14   see that?

      15           A.   Yes, sir, that is correct.

      16           Q.   And typically the attachments you would

      17   receive would show up as the appearance of graphs?

      18           A.   These attachments would have the raw data in

      19   them, but they would have charts within the spreadsheets

      20   as well.

      21           Q.   Mr. Buttram, if you would, identify for the

      22   record the two exhibits that have been handed you, 3610

      23   and 3611.     Tell us if those are the two attachments that

      24   accompanied the e-mail you received from Matt Williams

      25   on December 18, 2008.


                                            168

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 168 of 192 PageID #:
                                    17041
           September 19, 2011/Buttram/Direct

       1          A.     These appear to be the attachments that I

       2   received for the monthly reading of November, 2008.

       3                      MR. FRIEDMAN:       Thank you.

       4                      MR. MARQUAND:       No objection to 3610 or 11.

       5                      THE COURT:     So admitted.

       6                      (Exhibit Nos. P-3610, 3611 were

       7                      received in evidence.)

       8   BY MR. FRIEDMAN:

       9          Q.     Mr. Buttram, we have covered a lot of ground

      10   today.      I am about to wrap up.       I need to ask you, if I

      11   could, sir, do you remember speaking with a man who has

      12   been identified as an expert in this case for TVA?                 His

      13   name is William Walton or Bill Walton.              Do you remember

      14   speaking with him?

      15          A.     Yes, sir, I have spoke with him.

      16          Q.     And he has talked to you on occasions about

      17   what you saw out there at the Kingston facility during

      18   your October inspection, correct?

      19          A.     Yes, sir.    We have had discussions on the

      20   inspection.

      21          Q.     And at one point Mr. Walton sent you an

      22   e-mail, I believe, and if you would look at Exhibit 196

      23   and tell us if that is the e-mail you received or a copy

      24   of the e-mail you received from Mr. Walton.

      25                      (Exhibit No. P-196 was marked for


                                            169

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 169 of 192 PageID #:
                                    17042
           September 19, 2011/Buttram/Direct

       1                      identification.)

       2          A.    Yes, sir.     I recall receiving this e-mail.

       3          Q.    This is an e-mail dated Saturday, June 20th,

       4   2009, from Mr. Bill Walton to yourself, Jamey Dotson,

       5   and others at TVA, is that right?

       6          A.    Yes, sir, that is correct.

       7          Q.    And the subject of the e-mail is your October

       8   2008 inspection, correct?

       9          A.    Yes, sir.

      10          Q.    And the subject of this e-mail is some

      11   questions that TDEC had about the pictures from the

      12   inspection, did I state that right?

      13          A.    Yes, sir, that's correct.          There were I

      14   believe two or three pictures they referenced.

      15          Q.    Do you remember what pictures were referenced?

      16          A.    No, sir, I believe there is an e-mail that

      17   specifies the time stamp of which pictures they were

      18   referring to.

      19          Q.    The point of Mr. Walton's question to you in

      20   this June 20th, 2009, e-mail that I would like to ask

      21   you about is in the very last sentence beginning with

      22   "again."     It says "again, we did not see from your

      23   photos and inspection report that there was visible or

      24   spoken evidence of slides, sloughs or subsidence."                 Did

      25   I read that correctly?


                                            170

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 170 of 192 PageID #:
                                    17043
           September 19, 2011/Buttram/Direct

       1          A.    Yes, sir.

       2          Q.    And then if you turn the page of Exhibit 196

       3   there is a follow-up e-mail to the group, the TVA group,

       4   from Jamey Dotson asking "did anyone respond to Bill

       5   Walton's inquiry?"        Do you see that?

       6          A.    Yes, sir.

       7          Q.    And following that you took it upon yourself

       8   to call him to respond, remember?

       9          A.    Yes, sir.

      10          Q.    And if you turn the page, I guess if you turn

      11   to the fourth page you see something from Mr. Snider.

      12   Does that reference the photo that was the subject of

      13   your conversation with Bill Walton?

      14          A.    Yes, our conversation was a discussion of this

      15   TDEC matter, his review of our report.

      16          Q.    Did it involve any of the photographs from the

      17   north dredge cell?

      18          A.    The photos in the TDEC e-mail I don't believe

      19   referenced any from the north dredge cell.

      20          Q.    When Mr. Walton asked you and your group for

      21   confirmation that there were no visible or spoken

      22   evidence of slides, sloughs or subsidence, was his

      23   question based on the photograph that is reflected here

      24   pertaining only to the south side of the dike?

      25          A.    Sorry, I can't recall the exact conversation,


                                            171

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 171 of 192 PageID #:
                                    17044
           September 19, 2011/Buttram/Direct

       1   what all photos were discussed.           I know the three in

       2   question here would have been discussed, but beyond that

       3   I am not exactly for sure which photos in general were

       4   discussed.

       5          Q.    If you turn the page you actually confirmed

       6   for Mr. Walton his request, didn't you?

       7          A.    Yes, sir, based on our conversation.

       8          Q.    If you would, look at Exhibit 2894.            That is

       9   dated Monday, June 22nd, and you are telling the rest of

      10   the people in your group that you just spoke with Bill

      11   on the phone and you discussed his e-mail, right?

      12                      (Exhibit No. P-2894 was marked for

      13                      identification.)

      14          A.    Yes, sir.

      15          Q.    And did you confirm for him that on your

      16   October inspection that your group did not see any

      17   evidence of slides, sloughs or subsidence?

      18          A.    I can just go with what this e-mail says.              I

      19   mean, we had a conversation, of course.             I can't recall

      20   the exact what was said in that conversation.               This

      21   confirmation was based on a conversation we had.                I

      22   can't recall that conversation to this date.

      23          Q.    So you have no recollection of the substance

      24   of the conversation?

      25          A.    Yes, sir.


                                            172

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 172 of 192 PageID #:
                                    17045
           September 19, 2011/Buttram/Direct

       1          Q.     All right.    There is and we know from Exhibit

       2   189 and the way points that were recorded by Jamey

       3   Dotson, there is at least four references to slough

       4   conditions, referencing slough out there at the time of

       5   your inspection.       One of the references to slough is as

       6   to the north dike that collapsed, correct?

       7          A.     Mr. Dotson does have the description of

       8   slough.      I can't come confirm his definition of a

       9   slough.

      10          Q.     Because you all never went over a definition.

      11   We understand all that.         The references are in the

      12   document.      The point of my question is this.           Did you

      13   ever make that information known to Mr. Walton at the

      14   time he was making his inquiry here?

      15          A.     Mr. Walton was welcome to all information out

      16   there.      I can't say at this time we discussed these

      17   points in general.

      18          Q.     Now, when you, and I am wrapping his up, when

      19   you first put your report together did you ever attempt

      20   to make it appear that you had prepared your inspection

      21   report for the stability of the Kingston dikes before

      22   the failure of the dikes occurred?

      23          A.     Could you state that again.         I am sorry.      I

      24   misunderstood the question.

      25          Q.     If you would, look at Plaintiff's Exhibit 185.


                                            173

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 173 of 192 PageID #:
                                    17046
           September 19, 2011/Buttram/Direct

       1   Do you recognize that page?

       2                      (Exhibit No. P-185 was marked for

       3                      identification.)

       4          A.    Yes, sir, I do.

       5          Q.    Read that statement into the record, please:

       6          A.    "Subsequent to the inspection and the writing

       7   of this report catastrophic failure at the north end of

       8   the dredge cells occurred.          The cause of the failure is

       9   currently under investigation."

      10          Q.    Now, that statement is incorrect, isn't it?

      11          A.    Yes, sir, that is an incorrect statement.

      12          Q.    Who corrected it?

      13          A.    After one of the reviews it was noted, found

      14   that it was written in the wrong context.

      15          Q.    Wrong context being you didn't write your

      16   report until after the dike failure, did you?

      17          A.    Correct.     The report was written after the

      18   dike failure.

      19                      MR. FRIEDMAN:       Plaintiffs would offer

      20   Exhibits 196 and 2894, representing the Walton memos.

      21                      THE COURT:     Any objection?

      22                      MR. MARQUAND:       No objection to 196.       I

      23   didn't hear the other numbers.

      24                      THE COURT:     2894.

      25                      MR. FRIEDMAN:       2894.


                                            174

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 174 of 192 PageID #:
                                    17047
           September 19, 2011/Buttram/Cross

       1                      MR. MARQUAND:       No objection to 2894.

       2                      THE COURT:     So admit both documents.

       3                      (Exhibit Nos. P-196, 2894 were

       4                      received in evidence.)

       5                      MR. FRIEDMAN:       The final exhibit is 166

       6   which is a page from the draft -- 185, I apologize.

       7                      THE COURT:     185?

       8                      MR. FRIEDMAN:       Yes, Your Honor.

       9                      MR. MARQUAND:       No objection to Plaintiff's

      10   Exhibit 185.

      11                      THE COURT:     So admitted.

      12                      (Exhibit No. P-185 was received in

      13                      evidence.)

      14                      MR. FRIEDMAN:       Nothing further, Your

      15   Honor.

      16                      THE COURT:     Thank you, cross-examination.

      17                            CROSS EXAMINATION

      18                      MR. MARQUAND:       May it please the Court,

      19   Brent Marquand for defendant TVA.

      20                      THE COURT:     Thank you.     You may proceed.

      21   BY MR. MARQUAND:

      22          Q.    Mr. Buttram, you were asked about the July 8th

      23   2009, interview that you participated in that was

      24   conducted by two individuals from TVA's Office of

      25   Inspector General.        Was there a transcript of that


                                            175

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 175 of 192 PageID #:
                                    17048
           September 19, 2011/Buttram/Cross

       1   interview?

       2          A.    No, sir, not that I am aware.

       3          Q.    Was it recorded?

       4          A.    Not that I am aware of.

       5          Q.    Were you provided a copy of a statement to

       6   review?

       7          A.    No, sir.

       8          Q.    I would like to direct your attention to

       9   Plaintiff's Exhibit I believe it's 189.             I believe

      10   during your testimony you said there was some confusion

      11   about some of the numbers.          189, can you tell us what it

      12   is again, please?

      13          A.    Yes, sir, if you look on the second page and

      14   you look to the far left at the row of numbers --

      15          Q.    Tell me, what is 189?

      16          A.    189 is the way points that Jamey Dotson sent

      17   to me after the inspection.

      18          Q.    And Column A is what?

      19          A.    Column A is the location and date.

      20          Q.    And so rows, 2 through 20 are what location?

      21          A.    Looking at the spreadsheet, they would be for

      22   Widow's Creek.

      23          Q.    Does that have anything to do with your

      24   October 20th, 2008 inspection?

      25          A.    No, sir, those way points would not be for


                                            176

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 176 of 192 PageID #:
                                    17049
           September 19, 2011/Buttram/Cross

       1   Kingston.

       2          Q.    And which way points have anything to do with

       3   the Kingston inspection?

       4          A.    The Kingston inspection would be rows 21

       5   through 30.

       6          Q.    Were they designated as certain way point

       7   numbers?

       8          A.    Yes, sir, column B has the way point number.

       9          Q.    So, way point number 20 is in which row?

      10          A.    Way point 20 corresponds to row 21.

      11          Q.    Is that the confusion you were taking about?

      12          A.    Yes, sir, if you move to the next page there

      13   is no way for me to tell if the row number specified on

      14   page 3 were the actual way point numbers.

      15          Q.    Row 20 is not a Kingston way point?

      16          A.    If the row numbers correspond to each other,

      17   yes, sir, row 20 would not be a Kingston way point.

      18          Q.    Counsel asked you to count how many or

      19   actually I think he asked you and said are there four

      20   sloughs shown here on the Kingston way points, is that

      21   correct?

      22          A.    From what I recall, yes, sir.

      23          Q.    Look at this and tell me.

      24          A.    Yes, if row 20 is included, that would be.

      25          Q.    I thought row 20 would be a Widow's Creek way


                                            177

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 177 of 192 PageID #:
                                    17050
           September 19, 2011/Buttram/Cross

       1   point?

       2          A.    If row 20 is excluded, which it should be for

       3   Widow's Creek, there would be three mentioned.

       4          Q.    Now, I heard you say something about an

       5   AutoCAD drawing with respect to these, right?

       6          A.    Yes, sir, when I began preparing for my report

       7   I tried to, I placed these way points on to an AutoCAD

       8   drawing of the dredge cell to give me a reference of the

       9   positioning of where these were located.

      10          Q.    And I am going to show you a page out of

      11   Plaintiff's Exhibit 192.         It's identified as TVK-278219.

      12   Can you tell us what that page is?

      13          A.    Yes, sir, that looks to be the AutoCAD drawing

      14   which is a topographic map of the dredge cell that has

      15   the way points plotted.

      16          Q.    And how are the way points indicated on that

      17   particular AutoCAD drawing?

      18          A.    Way points are indicated by a circle with the

      19   cross through it and it has the number and description

      20   under it.

      21          Q.    Did you add the circles during your

      22   deposition?

      23          A.    Yes, sir, the colored circles were added

      24   during my deposition.

      25          Q.    All right.


                                            178

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 178 of 192 PageID #:
                                    17051
           September 19, 2011/Buttram/Cross

       1                      MR. MARQUAND:       Your Honor, we would tender

       2   page TVK-278219 out of Plaintiff's Exhibit 192 at this

       3   time.

       4                      THE COURT:     So admitted.

       5                      MR. FRIEDMAN:       No objection.

       6                      THE COURT:     So admitted.

       7                      MR. MARQUAND:       That should be TVA Exhibit

       8   193.

       9                      (Exhibit No. D-193 was received in

      10                      evidence.)

      11   BY MR. MARQUAND:

      12           Q.   Mr. Buttram, when you wrote your report did

      13   you identify in your report any of the places that

      14   Mr. Dotson had noted in his way points as the sloughs?

      15           A.   In my report none of the way points that

      16   Mr. Dotson noted as sloughs, we didn't call them sloughs

      17   in the inspection report.          They were noted in the report

      18   as erosion areas.

      19           Q.   You didn't call them sloughs?

      20           A.   We didn't call them sloughs.

      21           Q.   I show you what you have previously testified

      22   to as Figure 8 in Plaintiff's Exhibit 191.              Is that one

      23   of the areas that was noted by Mr. Dotson in his way

      24   points as a slough?

      25           A.   Yes, sir, that is one of the areas that was


                                            179

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 179 of 192 PageID #:
                                    17052
           September 19, 2011/Buttram/Cross

       1   noted as a slough.

       2          Q.    What did you call it?

       3          A.    I called it an erosion washout.

       4          Q.    Did you have any training in erosion?

       5          A.    Yes, sir, my engineering experience prior to

       6   TVA at the other consulting firms that I worked at I

       7   received several training classes on erosion and

       8   sediment control, understanding water erosion, how it

       9   was caused and what it would do.

      10          Q.    Do you have any certifications in erosion?

      11          A.    I received Level 1 and Level 2 Tennessee

      12   Inspector certifications for erosion, GCI certification

      13   in Alabama, also had a Georgia 1B certification in

      14   Geogia, and also Thompson Engineering I at one time had

      15   a license as a CPES which is a Certified Professional

      16   Erosion and Sediment.

      17          Q.    I believe in your report you identified this

      18   as "erosion washout 2 feet by 20 feet long by two feet

      19   deep," is that correct?

      20          A.    Yes, sir, that is how it is stated in the

      21   report.

      22          Q.    When your report was peer reviewed by

      23   Mr. Albright, did anyone disagree with your

      24   characterization of that area as an area of erosion?

      25          A.    No, sir, I don't recall anybody having any


                                            180

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 180 of 192 PageID #:
                                    17053
           September 19, 2011/Buttram/Cross

       1   problems with just calling that an erosion area.

       2          Q.    Let me show you Page 7 of Plaintiff's 191.

       3   Did you identify those as areas of erosion?

       4          A.    Yes, sir, those areas were identified as just

       5   an erosion washout.

       6          Q.    Had Mr. Dotson identified those in his way

       7   points as sloughs?

       8          A.    Mr. Dotson identified it as a "slough road

       9   washout."

      10          Q.    And where in the area of the ash disposal

      11   facility was that particular photograph taken?               Can you

      12   point to it on this, on Plaintiff's Exhibit 193?

      13          A.    I believe it was somewhere in this.

      14          Q.    It was on the north dike?

      15          A.    I was on the north dike in this general area

      16   there.

      17          Q.    Okay.    Counsel asked you about whether or not

      18   there was erosion above or below this particular

      19   washout.     I have here a photograph which is from TVA

      20   Exhibit 34.      It is TVK-277812.       What is that area along

      21   above the washout.        Can you tell us --

      22                      (Exhibit No. D-34 was marked for

      23                      identification.)

      24          A.    That would be the bench.

      25          Q.    For the Court, for all of us, what is a bench?


                                            181

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 181 of 192 PageID #:
                                    17054
           September 19, 2011/Buttram/Cross

       1          A.    As these facilities are raised upstream they

       2   will create a bench level which is a flat/semiflat area

       3   usually sloped in so it can drain without washing over

       4   the sides.     These benches also allow vehicles to travel

       5   upon them around the facility.

       6          Q.    And I believe in your testimony that you said

       7   that it was something about this bench or something

       8   about the crest of this bench being tilted one way or

       9   another.     Can you explain that, please?

      10          A.    Yes, sir, for this erosion washout to happen,

      11   the bench was not properly sloped back into the toe.                    It

      12   was sloped a little bit back out towards the outer

      13   slope.

      14          Q.    It was sloped down from the --

      15          A.    I was sloped down, yes, sir, from the toe of

      16   the upper slope there.         If any rain occurred, it would

      17   all drain to this area and concentrate, which then would

      18   cause this erosion washout.

      19          Q.    Can we see the area where it is sloped down in

      20   this particular photograph?

      21          A.    It looks to be directly above that erosion

      22   area there.

      23                      MR. MARQUAND:       Your Honor, we tender

      24   TVK-277812, which is a part of TVA Exhibit 34.

      25                      MR. FRIEDMAN:       No objection.


                                            182

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 182 of 192 PageID #:
                                    17055
           September 19, 2011/Buttram/Cross

       1                      THE COURT:     So admitted.

       2                      (Exhibit No. D-34 was received in

       3                      evidence.)

       4   BY MR. MARQUAND:

       5          Q.    Now, I am going to show you the photograph

       6   looking the other direction on that particular feature.

       7   It is TVK-277811 of TVA Exhibit 34.            Is that looking

       8   down slope?

       9          A.    The picture is looking up the slope.

      10          Q.    Up the slope?

      11          A.    It's further down.

      12          Q.    I believe counsel asked you if you could see

      13   the continuation of the erosion.            Can you see it in this

      14   photograph?

      15          A.    I can see where the water has washed down and

      16   has turned the grass down some.           Directly from this

      17   picture you can't see the full bottom of the slope.                 You

      18   can see how the erosion carries on down to about the mid

      19   slope there.

      20          Q.    Is there any doubt in your mind, when you saw

      21   this feature, that this was erosion, as opposed to

      22   subsidence or a slide?

      23                      MR. FRIEDMAN:       Objection to leading.

      24                      THE COURT:     I will sustain the objection.

      25   BY MR. MARQUAND:


                                            183

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 183 of 192 PageID #:
                                    17056
           September 19, 2011/Buttram/Cross

       1          Q.    Did you see any evidence of any slides or

       2   subsidence in your inspection?

       3          A.    No, sir, there was no evidence of any slides

       4   or sloughs out there.        Everything that we saw was mainly

       5   erosion or where the water had concentrated and was

       6   causing a little bit deeper erosion.

       7          Q.    When you removed the word "immediately" from

       8   the drafts of your report with respect to the different

       9   features which you initially said should be repaired

      10   immediately, did that change the substance of your

      11   report?

      12          A.    No, sir, I did not believe it changed the

      13   substance of the report.         The word "immediately" at that

      14   time was for emphasis and at the writing of this report

      15   and submittal of it there was no emphasis for those

      16   specific areas at that time.

      17          Q.    Why not?

      18          A.    Because the failure had happened and there

      19   were other things being done at Kingston at that time.

      20   These repairs and maintenance would not have been able

      21   to be done.

      22          Q.    I wanted to ask you about your report, Exhibit

      23   191.    You were shown the very last page of it.             Can you

      24   tell us what that is?

      25          A.    Yes, sir.     That is a general sketch of the


                                            184

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 184 of 192 PageID #:
                                    17057
           September 19, 2011/Buttram/Cross

       1   area.    It is not to scale, but it is just used as a

       2   reference.     It had been used in prior reports to show

       3   the general location where photographs were taken during

       4   the inspection report.

       5           Q.   How accurate is this diagram with respect to

       6   the accuracy of the locations of the photographs?

       7           A.   The accuracy of this sketch is not very good

       8   because it doesn't have any of the bench levels around

       9   the dredge cell.       It has just kind of got some general

      10   lines to kind of give the border areas of anything.

      11   These pictures are in very approximate locations just to

      12   kind of point the person in the right direction.

      13           Q.   Let me show you Plaintiff's Exhibit 1552.

      14   This is the groundwater monitoring system process that

      15   you put together.       What was the, what groundwater was

      16   being monitored?

      17           A.   This document was created for the monitoring

      18   of the drive-point piezometers on the west dike.                We

      19   would have been monitoring the groundwater on the west

      20   dike.

      21           Q.   Were you attempting to monitor any other

      22   monitoring wells or holes in the ground anyplace else

      23   besides the west dike?

      24           A.   No, sir, the responsibility stated here were

      25   solely for the monitoring of the west dike.


                                            185

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 185 of 192 PageID #:
                                    17058
           September 19, 2011/Buttram/Cross

       1          Q.    And why was, why had that system been put

       2   together?

       3          A.    After they had the blowouts in 2003 and 2006

       4   to help with the repairs they installed these

       5   piezometers and well points first to help with the

       6   repair and then afterwards they used it as extra data

       7   just to continue to monitor the groundwater level on the

       8   west dike.

       9          Q.    If you would, look at -- I want you to look at

      10   three plaintiff's exhibits, 3609, 3610 and 3611.

      11          A.    I have them, sir.

      12          Q.    Were there attachments to 3609?

      13          A.    Yes, sir, there were two attachments to 3609,

      14   two Excel spreadsheets that contained the raw data from

      15   the inspector that went out and gathered it.

      16          Q.    And do you have the two spreadsheets there?

      17   Are they 3610 and 3611?

      18          A.    Yes, sir, 3610 and 3611 are the two

      19   attachments.

      20          Q.    Take a look at them and tell me what data is

      21   in 3610.

      22          A.    3610 has the data for the west dike for the

      23   piezometers and the well points.

      24          Q.    Did you use that data?

      25          A.    This is the data that I used and would input


                                            186

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 186 of 192 PageID #:
                                    17059
           September 19, 2011/Buttram/Cross

       1   into the spreadsheet that Geosyntec had created.

       2          Q.    What is Plaintiff's Exhibit 3611?

       3          A.    3611 are monitoring wells.

       4          Q.    And where are those located?

       5          A.    To my knowledge all these monitoring wells are

       6   just located throughout the dredge cell.

       7          Q.    Did you use that data?

       8          A.    I did not use this data.

       9          Q.    Was that part of the data you were supposed to

      10   use in the Geosyntec program?

      11          A.    I had no responsibility with this data.             The

      12   only data I used came from 3610.

      13          Q.    Can I have Plaintiff's Exhibit 606, please.

      14   If we could enlarge it.         Do you see where it says well

      15   ID on the left-hand column?

      16          A.    Yes, sir.

      17          Q.    Does that correspond to the ID numbers in 3610

      18   or 3611?

      19          A.    These well IDs correspond to the IDs located

      20   in 3610.

      21          Q.    And Plaintiff's 606 is the Geosyntec output,

      22   right?

      23          A.    Yes, sir.

      24          Q.    Is there anyplace in that program to input the

      25   monitoring well data in Plaintiff's Exhibit 3611?


                                            187

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 187 of 192 PageID #:
                                    17060
           September 19, 2011/Buttram/Redirect

       1           A.   No, sir.

       2                      MR. MARQUAND:       No further questions.

       3   Thank you, Mr. Buttram.

       4                      THE COURT:     Thank you.

       5                      Redirect?

       6                      MR. FRIEDMAN:       Very briefly, Your Honor.

       7                           REDIRECT EXAMINATION

       8   BY MR. FRIEDMAN:

       9           Q.   Mr. Buttram, we have kept you here a long

      10   time.     I appreciate your patience.

      11                Did I just hear you say you didn't see any

      12   sloughs, when you were out there that day in October?

      13   Is that your sworn testimony?           You want to change that

      14   answer?

      15           A.   Well, based on what I know today, yes, sir, I

      16   did not see --

      17           Q.   Excuse me.     What about what you wrote in your

      18   own notes?

      19           A.   Yes, sir, I know that in my notes the word

      20   "slough" was mentioned.         At the time --

      21           Q.   At the time you were out there you thought you

      22   saw a slough, didn't you?

      23           A.   Yes, sir, I believe I stated that sloughs can

      24   be opinionated depending on who you ask.

      25           Q.   Well, you had an opinion while you were out


                                            188

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 188 of 192 PageID #:
                                    17061
           September 19, 2011/Buttram/Redirect

       1   there doing this inspection you saw a slough.               Now you

       2   have an opinion that is changed because you are a

       3   witness in a case against the TVA?            Is that what is

       4   changing your opinion?

       5          A.     No, sir.    I was asked what I thought now.           Did

       6   I see anything out there.

       7          Q.     When you were out there, at the time you

       8   thought you saw a slough.          No question about that,

       9   right?      When you were out there at the time doing this

      10   inspection, the one designated to write up the report,

      11   the annual stability report, you thought you saw a

      12   slough, right?

      13          A.     I wrote down a slough, but not a slough that

      14   would be associated with a slope failure, no, sir.

      15          Q.     You didn't include it in your report, did you?

      16          A.     No, I did not have my notes at the time I

      17   wrote the report.

      18          Q.     They just happened to be missing.

      19                 Now, let's just talk about real quick this

      20   business about all the deletions of the term

      21   "immediately" being taken out of the repairs in the

      22   final report.      Did I understand your testimony that you

      23   didn't include "immediately" because the disaster

      24   occurred and there was no need to do maintenance out

      25   there any more?       The pressing nature of it was all gone?


                                            189

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 189 of 192 PageID #:
                                    17062
           September 19, 2011/Buttram/Redirect

       1          A.    No, sir, I felt that since the disaster had

       2   happened the word "immediately" did not add the emphasis

       3   that it would have prior to it.           I didn't feel it

       4   changed the substance by removing the word

       5   "immediately."

       6          Q.    In other words, there is no need to shut the

       7   barn door once the cow is gone, right?             It is too late

       8   to do immediate repairs when the dike has failed, right?

       9   Is that what you are trying to tell the Court?

      10          A.    I am just trying to say what I, my personal

      11   thought, what I thought at that time that the word

      12   immediately -- I'm not saying that the repairs still

      13   didn't need to be done.         In essence it was stated in the

      14   report, I just didn't feel the word "immediately" added

      15   the emphasis at that time.

      16          Q.    Well, I understand what you are saying because

      17   Exhibit 191, which is your final report, you have two

      18   pages of recommendations for maintenance that needed to

      19   be done on those dikes.         We read through them.        You

      20   still want maintenance to go on out there, but the

      21   urgency since the disaster occurred has passed.                Can we

      22   agree on that?

      23          A.    Yes, sir.

      24                      MR. FRIEDMAN:       No further questions, Your

      25   Honor.


                                            190

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 190 of 192 PageID #:
                                    17063
           September 19, 2011/Buttram/Redirect

       1                      THE COURT:     Anything further,

       2   Mr. Marquand?

       3                      MR. MARQUAND:       None, Your Honor.

       4                      THE COURT:     Mr. Buttram, you may be

       5   excused.

       6                      MR. DAVIS:     Your Honor, we have another

       7   witness we can start with today or we can wait until

       8   tomorrow.     It's up to the Court.

       9                      MR. FRIEDMAN:       Before Mr. Buttram leaves,

      10   we do not want to release Mr. Buttram from his subpoena.

      11   We ask that the witness, as it pertains to his

      12   testimony, remain sequestered.

      13                      THE COURT:     Mr. Buttram, just so you are

      14   advised.     You are still under subpoena.          You may have

      15   been informed about the rules of sequestration.                You

      16   should not discuss your testimony with other witnesses

      17   or potential witnesses or anyone else's testimony

      18   discussed with you in the event you may be recalled as a

      19   witness by either party in this case.

      20                      THE WITNESS:      Yes, Your Honor.

      21                      THE COURT:     Thank you.     You are excused

      22   for now.

      23                      Why don't we go ahead and break.           I have a

      24   few other matters to handle upstairs.             We'll plan to put

      25   in a full day tomorrow.         Why don't we start fresh.            That


                                            191

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 191 of 192 PageID #:
                                    17064
           September 19, 2011/Buttram/Redirect

       1   way you can get all of the documents fresh and we'll

       2   start at 9:00 tomorrow, which would be September 20th.

       3   We'll see everybody here and try to get started right at

       4   9:00 a.m. on September 20th.           Thank you.

       5                      (Court was recessed.)

       6          I CERTIFY THAT THE FOREGOING IS AN ACCURATE
           TRANSCRIPT OF THE RECORD OF PROCEEDINGS IN THE
       7   ABOVE-ENTITLED MATTER.

                                        Jolene
                                                          Digitally signed by Jolene
                                                          Owen
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                                            192

Case 3:09-cv-00009-TAV-HBG Document 473 Filed 10/24/11 Page 192 of 192 PageID #:
                                    17065
